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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

                                       :
 RITU BHAMBHANI, M.D. and SUDHIR       :
 RAO, M.D., on behalf of themselves and:
 all others similarly situated,        :             Civil Action No.: 19-cv-00355-RDB
                                       :
                            Plaintiff, :
                                       :
                 - v. -                :                        THIRD AMENDED
                                       :                         CLASS ACTION
 INNOVATIVE HEALTH SOLUTIONS,          :                          COMPLAINT
 INC., INNOVATIVE HEALTHCARE           :
 SOLUTIONS, LLC, ACCLIVITY             :
 MEDICAL, LLC, RYAN KUHLMAN,           :                        Jury Trial Demanded
 DRAGONSLAYER STRATEGIES LLC,          :
 JOY LONG, and COLEMAN CERTIFIED       :
 MEDICAL BILLING & CONSULTANT,         :
 LLC,                                  :
                                       :
                          Defendants. :
                                       :

       Plaintiffs Ritu Bhambhani, M.D. (“Dr. Bhambhani”) and Sudhir Rao, M.D. (“Dr. Rao”),

on behalf of themselves and all others similarly situated, by and through their undersigned

attorneys, based upon personal knowledge as to themselves and their own acts, and as to all other

matters upon information and belief formed after an inquiry reasonable under the circumstances,

for their Third Amended Class Action Complaint against Defendants Innovative Health Solutions,

Inc. (“IHS”), Innovative Healthcare Solutions, LLC (“IHCS”), Acclivity Medical LLC

(“Acclivity”), Ryan Kuhlman (“Kuhlman”), DragonSlayer Strategies LLC (“Dragon Slayer”), Joy

Long (“Long”), and Coleman Certified Medical Billing & Consultant, LLC (“Coleman”)

(collectively, “Defendants”) hereby allege as follows:

                      SUMMARY OF PLAINTIFFS’ ALLEGATIONS

       1.      Dr. Bhambhani and Dr. Rao are but two among many medical professionals and
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facilities (collectively “medical providers”) who agreed to purchase a medical device known as

the Neuro-Stim System (“NSS”) after being given false and/or fraudulent advice concerning how

to bill and collect health insurance reimbursements (including Medicare) for the cost of the device

and the services associated with the device’s implantation by Defendants.

       2.      The NSS is a device purportedly designed to provide field stimulation to peripheral

and cranial nerves in the auricle over a five-day period. It is purportedly recommended for pre-

operative, intra-operative, and post-operative pain therapy as well as for the treatment of chronic

pain. It is placed behind the patient’s ear and connected to stimulation electrode arrays placed

percutaneously in the auricle. However, the NSS was cleared by the Food and Drug Administration

(“FDA”) in 2014 merely for use in acupuncture, not medical applications. In the 501(k)-premarket

clearance application submitted to the FDA, IHS explicitly described the device as an electro

acupuncture device for use exclusively in the practice of acupuncture by qualified practitioners of

acupuncture as determined by the states; not as an implantable medical device. See FDA 510(k)

Clearance Letter K140530 at Exhibit 1.

       3.      IHS then sold and marketed the device throughout the United States as a surgically

implantable medical device, not just a tool for acupuncture. IHS engaged in this fraudulent scheme

through a series of exclusive-rights sales-agent distributors (“Sales Agents”), including but not

limited to IHCS and Acclivity. Upon information and belief, IHCS continues to be owned and

controlled by its members Robin Campbell (“Campbell”) and Troy Guinn (“Guinn”). Prior to its

dissolution in June 2017, Acclivity was owned and controlled by its sole member Kuhlman, who

IHS now employs directly as its “National Director.” IHS and its Sales Agents invested substantial

sums in advertising and marketing the NSS throughout the United States, including on websites,

at trade shows, in brochures, in newsletters, in videos, on phone calls, in emails, and in on-site




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presentations at physician offices and ambulatory surgery centers.

       4.      For example, in a slide show utilized by IHCS in promoting the device to Dr.

Bhambhani and other medical providers, IHCS explicitly referred to the NSS as being “FDA-

approved,” and claimed that “NSS is the first and only FDA approved electro-auricular, peripheral

nerve stimulator currently on the market to treat acute and chronic pain.” See IHCS Physician

Power Point Slide Show at Exhibit 2. Notably, while the IHCS Physician Power Point Slide Show

cited to FDA 510(k) Clearance Letter K140530, no reference to acupuncture or electro-

acupuncture is made anywhere within the IHCS Physician Power Point Slide Show.

       5.      Similarly, in a “FAQ Sheet for Clinicians” prepared by IHS (as evidenced by the

branding on the document) and provided to Dr. Rao by Acclivity, the NSS is referred to as “FDA

cleared for targeting acute and chronic pain.” See FAQ Sheet for Clinicians at Exhibit 3. Incredibly,

nowhere in the 20-page FAQ Sheet for Clinicians does the word acupuncture appear.

       6.      Defendants promoted the NSS as a surgically-implantable nerve stimulator billable

to third-party payers, including Medicare, under a corresponding set of standardized national

medical billing codes. In that regard, Current Procedural Terminology (“CPT”) codes are the

national standard for how medical professionals document and report medical, surgical, radiology,

laboratory, anesthesiology, and evaluation and management services. All healthcare providers,

payers, and facilities (including Plaintiffs and the Proposed Class) are required to use CPT codes.

These codes are used by insurers to help determine the amount of reimbursement that a practitioner

will receive for services provided. CPT codes are developed, maintained, and copyrighted by the

American Medical Association, and are mandatory under the transaction standards promulgated

under the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) for reporting

the performance of medical procedures when submitting electronic billing. In short, CPT is the




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uniform language of medical providers, including Plaintiffs and the Proposed Class.

       7.      As a means of enticing Dr. Bhambhani, Dr. Rao, and other medical providers to

purchase the NSS and implement it into their clinical practices, the Defendants promoted the

billing of the NSS using a specific set of codes used to report implantable nerve stimulators,

including CPT 64555, Percutaneous Implantation of Neurostimulator Electrodes at a Peripheral

Nerve (the “NSS Coding Scheme”). This code, and the ancillary codes billed with it covering both

professional and facility charges, provided for between $4,800.00 and $11,400.00 per patient in

reimbursement from payers for a procedure with little associated cost, that takes ten minutes to

perform. As a result of the NSS Coding Scheme, Defendants sold tens of thousands of NSSs

throughout the United States and touted itself as the market leader of the industry.

       8.      To further buttress to the NSS Coding Scheme, IHS and its Sales Agents employed

the services of so-called independent coding consultants (“Coding Agents”), including but not

limited to Dragon Slayer, which, prior to its dissolution in 2015, was owned and controlled by

Long, and Coleman Certified Medical Billing & Consultant, LLC (“Coleman”). Coleman is owned

and controlled by Kimberly Coleman.

       9.      For example, in a September 2015 email to one of Dr. Rao’s employees, Dragon

Slayer, through Long and on behalf of Acclivity, provided more than twenty pages of attachments,

including a coding memorandum and “template” procedure notes and letters of medical necessity

characterizing the NSS as a neurostimulator, reportable under CPT 64555, and “clearly delineated

from acupuncture” or electro-acupuncture. See September 22, 2015 Email with attachments from

Joy Long at Exhibit 4. Similarly, in an August 2016 email to Dr. Rao, Coleman, through Kimberly

Coleman and on behalf of Acclivity, purported to provide additional research supporting billing

CPT 64555 for the NSS, stating that the “NSS is a percutaneous implantation neurostimulator




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electrode array that are applied and leads are placed for specific nerves.” See August 5, 2016 Email

with attachments from Kimberly Coleman at Exhibit 5. These representations are knowingly false

and were knowingly false when made.

       10.       Defendants deliberately concocted the NSS Coding Scheme intending, or having

reason to expect, that the substance of these billing, coding, and reimbursement misrepresentations

would be communicated and repeated to Dr. Bhambhani, Dr. Rao, and other medical providers by

and through IHS’s Sales Agents (including, but not limited to IHCS and Acclivity) and IHS’s

Coding Agents (including, but not limited to, Dragon Slayer and Coleman). Defendants also

intended their misrepresentations to induce Dr. Bhambhani, Dr. Rao, and other medical providers

to rely upon said misrepresentations and upon which Dr. Bhambhani, Dr. Rao and other medical

providers did, indeed, justifiably rely to their detriment when deciding to purchase the NSS from

IHS and/or its Sales Agents.

       11.       Dr. Bhambhani and Dr. Rao bring this action on behalf of all medical providers

who suffered harm as a result of their reliance upon Defendants’ deliberate misrepresentations

concerning the correct billing, coding, and reimbursement for the NSS.

                                  JURISDICTION AND VENUE

       12.       This Court has subject matter jurisdiction over this class action pursuant to 28

U.S.C. § 1332 as amended by the Class Action Fairness Act of 2005 because the matter in

controversy exceeds $5,000,000.00, exclusive of interest and costs, and is a class action in which

some members of the Class are citizens of states different than Defendants. See 28 U.S.C. §

1332(d)(2)(A).

       13.       This Court has subject matter jurisdiction over Plaintiffs statutory claims brought

under 18 U.S.C. §§ 1962 (c) and (d) of the Racketeer Influenced and Corrupt Organizations Act




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pursuant to 28 U.S.C. § 1331 (federal subject matter jurisdiction) and 18 U.S.C. §§ 1965(b) and

(d) (RICO).

       14.     This Court also has personal jurisdiction over Defendants because they are

authorized to do business and in fact do business in this state and District, and/or Defendants have

sufficient minimum contacts with this state and District, and/or Defendants otherwise intentionally

avail themselves of the markets in this state and District through the promotion, marketing, and

sale of the NSS in this state, which renders the exercise of jurisdiction by this Court permissible

under traditional notions of fair play and substantial justice.

       15.     Venue is proper in this District under 28 U.S.C. § 1391. Defendants do substantial

business in this state and within this District, advertise in this this state and within this District,

receive substantial compensation and profits from the sale of the NSS in this state and within this

District, and engaged in deliberately misleading representations concerning the correct billing,

coding, and reimbursement for the NSS in this state and within this District to subject Defendants

to in personam jurisdiction in this District. Furthermore, the transactions between Defendants and

the named Plaintiffs occurred in this state and within this District.

                                          THE PARTIES

       16.     Dr. Bhambhani is a medical doctor practicing in Abingdon, MD. She is board-

certified in both Anesthesiology and Pain Medicine and is affiliated with multiple hospitals in the

area, including MedStar Franklin Square Medical Center and University of Maryland Harford

Memorial Hospital. She received her medical degree from Maulana Azad Medical College,

completed both a residency and fellowship at the prestigious Cleveland Clinic Foundation in Ohio,

and has been in private practice for more than 20 years. She is the managing member of both Ritu

Bhambhani LLC d/b/a Complete Care of Maryland, through which she conducts her private




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medical practice, and Box Hill Surgery Center LLC, a state-of-the art ambulatory surgery center

where Dr. Bhambhani performs many of her more invasive pain management procedures.

       17.    Dr. Rao is a medical doctor practicing primarily in Mount Airy, MD, but also

practices in Elkridge, Ellicott City, Fredrick, Rockville, Germantown, and Hagerstown, MD, as

well as Harrisonburg, VA and several offices in PA. He is board-certified in Anesthesiology and

Pain Medicine by the American Board of Anesthesiology and is affiliated with multiple hospitals

in the tri-state area, including Frederick Memorial Hospital and Highlands Hospital. He received

his medical degree from St. George’s University School of Medicine; completed an internship at

the Greater Baltimore Medical Center; completed a residency at Albert Einstein College of

Medicine/Montefiore Medical Center; and completed a fellowship at St. Sinai College of

Medicine. He has since been in private practice for more than 12 years, practicing interventional

pain medicine. He is the sole owner of SimCare, LLC (“SimCare”), and an owner of Pain and

Spine Specialists of Maryland, LLC (“PASS MD”), Radiance Surgery Center (“Radiance”),

Elkridge Surgery Center, and Gemini ASC-Elkridge.

       18.    IHS is an Indiana corporation which at all relevant times herein, was and is engaged

in the business of marketing, selling, and distributing the NSS, as more fully described herein,

throughout Maryland and the United States, with a registered office at 829 S. Adams St.,

Versailles, IN 47042.

       19.    IHCS is an Ohio limited liability company that participated in the NSS Billing

Scheme, as more fully described herein, throughout Kentucky, Maryland and the United States,

with a registered office at 9551 Bridlewood Trail, Dayton, OH 45458, operating from 3011 Long

Creek Way, Louisville, KY 40245. Upon information and believe, IHCS has historically held itself

out to be a Kentucky limited liability company, however it is believed that the identically-named




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IHCS entity actually incorporated in Kentucky (associated with an individual known as Terri

Anderson) is wholly unrelated to the IHCS identified in this complaint.

       20.     Acclivity was a Kentucky limited liability company which at all relevant times

herein, was and is engaged in the business of marketing, selling, and distributing the NSS, as more

fully described herein, throughout Maryland and the United States, with a registered office at 456

Glengarry Way, Fort Wright, KY 41011.

       21.     Kuhlman was the sole member of Acclivity until he dissolved the entity on June 5,

2017 by filing Articles of Dissolution with the Secretary of State of the Commonwealth of

Kentucky. Under Kentucky law, therefore, Kuhlman is personally responsible for liabilities of

Acclivity relative to its participation in the NSS Billing Scheme, and the misrepresentations it

made to Dr. Bhambhani and others as a Sales Agent of IHS promoting the NSS. Kuhlman resides

at 2446 Bluffcrest Lane, Cincinnati, OH 45238-3190. Notably, Kuhlman is now directly employed

by IHS as its “National Director,” and in fact has been employed by IHS since January 2013,

which, as noted below, overlaps with the time Acclivity served as a Sales Agent on behalf of IHS,

distributing the NSS to Dr. Bhambhani, Dr. Rao, and other medical providers.

       22.     Dragon Slayer was an Indiana limited liability company that participated in the NSS

Billing Scheme, as more fully described herein, throughout Maryland and the United States, with

a registered office at 1425 Coachlite Drive, Greenfield, IN, 46140.

       23.     Long was the sole member of Dragon Slayer until it was dissolved by the Secretary

of State of Indiana on May 14, 2014. Under Indiana law, therefore, Long is personally responsible

for liabilities of Dragon Slayer relative to its participation in the NSS Billing Scheme, and the

misrepresentations it made to Dr. Rao and others as a Coding Agent of IHS promoting the NSS.

Long resides at 2329 East 500 North, Greenfield, IN 46140.




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       24.     Coleman is an Ohio limited liability company that participated in the NSS Billing

Scheme and is liable for misrepresentations it made to Dr. Rao and others as a Coding Agent of

IHS promoting the NSS, as more fully described herein, throughout Maryland and the United

States, with a registered office at 7768 Arthur Street, Masury, Ohio, 44438.

                            FACTS COMMON TO ALL COUNTS

A.     IHS Development and Sale of the NSS.

       25.     Before developing the NSS, IHS was the exclusive U.S. distributor of the device

that was listed as the NSS’s primary predicate on FDA 510(k) Clearance Letter K140530, the “P-

STIM.” The P-STIM was developed by Biegler GbmH, an Austrian Company. IHS invested

substantial sums into advertising and marketing its P-STIMs throughout the United States, through

Sales Agents and Coding Agents, including on its website, at trade shows, in brochures, in

newsletters, in videos, on phone calls, in emails, and during on-site presentations at physician

offices and ambulatory surgery centers. In just a few short years, IHS sold tens of thousands of P-

STIMs to medical providers who treat patients suffering from acute or chronic pain.

       26.     The success of its sales and marketing efforts relative to the P-STIM—based on the

identical billing, coding, and reimbursement representations it adopted as part of the NSS Billing

Scheme—led IHS to develop its own device, one that was “substantially similar” to the P-STIM

both in functionality and outcomes. To do so, IHS engaged Key Electronics, Inc. (“Key

Electronics”), an electronics manufacturing service provider of custom-built products, located in

Jeffersonville, Indiana. Key Electronics is listed as the manufacturer of the NSS on FDA 510(k)

Clearance Letter K140530, but, upon information and belief, the development of the NSS was

done on a “work for hire” basis, with ownership of all intellectual property associated with the

NSS, including the trade-name and one or more utility patents, belonging to IHS.




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       27.     Once the FDA cleared the NSS to be marketed, IHS engaged multiple Sales Agents,

including but not limited to IHCS and Acclivity, to market the NSS to medical providers treating

patients suffering from acute or chronic pain. IHS largely employed the same sales and marketing

tactics it used with the P-STIM—focusing on representations made through mail and electronic

communications related to the billing, coding, and reimbursement of the devices. IHS provided

information and documents related to the billing, coding, and reimbursement it employed relative

to the P-STIMs to the Sales Agents and Coding Agents it engaged to sell and market the NSS on

behalf of IHS, including, but not limited to, IHCS and Acclivity. Dr. Bhambhani and Dr. Rao were

two of the physicians that IHCS and Acclivity, as Sales Agents of IHS, promoted the NSS to using

the information and documents IHS provided them as part of the NSS Billing Scheme.

       28.     A primary driver of IHS’s development of the NSS and subsequent fraudulent

advertising and marketing effort was to escape the “negative stigma” of the P-STIM and to increase

its use by falsely promising that purchasing and dispensing the NSS to patients would be highly

profitable to medical providers, like Plaintiffs and the Proposed Class. To accomplish that

fraudulent end, IHS and its Sales Agents and Coding Agents worked together as an association-

in-fact to build and market a false narrative. In 2011 the P-STIM had already been deemed not

applicable to the coding sequence that IHS and its Sales Agents and Coding Agents promoted in

written communications, presentations, and other materials to Plaintiffs and the Proposed Class.

Further, in April 2011, the Centers for Medicare and Medicaid Services (“CMS”) created the

Healthcare Common Procedure Coding System (“HCPCS”) code “S8930”: Electrical stimulation

of auricular acupuncture points, each 15 minutes of personal one-on-one contact with the patient,

specifically for devices such as the P-STIM and NSS. And electro acupuncture services reported

to CMS under that code were excluded from coverage by most Medicare Administrative




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Contractors (“MAC”) starting immediately.

       29.     Thus, IHS President Brian Carrico explicitly instructed IHS Sales Agents: “It’s a

peripheral neurostimulator. That’s how we sell this. Don’t ever use the word acupuncture or

meridian point or anything like that.” This precise advice was provided to all IHS Sales Agents,

including not only IHCS and Acclivity, but also Tomahawk Medical and Dixon Medical

Distributors. The development of the NSS was specifically intended to circumvent the payer

scrutiny focused on the P-STIM, and the NSS Billing Scheme was specifically intended to mirror

the billing scheme IHS and other distributors of the P-STIM perpetrated previously.

       30.     To further insulate itself from the NSS Billing Scheme, IHS only used

“independent” Sales Agents to distribute the NSS, with the country divided into exclusive sales

territories. As Mr. Carrico explained it to IHS Sales Agents, even the IHS website was merely a

lead generator. If a medical provider attempted to purchase the NSS through the IHS website

directly, that prospective purchaser’s information would be provided to the Sales Agent with

exclusivity over that territory, or as Mr. Carrico conceded, “if somebody orders on there,

quote/unquote, ‘orders,’ that’s simply a lead. If the lead comes from Alabama then it goes to

[Daniel]. If it goes to Kalamazoo, it goes to Christa, and so on and so forth.”

       31.     Not only did IHS only sell the NSS through Sales Agents, but it provided and paid

the Coding Agents to assist the Sales Agents by “confirming” the billing, coding, and

reimbursement instructions that are at the heart of the NSS Coding Scheme. IHS directly

compensated those Coding Agents $180 per “new account” to provide pre-populated “pre-cert

instructions,” “coding,” “diagnosis codes,” “post-op follow-up documentation,” and “dictation,”

or as Mr. Carrico told his Sales Agents, “everything like that that you need. They get that directly

to your account, something you’ll never have to worry about.”




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       32.       The coding information being conveyed to potential NSS purchasers by Sales

Agents and Coding Agents very clearly originated from IHS. For example, materials provided to

Dr. Rao by Long via email in September 2015 used identical language to a subsequent email to

Dr. Rao from Acclivity in July 2016 purporting to quote “an excerpt from a former AMA advisor

as the [] use of CPT code for NSS.” Compare Exhibit 4 with July 14, 2016 email with attachments

from Matthew Miller (“Miller”) at Exhibit 6. Incredibly, both Long and Acclivity opined that the

NSS “is clearly delineated from acupuncture and other neuro-stimulator treatments.” See id. And

the materials provided to medical providers by IHCS, Acclivity, Tomahawk Medical, Dixon

Medical Distributors, and other IHS Sales Agents, were all substantively identical in both form

and substance.

       33.       Notwithstanding the dubious attempts of IHS to separate itself from the

implementation of the NSS Coding Scheme it devised, payer reimbursement based on its

fraudulent characterization of the NSS as an implantable nerve stimulator while having it cleared

by the FDA as an electroacupuncture device was the spark that gave life to Defendants’ entire

scheme. That IHS used Sales Agents and Coding Agents as its proxies to the medical providers it

solicited is of no consequence. Mr. Carrico admitted to his Sales Agents that “You cannot go

wrong by going to a physician because the reimbursement is so strong.”

       34.       Nevertheless, the NSS is no different than the “negative stigma” of the P-STIM.

Indeed, in August 2016, Novitas published Local Coverage Advisory A55240, which specifically:

(i) identified the NSS as electro acupuncture device; and (ii) noted that the NSS was not covered

by the Medicare program. The NSS Coding Scheme was built on a house of cards.

B.     Dr. Bhambhani’s Experience with the NSS Coding Scheme.

       35.       Dr. Bhambhani was originally contacted by IHCS on August 17, 2015. She received




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an email from Robert A. “Bobby” Smith (“Smith”), Vice President of Sales and Marketing for

IHCS, which introduced the NSS, and enclosed the IHCS Physician Power Point Slide Show.

Smith’s email stated:

       Dr Bhambhani, My company has the exclusive rights to a recently FDA and VA
       approved device for acute and chronic pain. I live in Maryland and am selecting
       key practices now. We have launched with prominent Physicians and larger surgery
       groups throughout the U.S. I have attached the Slideshow above along with a short
       Science Video https://vimeo.com/user17291718/review/108118730/56e5ec2571.
       They feature the technology along with the extraordinary reimbursement for this
       treatment. Select practices can participate in our Full Service Program outlined on
       the attached PowerPoint.

See August 17, 2015, Email from Smith, Exhibit 7.

       36.     So, from the start, the false promise of extraordinary reimbursement and the IHCS

Physician Power Point Slide Show were the foundation of how IHS marketed, promoted, and sold

the NSS to Dr. Bhambhani. Among the representations made in the IHCS Physician Power Point

Slide Show were the following:

               a.       NSS is a patented, FDA approved peripheral nerve stimulator designed to
                        provide field stimulation to peripheral and cranial nerves in the auricle over
                        a 5-day period.

               b.       It is FDA approved for chronic and acute pain.

               c.       NSS is the first and only FDA approved electro-auricular, peripheral nerve
                        simulator currently on the market to treat acute and chronic pain.

               d.       NSS is reimbursed by Medicare when performed at an ASC.

               e.       The following Insurers pay for in office and ASC: Major health insurers;
                        workers compensation insurers; and personal injury insurers.

See Exhibit 2, 3, 12, 14.

       37.     The IHCS Physician Power Point Slide Show promised guaranteed profits through

a “turn-key program” with “no upfront cost”:




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See Exhibit 2, 15.

       38.     As to the guarantee of profits, IHCS offered two distinctly different programs: the

“Full Service Program” and the “Direct Purchase Program.” The difference between the two

programs was relatively straightforward. With the Full-Service Program, IHCS (or its affiliates,

including Acclivity) would provide “full-service” billing and collections services:




See Exhibit 2, 18.

       39.     With the Direct Purchase Program, IHCS provided billing/collections protocols



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they received from IHS as part of the Direct Purchase:




See Exhibit 2, 21.

       40.     These billing protocols, which were identical to the billing protocols IHS created

to promote the P-STIM, in no uncertain terms, included specific coding advice whereby the NSS

was to be billed under “CPT 64555, Percutaneous Implantation of Neurostimulator Electrodes at

a Peripheral Nerve”:




See Exhibit 2, 22.



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       41.     Regardless of program, however, the touchstone of the sales pitch was profit—just

as it was when IHS promoted the P-STIM:




See Exhibit 2, 26.

       42.     Incredibly, however, nowhere in the IHCS Physician Power Point Slide Show, or

any other information or document provided to Dr. Bhambhani, was it disclosed that the NSS was

in fact cleared by the FDA as an electro acupuncture device for use in the practice of acupuncture

by qualified practitioners of acupuncture.

       43.     On September 8, 2015, Kristen Brannon (“Brannon”), Vice President of Operations

for IHCS, sent an email to Dr. Bhambhani attaching certain NSS “billing information,” including

a Precertification and Billing Overview; an NSS Precertification Form; and an NSS Procedure

Note Template, all of which were provided to IHCS by the NSS Enterprise. See September 8,

2015, Email from Brannon, Exhibit 8. Notably, the NSS Procedure Note Template referred to the

NSS service by the CPT descriptor only, and again contained no reference to electro acupuncture.

       44.     On September 9, 2015, Smith sent Dr. Bhambhani two more email solicitations.

See September 9, 2015, Emails from Smith, Exhibit 9. The first contained certain clinical studies




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purporting to extol the efficacy of the NSS, on which Mr. Carrico, as “one of the owners and

pioneers of this technology,” was copied. The second included links to training videos and an

extensive list of applications for the device.

       45.     In reliance upon IHCS statements concerning the efficacy of the NSS, as well as

the corresponding reimbursement figures devised by IHS, Dr. Bhambhani enrolled in the IHCS

Full Service Program, at a cost of $900 per NSS; and made orders that were fulfilled through

Acclivity on September 14, 2015 and October 6, 2015. See Exhibit 10, 1, 2.

       46.     On September 28 and 29, 2015, Brannon sent emails providing additional coding

advice to Dr. Bhambhani vis-a-vis the NSS. See September 28 and 29, 2015, Emails from Brannon,

Exhibit 11. Specifically, Brannon stated that a modifier is no longer necessary to bill CPT code

64555 for the NSS service. She further guided Dr. Bhambhani on what to do when a Medicare

claim is rejected and how to successfully “rebill” such a claim.

       47.     Again, on December 8, 2015, Brannon provided coding advice by stating the codes

to use for workers compensation claims and confirmed the propriety of the same code sequence

set forth on the IHCS Physician Power Point Slide Show. See December 8, 2015, Email from

Brannon, Exhibit 12.

       48.     In all, between September 2015 and June 2016, Dr. Bhambhani purchased 420

NSSs, for $264,000, all paid to Acclivity. See Exhibit 10.

       49.     In or about August 2016, however, Dr. Bhambhani’s reporting of the code

sequences explicitly provided by the Defendants prompted Novitas, the MAC responsible for

administration of the Medicare program in Maryland, to initiate both post-payment and

prepayment audits of both Dr. Bhambhani’s private practice and her ambulatory surgical center.

       50.     Upon learning that the audits were initiated due to the suspicion that Dr. Bhambhani




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and her entities were improperly submitting bills for electro acupuncture to the Medicare program,

she attempted to return her remaining inventory of NSSs to IHS.

       51.     On or about September 1, 2016, Mr. Carrico responded to Dr. Bhambhani’s return

request with a bold-faced lie, telling her that “IHS has not and does not get involved in billing and

coding in any way.” See September 1, 2016, Email from Carrico, Exhibit 13. He went on to

suggest, rather, that IHS could not accept the device returns, but would be happy to assist her in

billing them to commercial insurance companies, and recommended a third-party billing services

that would “do a tremendous job of pre-authorizing and billing for the NSS which will allow you

to have 0 headaches, help patients, be very profitable, and be protected.” See id.

       52.     In November and December of 2016, Dr. Bhambhani’s practice and surgery center

were hit with a series of refund demands from Novitas on behalf of the Medicare program, with

the total amount of refunds exceeding $1,000,000.00. While those refunds were appealed and

remain pending before the Office of Administrative Law, a substantial portion of the disputed

refund amount has already been offset from other claims payable to Dr. Bhambhani’s practice and

surgery center, and Dr. Bhambhani has already spent tens of thousands of dollars in legal fees and

other related expenses relative to defending the Medicare audits—all on account of the deliberate

misrepresentation of IHS and its Sales Agents relative to the NSS.

C.     Dr. Rao’s Experience with the NSS Billing Scheme.

       53.     Dr. Rao was initially solicited to purchase the NSS by Acclivity on or about

September 15, 2015, through an email from Miller, whose email signature identified him as a

Distributor/Principal of Acclivity. Attached to this email was a document entitled “ASC BILLING

POST OP PAIN MANAGEMENT.” See Exhibit 14. That document provided coding and

reimbursement advice consistent with the slide show provided to Dr. Bhambhani by IHCS, and

the NSS Coding Scheme overall: “The ASC will receive the bulk of the reimbursement (device


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reimbursement is rolled into the procedure reimbursement). However, physician can also bill for

64555 with a modifier “PC” which pays just under $200 in most cases.” See id.

       54.     Dr. Rao asked Miller to provide information on the NSS to one of his staff

members, Ginny Goldbach (“Goldbach”), Chief Financial Officer for Radiance. In response,

Miller forwarded Goldbach an email with several attachments, including the FAQ Sheet for

Clinicians prepared by IHS (See Exhibit 3), a document titled “NSS – Science and Overview” (See

Exhibit 15), and a document titled “EAD Brochure” (See Exhibit 16). Notably two of these three

documents were prepared by IHS and branded accordingly. And more importantly, not one of

these documents stated that the NSS was FDA-cleared as an electroacupuncture device. Thus,

consistent with Mr. Carrico’s explicit instructions to all IHS Sales Agents, the word “acupuncture”

did not appear even once in these materials.

       55.     An hour later, Miller forwarded Goldbach an email from Kuhlman attaching several

“exemplar” Explanation of Benefits (“EOB”) statements. See Exhibit 17. These EOBs showed

payments to other medical providers from a variety of insurance companies and other third-party

payers, including Medicare, for bills submitted under the codes promoted by Defendants as part of

the NSS Coding Scheme, including CPT 64555. Miller explicitly identified these in email

correspondence to Goldbach as being EOBs “for NSS use,” and pointed to reporting not only CPT

64555 but also code modifiers and placement sites to be used with the code. See id.

       56.     Later that day, Miller put Goldbach in contact with Long to discuss coding and

billing for the NSS. The two spoke by phone first, and Long followed up with an email to Goldbach

with several attachments, including a coding memorandum and “template” procedure notes and

letters of medical necessity characterizing the NSS as a neurostimulator, reportable under CPT

64555, and “clearly delineated from acupuncture” or electro-acupuncture. See Exhibit 4. In those




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documents sent to Goldbach by email, Long represented:

              a.     In the example pre-qualification letter that “[t]he neurostimulator technique
                     that we are using with this patient is clearly delineated from acupuncture
                     and other neurostimulator treatments” and that “[t]he unique nerve mapping
                     techniques and direct stimulation of the neurovascular complexes acts at the
                     mid-brain, trigeminal complex, and spinal cord affecting descending and
                     ascending inhibition of neuro-matrix alteration and thus clearly separates
                     the use of NSS from acupuncture, electro-acupuncture, certain other
                     surgically implantable nerve stimulators(such as spinal cord stimulators)
                     and TENS. And so, it is important to re-iterate that with the implementation
                     of the above mentioned techniques, the use of the NSS modality is NOT
                     considered acupuncture or electro-acupuncture as meridian points, acu-
                     points, reflexology points and/or dermatomes are NOT targeted.”

              b.     That the NSS was a “non-programmable neurostimulator used for both
                     therapeutic and diagnostic purposes” which is “transcutaneously placed on
                     the mastoid process and the twelve (three lead – 4 pin) electrodes are
                     percutaneous implanted in the appropriate nerve bundle within the cranial
                     or peripheral nerve bundles that traverse through the auricular area.”

              c.     That “MDs, Dos, Pas, NPs, and CRNAs are typically reimbursed for
                     performance of the procedure. DCs should check their state Scope of
                     Practice as many states do not allow chiropractors to puncture the skin.
                     Historically, podiatrists struggle to receive in-office reimbursement for
                     electrodes implanted in the ear, even though treating a foot condition.”

              d.     That NSS service claims be specifically coded with CPT 64555 for
                     peripheral nerve implantation or CPT 64553 for cranial nerve implantation
                     and included detailed information about when the “-58 modifier” should be
                     used with CPT 64555.

              e.     That “for CPT 64555 and CPT 64553: There are differing opinions about
                     ‘implantation’ in these definitions. The neurostimulator generator is not
                     implantable; the electrodes are. Some people, including Medicare personnel
                     I have discussed this with, consider the needle electrode arrays of the device
                     to be percutaneously implanted when being placed directly into certain
                     nerves in either the cranial or peripheral nerve bundles. The code definition
                     says ‘percutaneous implantation of neurostimulator electrodes’, which is
                     what I believe you are doing when placing the device. There are others that
                     disagree and believe that there must be an incision made for the procedure
                     to be ‘implantation’. The guidance addresses devices that are ‘implants’ but
                     not electrodes that can be implanted without an incision. Your office will
                     have to decide which they agree with. If you do not believe the electrodes
                     are implanted, use CPT 64999 – Unlisted procedure; nervous system.”

              f.     That “[o]ne of the services that I offer is a review of provider documentation


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                      to determine if it is clearly supporting the procedures being performed and
                      the coding the provider is choosing to use. I am providing some sample
                      codes below. However, you must code per your documentation and coding
                      training.”

               g.     That the NSS could be billed in pre-operative, intra-operation, and post-
                      operative circumstances.

               h.     That “[t]here are a wide range of provider types using neurostimulators,”
                      but she never mentioned acupuncture as one of those qualifying providers.

               i.     That 64555 was emphatically the appropriate code as “there are less
                      acceptable diagnoses for use with the 64553, cranial nerve, procedure than
                      the 64555, peripheral nerve, procedure. Historically, there have been more
                      diagnosis mismatch denied/pending claims when using the 64553
                      procedure. Again, code to the highest level of specificity and per your
                      documentation but be aware of this issue.”

               j.     And specifically advised Dr. Rao to conceal the name of the device if doing
                      pre-certified claims, stating: “I do recommend pre-certifying and using the
                      coding description language. By this I mean referring to ‘neurostimulator’
                      rather than the trade name of the device. The device is just a type of
                      neurostimulator and while the payer may ask for more information, which
                      should be provided when requested, starting with asking to get pre-
                      authorization under a trade name may automatically bring extra questions
                      because they haven’t heard of the device or may cause them to reference
                      policies that do not apply to how the device is actually being used.”

See Exhibit 4 (emphasis added).

       57.     So, from the start, the promise of extraordinary reimbursement was the foundation

of Acclivity’s (on behalf of and as directed by IHS) pitch to Dr. Rao and his staff. Yet nowhere in

the materials provided to Dr. Rao by Acclivity and/or Long is it disclosed that the NSS was in fact

cleared by the FDA as an electro acupuncture device for use in the practice of acupuncture by

qualified practitioners of acupuncture. This, too, was in line with IHS’s specific orders and

directions to avoid the word acupuncture. And the coding and billing advice that Long provided

to Dr. Rao was identical in form and substance to that utilized by all IHS Sales Agents and Coding

Agents as part of the NSS Coding Scheme.

       58.     After experiencing some difficulties and receiving several inquiries from payers


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regarding his use and billing of the NSS, Dr. Rao contacted Miller in July 2016 and requested a

call to discuss various coding-related issues. By that time, Long was no longer working with

Acclivity or IHS. So, Miller brought in two other Coding Agents to further perpetrate the NSS

Coding Scheme. First, Miller sent an email to Dr. Rao and Goldbach on July 14, 2016 purporting

to quote a letter from a “former AMA advisor as the [] use of CPT code for NSS” which stated:

       AMA Advisor Review:

       “A thorough review of the coding literature and the LCDs generated by many
       Medicare carriers show that the CPT code 64555 appears to be the most
       accurate when applying use of the NSS system. The neuro-stimulator technique
       that is used with these patients is clearly delineated from acupuncture and other
       neuro-stimulator treatments. The neuro-stimulator is programmed to provide a
       stimulation comprised of 0-10 HZ , impulse interval 1000 ms, monophasic impulse
       width 1 ms, ims/bipolar., changing polarity ( to avoid polarizing effects) , with an
       maximum amplitude of 3.2 V.

       Procedure: Mapping is done of patient’s unique trigeminal, Greater Occipital,
       Lesser Occipital, cranial and peripheral nerve anatomy with subsequent placement
       of neuro-stimulator generator and percutaneous electrode array implantation at
       verified nerve sites.

       Medicare LCDs, Noridian in particular relate that “Peripheral Nerve Stimulation
       may be covered for relief of chronic intractable pain for patients with conditions
       known to be responsive to this form of therapy.” “Severe neuropathic pain is
       typically well suited for successful responses to PNS.”

       Such LCDs relate the treatment of occipital, trigeminal, peripheral, intercostal and
       ilio-inguinal nerves as well as lower back and trunk syndromes.

       64555 Percutaneous implantation of neurostimulator electrode array; peripheral
       nerve- is the descriptor both in CPT and that recognized by Medicare and most
       private payers today.

       I would opine that this is the most appropriate CPT code for such service.”

       Former advisor to AMA CPT editorial panel

See Exhibit 6 (emphasis in original). Miller copied Kimberly Coleman on that email.

       59.    On July 19, 2016, Kimberly Coleman, Miller, Dr. Rao, and Goldbach spoke by




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telephone. During that call, Coleman summarized her findings with respect to coding for the NSS

when utilized in an ASC setting. These “findings” were, of course, identical to those: (i)

communicated to Dr. Rao and/or Goldbach by Miller, Long, and the “AMA Advisor” whose letter

Miller claims to have provided an excerpt of to Dr. Rao; (ii) communicated to Dr. Bhambhani by

IHCS and/or Acclivity; (iii) utilized by IHS during its prior promotion of the P-STIM prior to the

development of the NSS; and (iv) those coding protocols found in the various template treatment

notes, letters of medical necessity, and other materials provided to medical providers solicited by

IHS Sales Agents, including IHCS, Acclivity, and others.

       60.     On August 5, 2016, in a follow-up email, Coleman summarized her findings in an

email to Dr. Rao and Goldbach:

               a.     “Billing 64555 for Highmark, commercials. Recommended for office use
                      as they paid for the LCode. I provide local policies. Aetna, Cigna, UHC
                      HealthAmerica and UPMC will pay for the NSS with prior authorization.
                      Note; For these insurance companies it is diagnosis based. ONLY USE
                      64553 is used for Migraine and Chronic Headache. 64555 for all pain neck
                      and below. Again this is also diagnosis driven.”

               b.     “CPT guidelines state that use the most specific code available. As long as
                      documentation can prove 100% medical necessity, it is justified.”

               c.     “NSS is a percutaneous implantation neurostimulator electrode array that
                      are applied and leads are placed for specific nerves. You are providing the
                      same type of services when you do a SCS Trial.”

               d.     “Unless a it [sic] specifies in a particular LCD not to use the 64555 or 64553
                      and L8600 you use these codes.”

See Exhibit 5 (emphasis in original).

       61.     In all, between September 2015 and October 2016, Dr. Rao purchased 90 NSSs, to

the tune of $45,194.00, all paid to Acclivity, who served as distributor and an agent-in-fact on

behalf of IHS. See Exhibit 18.

       62.     On or about March 15, 2017, however, Dr. Rao’s reporting of the code sequences



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explicitly recommended by IHS and its agents as part of the NSS Coding Scheme prompted

SafeGuard Services (“SGS”), the northeastern Unified Program Integrity Contract (“UPIC”)

administrator, responsible for evaluating claims payment data for areas of risk for inappropriate

program payment, potential fraud, waste, and abuse, of the Medicare program in the northeastern

area of the United States, including Maryland, initiated prepayment audits of both Dr. Rao’s

practice at SimCare and PASS MD based on their reporting of “suspicious” procedure coding.

       63.    Then, on May 22, 2017, Dr. Rao’s reporting of the code sequences explicitly

recommended by IHS and its agents prompted SGS to also initiate a post-payment audit of both

Dr. Rao’s practice at SimCare and PASS MD based on the same coding concerns.

       64.    On September 29, 2017, Dr. Rao’s practice at SimCare and PASS MD received a

series of refund demands from SGS on behalf of the Medicare program, with the total SGS refund

demand exceeding $400,000.00.

       65.    On October 19, 2017, Dr. Rao’s practice at SimCare and PASS MD received a

series of additional refund demands from Novitas on behalf of the Medicare program, with the

total Novitas refund demands exceeding $350,000.00.

       66.    Together, the total amount of all refund demands received by Dr. Rao’s practice at

SimCare and by PASS MD on behalf of the Medicare program exceeded $750,000.00. While those

refunds were appealed and remain pending before the Office of Administrative Law, a substantial

portion of the disputed refund amount has already been offset from other claims payable to Dr.

Rao’s practice at SimCare and to PASS MD, and Dr. Rao has already spent tens of thousands of

dollars in legal fees and other related expenses relative to defending the Medicare audits—all on

account of the deliberate misrepresentations by IHS and its agents vis a via the NSS Coding

Scheme.




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                                        RICO ALLEGATIONS

A.      The NSS Enterprise

        67.     Plaintiffs hereby replead and incorporate by reference each allegation set forth

above, and further states as follows:

        68.     Defendants and the individuals named herein are “persons” within the meaning of

18 U.S.C. § 1961(3).

        69.     Based upon Plaintiffs’ current knowledge, the following persons constitute a union

or group of individuals associated in fact that Plaintiffs hereinafter refer to as the “NSS Enterprise.”

                a.      IHS;

                b.      IHCS;

                c.      Campbell;

                d.      Guinn;

                e.      Acclivity;

                f.      Kuhlman;

                g.      Dragon Slayer;

                h.      Long;

                i.      Coleman;

                j.      Kimberly Coleman;

                k.      Carrico;

                l.      Smith;

                m.      Brannon;

                n.      Miller;

                o.      Tomahawk Medical;

                p.      Dixon Medical Distributors;

                q.      Yet-to-be identified Sales Agents of IHS; and


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               r.     Yet-to-be-identified Coding Agents of IHS.

       70.     The common purpose of the NSS Enterprise was to sell the NSS to medical

providers. IHS profited from the sale of each NSS its Sales Agents sold. IHS Sales Agents profited

from a spread between the wholesale price it paid to IHS for each NSS and the retail price it

ultimately charged medical providers for each device whether as part of Full Service or Direct

Purchase programs. The Consulting Agents were paid a flat fee per “account” to put their name

and credentials behind the NSS Coding Scheme.

       71.     The relationships by and among the members of the NSS Enterprise were well-

defined:

               a.     IHS is the owner and licensor of the NSS.

               b.     IHS sought and received clearance from the FDA to market the NSS as an
                      electro acupuncture device for use in the practice of acupuncture by
                      qualified practitioners of acupuncture based on its representation that the
                      NSS was substantially equivalent to the P-STIM.

               c.     IHS developed the NSS Coding Scheme, fashioned from billing and coding
                      protocols it previously deployed in marketing the P-STIM.

               d.     IHS compiled information and documents on the clinical attributes of the
                      device, proper indications for deploying the device, and purporting to
                      support the NSS Coding Scheme (the “NSS Sales Materials”).

               e.     IHS provided the NSS Sales Materials to its Sales Agents, including the
                      precise documents provided to the Plaintiffs as alleged herein, and
                      controlled all messaging associated with marketing and selling the devices
                      including, most notably, that no mention was to be made that the NSS was
                      in fact FDA-cleared as an electroacupuncture device only.

               f.     IHCS, Acclivity, Tomahawk Medical, Dixon Medical Distributors, and
                      other yet-to-be identified Sales Agents of IHS were “exclusive”
                      distributorships engaged by IHS to market and sell the NSS in defined
                      geographic areas using the NSS Sales Materials or modified versions
                      thereof.

               g.     Campbell, Guinn, Smith, and Brannon were officers and/or executives with
                      IHCS, tasked with marketing and selling the NSS in defined geographic
                      areas using the NSS Sales Materials or modified versions thereof.



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               h.      Kuhlman and Miller were officers and/or executives with Acclivity, tasked
                       with marketing and selling the NSS in defined geographic areas using the
                       NSS Sales Materials or modified versions thereof.

               i.      Concurrent to his association with Acclivity, Kuhlman also served as a
                       National Director for IHS.

               j.      Dragon Slayer, Coleman, and as yet-to-be identified Coding Agents, were
                       retained and paid directly by IHS to support its Sales Agents by lending
                       their name and the credentials of their owners, Long and Kimberly
                       Coleman, respectively, to the coding sequences and protocols comprising
                       the NSS Coding Scheme.

               k.      IHS worked with the Coding Agents to develop “templates” to provide
                       purchasing medical providers with boiler-plate chart notes, letters of
                       medical necessity, and other forms (the “NSS Coding Forms”) purportedly
                       intended to support the use of the NSS and coding and billing consistent
                       with the NSS Coding Scheme.

               l.      IHS developed the NSS Coding Forms provided to purchasing medical
                       providers, as evidenced by the Sales Agents and Coding Agents all utilizing
                       identical (not similar, identical) language and formatting with respect to the
                       NSS Coding Forms they distributed to accounts.

               m.      Acclivity and other Sales Agents processed orders made by accounts, took
                       payments from ordering medical providers, and then remitted payment to
                       IHS who in turn would fulfill each order.

       72.     The NSS Enterprise maintained its existence from at least October 2014 (when the

NSS first received FDA-clearance, see Exhibit 1) through October 2016 (the date of Dr. Rao’s last

purchase of an NSS from IHS through Acclivity, see Exhibit 18), and upon information and belief

for years beyond October 2016 as the NSS Enterprise continues to market the NSS to this day. In

all, the NSS Enterprise either continues to maintain its existence or at the very least maintained its

existence long enough to permit these associates to pursue the NSS Enterprise’s purpose.

       73.     While Defendants participate in, are members, and part of the NSS Enterprise, they

also have an existence separate and distinct from this association-in-fact enterprise. With respect

to IHS, it is distinct from the NSS Enterprise because, as noted above, each member of the NSS

Enterprise performed different roles within the enterprise and, as noted below, the separate legal


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incorporation of the Sales Agents and the Coding Agents was used to facilitate the NSS

Enterprise’s pattern of racketeering activity. Specifically, the Sales Agents and Coding Agents and

their relationships with IHS were intended to insulate IHS from the NSS Coding Scheme.

       74.      The NSS Enterprise is an ongoing organization that engages in, and whose activities

affect, interstate commerce. Specifically, the purpose of the NSS Enterprise was to induce medical

device sales from a licensor in Indiana, using Sales Agents around the country, including Ohio,

Maryland, and Kentucky, assisted by Coding Agents around the country including Indiana and

Ohio, to medical providers with offices around the country, including in Maryland, Virginia, and

Pennsylvania.

B.     The Pattern of Racketeering Activity

       75.      Plaintiffs hereby replead and incorporate by reference each allegation set forth

above, and further states as follows:

       76.      18 U.S.C. §1961(1) provides that a “racketeering activity” includes any act

indictable under 18 U.S.C. § 1341 (relating to mail fraud) and 18 U.S.C. § 1343 (relating to wire

fraud). As set forth below, Defendants have and continue to engage in conduct violating these laws

to effectuate their illegal scheme.

       77.      For the purpose of executing and/or attempting to execute the above described

scheme to defraud or obtain money by means of false pretenses, representations, or promises, the

Defendants, in violation of 18 U.S.C. § 1341, placed in post offices and/or in authorized

repositories matter and things to be sent or delivered by the Postal Service, caused matter and

things to be delivered by commercial interstate carrier, and received matter and things from the

Postal Service or commercial interstate carriers, including but not limited to those transactions and

communications set forth in Exhibit 10 as to Dr. Bhambhani, received by Dr. Bhambhani at Box




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Hill Surgery Center in Abingdon, MD, as summarized by the chart annexed hereto as Exhibit 19;

and Exhibit 18 as to Dr. Rao, received by Dr. Rao at SimCare and PASS MD in Mount Airy, MD,

from IHS and/or Acclivity via the Postal Service or commercial interstate carriers by at least 9

separate shipments.

       78.     For the purpose of executing and/or attempting to execute the above described

scheme to defraud or obtain money by means of false pretenses, representations, or promises, the

Defendants, also in violation of 18 U.S.C. § 1343, transmitted and received by wire and through

other interstate electronic media, matter and things including but are not limited to those

transactions and communications set forth in Exhibit 10 and Exhibit 18 and the chart annexed

hereto as Exhibit 20.

       79.     Other matter and things sent through or received from the Postal Service,

commercial carrier, or interstate wire transmission by Defendants included information or

communications in furtherance of or necessary to effectuate the fraudulent scheme.

       80.     Defendants’ misrepresentations, acts of concealment, and failures to disclose were

made for the purpose of deceiving Plaintiffs and obtaining their property for the Defendants’ gain.

       81.     Defendants    either   knew   or    recklessly   disregarded   the   fact   that   the

misrepresentations and omissions described above were material.

       82.     As a result, Defendants obtained money and property belonging to Plaintiffs, and

Class Plaintiffs were injured in their business or property by Defendants’ overt acts of mail and

wire fraud.

       83.     Defendants engaged in a “pattern of racketeering activity,” as defined by 18 U.S.C.

§ 1961(5), by committing or aiding and abetting in the commission of at least two acts of

racketeering activity, that is, indictable violations of 18 U.S.C. §§ 1341 and 1343 as described




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above, within the past ten years. In fact, the Defendants have committed numerous acts of

racketeering activity. Each act of racketeering activity was related; had a similar purpose; involved

the same or similar participants and method of commission; had similar results; and impacted

similar victims, including Plaintiffs.

       84.     The multiple acts of racketeering activity that Defendants committed were related

to each other and amount to and pose a threat of future repetition and continued racketeering

activity, and therefore constitute a “pattern of racketeering activity” as defined in 18 U.S.C. §

1961(5).

                                     CLASS ALLEGATIONS

       85.     Plaintiffs hereby replead and incorporate by reference each allegation set forth

above, and further states as follows:

       86.     Plaintiffs bring this class action, pursuant to Rule 23 of the Federal Rules of Civil

Procedure, individually and on behalf of all members of the following class Proposed Class. The

Proposed Class consists of:

               All healthcare providers located within the United States who
               purchased one or more NSSs from IHS either directly or through
               IHS Sales Agents from within the longest period allowed by statute
               before filing of this action up through and including the date of
               judgment in this case. Excluded from this class are any healthcare
               providers, if any, who have previously settled or compromised
               claims(s) as identified herein for the class.

       87.     The members of the Proposed Class are so numerous that joinder of all members is

impracticable. While the precise number of members of the Proposed Class is known only to the

Defendants, the number of healthcare providers who purchased one or more NSSs from the

Defendants from within the longest period of time allowed by statute before the filing of this action

is certainly in excess of 100 persons.

       88.     Common questions of law and fact that can be resolved with common answers exist


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as to all class members. Such common questions include, but are not limited to, whether:

              a.      The NSS Enterprise is as association-in-fact;

              b.      The acts of the NSS Enterprise affected interstate commerce;

              c.      Defendants directly or indirectly invested in, maintained an interest in, or
                      participated in the conduct of the NSS Enterprise;

              d.      Defendants were involved in a pattern of racketeering;

              e.      Defendants were involved in a scheme to defraud in violation of the mail
                      and wire fraud statutes which constituted racketeering activity in
                      furtherance of a scheme;

              f.      Defendants’ racketeering acts were conducted as part of a pattern;

              g.      Defendants’ racketeering acts were in furtherance of the NSS Coding
                      Scheme;

              h.      Defendants deliberately made misrepresentations concerning the nature,
                      purpose, and functionality of the NSS;

              i.      Defendants deliberately made misrepresentations concerning the correct
                      billing, coding, and reimbursement for the NSS;

              j.      Defendants had reason to expect that the substance of these
                      misrepresentations would be communicated and repeated to Dr.
                      Bhambhani, Dr. Rao, and other medical providers through sales and
                      marketing representatives;

              k.      Defendants had reason to expect that the substance of these
                      misrepresentations would induce Dr. Bhambhani, Dr. Rao, and other
                      medical providers to rely upon the misrepresentations;

              l.      Dr. Bhambhani, Dr. Rao, and other medical providers did, indeed,
                      justifiably rely to their detriment on Defendants’ misrepresentations;

              m.      Proposed Class members are entitled to recover compensatory damages,
                      including but not limited to all amounts paid to Defendants for the NSSs
                      they purchased under false pretenses;

              n.      Proposed Class members are entitled to recover interest on such
                      compensatory damages, including but not limited to interest on all amounts
                      paid to Defendants for the NSSs they purchased under false pretenses;

              o.      Proposed Class members are entitled to punitive damages based on
                      Defendants’ acts or omissions, because such acts or omissions were


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                       actuated by actual malice or accompanied by a wanton and willful disregard
                       of persons who foreseeably might be harmed by those acts or omissions;
                       and

                p.     Proposed Class members are entitled to other equitable relief as sought
                       herein.

         89.    Plaintiffs’ claims are typical of the claims of the Proposed Class.

         90.    Plaintiffs will fairly and adequately protect the interests of the Proposed Class.

Plaintiffs’ interests do not conflict with the interests of the Proposed Class members. Furthermore,

Plaintiffs have retained competent counsel experienced in class action litigation. Plaintiffs’ counsel

will fairly and adequately protect and represent the interests of the Proposed Class.

         91.    The prosecution of separate actions by individual members of the Proposed Class

would create a risk of inconsistent or varying adjudications which could establish incompatible

standards of conduct for Defendants.

         92.    By routinely misrepresenting the correct billing, coding, and reimbursement for the

NSS, Defendants have acted or refused to act on grounds that apply generally to the Proposed

Class.

         93.    Common questions of law or fact common to the class members predominate over

any questions affecting only individual members, and a class action is superior to other available

methods for fairly and efficiently adjudicating the controversy because joinder of all members of

the Proposed Class is impracticable.

         94.    Pursuant to applicable law governing the sale of medical devices, Defendants

maintain sales records that record who purchased NSSs, in what amounts, and for how much, thus

the members of the Proposed Class can be readily and objectively ascertained using records

maintained by Defendants.




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                                     CLAIMS FOR RELIEF

                                    COUNT ONE
                     CIVIL VIOLATION OF RICO – 18 U.S.C. § 1962(c)
                                (Against all Defendants)

       95.     Plaintiffs, individually and on behalf of all others similarly situated, repeat,

reallege, and incorporate by reference each of the foregoing and subsequent allegations of this

Complaint as if fully set forth herein.

       96.     This claim for relief arises under 18 U.S.C. § 1962(c).

       97.     Each Plaintiff and each Proposed Class member is a “person” within the meaning

of 18 U.S.C. §§ 1961(3) and 1964(c).

       98.     Each Defendant and associate of the NSS Enterprise is a “person” within the

meaning of 18 U.S.C. §§ 1961(3) and 18 U.S.C. 1962(c).

       99.     Through agreements between the Defendants and joint management activity

between the associates of the NSS Enterprise, the Defendants formed an association-in-fact,

referred to herein as the NSS Enterprise, which constitutes an “enterprise” engaged in illegal

activities affecting interstate commerce pursuant to 18 U.S.C. §§ 1961(4) and 1962(c).

       100.    The purpose of the NSS Enterprise was to enhance Defendants’ profits by

misrepresenting, concealing, and defrauding Plaintiffs and the Proposed Class. At all relevant

times, Defendants were associated with the NSS Enterprise through their joint ownership,

employment, and/or business relationship with the NSS Enterprise, and its fraudulent and

misrepresentative statements about the NSS and reimbursement for the NSS and services rendered.

The Defendants were also associated with the NSS Enterprise through their participation in its

management and operation by directing is affairs and assisting the fraudulent billing scheme. The

Defendants participated, directly and indirectly, in the conduct of the enterprise’s affairs through




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a pattern of unlawful activity under 18 U.S.C §§ 1961(1)(b), 1961(5), and 1962(c), as follows:

               a. Multiple acts of mail fraud, in violation of 18 U.S.C. § 1341, detailed herein;

               b. Multiple acts of wire fraud, in violation of 18 U.S.C. § 1943, detailed herein;

                   and

               c. Multiple instances of interstate transport of money converted or fraudulent

                   obtained, in violation of 18 U.S.C. § 2314, detailed herein.

       101.    Each Proposed Class member suffered injury to his or her property, within the

meaning of 18 U.S.C. § 1964(c), by reason of the violation of 18 U.S.C. § 1962(c). Plaintiffs and

members of the Proposed Class were injured by reason of Defendants’ RICO violations, described

herein. The injuries of the individual Plaintiffs’ and the members of the Proposed Class were

proximately caused by Defendants’ violations of 18 U.S.C. § 1962(c) because these injuries were

the foreseeable, direct, intended and natural consequence of Defendants’ RICO violations (and

commission of underlying predicate acts) and, but for Defendants’ RICO violations (and

commission of underlying predicate acts), they would not have suffered these injuries.

       102.    Pursuant to Section 1964(c) of RICO, 18 U.S.C. § 1964(c), Plaintiffs and the

members of the Proposed Class are entitled to recover threefold their damages, costs, and

attorneys’ fees from Defendants and other appropriate relief.

                                    COUNT TWO
                              CONSPIRACY TO COMMIT
                     CIVIL VIOLATION OF RICO – 18 U.S.C. § 1962(d)
                                (Against all Defendants)

       103.    Plaintiffs, individually and on behalf of all others similarly situated, repeat,

reallege, and incorporate by reference each of the foregoing and subsequent allegations of this

Complaint as if fully set forth herein.

       104.    This claim for relief arises under 18 U.S.C. § 1962(d).



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       105.    Each Plaintiff and each Proposed Class member is a “person” within the meaning

of 18 U.S.C. §§ 1961(3) and 1964(d).

       106.    Each Defendant and associate of the NSS Enterprise is a “person” within the

meaning of 18 U.S.C. §§ 1961(3) and 18 U.S.C. 1962(d).

       107.    Defendants conspired to conduct or participate, directly or indirectly, in the conduct

of the affairs of the NSS Enterprise, through a pattern of racketeering activity. The conspiracy to

violate § 1962(c) constitutes a violation of § 1962(d).

       108.    In furtherance of the conspiracy to violate § 1962(c), Defendants agreed to commit

numerous predicate acts of “racketeering activity,” as defined in 18 U.S.C. § 1961(5), prior to and

during the RICO Class Period, and they continue to commit such predicate acts, in furtherance of

the recoupment scheme, including (a) mail fraud, in violation of 18 U.S.C. § 1341, and (b) wire

fraud, in violation of 18 U.S.C. § 1343.

       109.    As a direct and proximate result of the conspiracy to violate § 1962(c), Plaintiffs

and the Proposed Class members have each been injured in their business and property within the

meaning of 18 U.S.C. § 1964(c), and are entitled to recover treble damages together with the costs

of this lawsuit, expenses, and reasonable attorneys’ fees.

                                    COUNT THREE
                           FRAUDULENT MISREPRESENTATION
                                 (Against all Defendants)

       110.    Plaintiffs, individually and on behalf of all others similarly situated, repeat,

reallege, and incorporate by reference each of the foregoing and subsequent allegations of this

Complaint as if fully set forth herein.

       111.    Defendants made material misrepresentations to Plaintiffs and members of the

Proposed Class by means of oral representations, labeling, advertisements, promotions/or




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marketing, that the NSS could be billed to third party payors and health insurers with a particular

resulting reimbursement, as alleged more fully herein above. Although the Defendants may have

included disclaimers or caveats with their misrepresentations, those disclaimers or caveats were

ambiguous and, in the context of the balance of the communications by the Defendants,

misleading. Moreover, the Defendants conduct was inconsistent with the disclaimers and caveats,

rendering the latter ineffective. The general disclaimers made by the Defendants were contradicted

by their specific representations that the billing advice they gave in connection with their

marketing was correct.

        112.    Defendants’ representations were untrue, or at the least, made with reckless

disregard for its truth.

        113.    Defendants made the representations herein alleged with the intention of inducing

Plaintiffs and members of the Proposed Class to purchase NSSs from Defendants.

        114.    At the time Defendants made the representations herein alleged, Defendants knew

that the representations were false.

        115.    Plaintiffs and members of the Proposed Class justifiably relied upon Defendants’

fraudulent and intentional misrepresentations and, in reliance on those representations, were

induced to purchase NSSs from Defendants.

        116.    As a direct and proximate result of Defendants’ intentional misrepresentations,

Plaintiffs and members of the Proposed Class were harmed in an amount to be determined at trial.

                                  COUNT FOUR
               INTENTIONAL MISREPRESENTATION BY CONCEALMENT
                             OR NON-DISCLOSURE
                              (Against all Defendants)

        117.    Plaintiffs, individually and on behalf of all others similarly situated, repeat,

reallege, and incorporate by reference each of the foregoing and subsequent allegations of this



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Complaint as if fully set forth herein.

          118.   Defendants failed to disclose material facts regarding the reimbursement, billing

and collections rules and characteristics in connection with the NSSs purchased by Plaintiffs and

members of the Proposed Class, and the exposure the Plaintiffs and members of the Proposed Class

would have to Medicare and third-party payors if they followed Defendants’ billing advice.

          119.   Defendants had to a duty to disclose, failed to disclose, and purposefully failed to

disclose accurate facts about the billing and collections rules and characteristics about the NSS.

          120.   Specifically, the Defendants intended to deceive the Plaintiffs and members of the

Proposed Class of the fact that the NSS did not have the attribute of being billable and reimbursable

in the way asserted by the Defendants, and knew that the Plaintiffs and members of the Proposed

Class would have not purchased the NSS or NSS services, or paid a lower price for the NSS or

NSS services had Plaintiffs and members of the Proposed Class knew of the undisclosed material

facts.

          121.   This failure to disclose induced the Plaintiffs and members of the Proposed Class

to act.

          122.   As a direct and proximate result of Defendants’ concealment of material facts,

Plaintiffs and members of the Proposed Class were damaged in a way to be determined at trial.

                                          COUNT FIVE
                                       CIVIL CONSPIRACY
                                      (Against all Defendants)

          123.   Plaintiffs, individually and on behalf of all others similarly situated, repeat,

reallege, and incorporate by reference each of the foregoing and subsequent allegations of this

Complaint as if fully set forth herein.

          124.   All Defendants consist of two or more persons.




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       125.    All Defendants did agree or had an understanding to effectuate the intentional

misrepresentations, concealment of material facts, and/or the conduct alleged in the foregoing

paragraphs.

       126.    The agreement(s) by all Defendants was designed to pursue an unlawful purpose.

       127.    As a direct and proximate result of Defendants’ agreement(s) to pursue an unlawful

purpose, Plaintiffs and members of the Proposed Class suffered and continue to suffer special

damages.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand relief in their favor and against the Defendants as

follows:

       1.      That the Court determine that this action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, that the Plaintiffs are proper class representatives,

and that their counsel is adequate class counsel;

       2.      That the Court certify the Proposed Class identified above;

       3.      That judgment be entered against Defendants and in favor of Plaintiffs and the

Proposed Class on the Causes of Action in this Third Amended Class Action Complaint, for actual,

compensatory, and punitive damages, in an amount to be determined at trial;

       4.      That, pursuant to RICO, the Plaintiffs and the Proposed Class be awarded an

amount three times the amount of any and all damages suffered as a result of the illegal acts set

forth herein, as well as any and all other amounts or damages allowed to be recovered under RICO;

       5.      That the Court award the Plaintiffs and the Proposed Class attorneys’ fees and

litigation costs against Defendants;

       6.      That judgment be entered imposing pre-judgment interest on damages, attorneys’




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fees, and litigation costs against Defendants; and

        7.     That the Court award against Defendants and for Plaintiffs and the Proposed Class

all other and further relief, both at law and in equity, to which they may show themselves justly

entitled.

                                DEMAND FOR A JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs and the Proposed Class

demand a jury trial on all issues so triable.

 Dated: November 17, 2020                            Respectfully submitted,


                                                              /s/ Ugo Colella
 John W. Leardi (admitted pro hac vice)              Ugo Colella (Bar. No. 17443)
 Paul D. Werner (admitted pro hac vice)              COLELLA ZEFUTIE, LLC
 Elizabeth A. Rice (Bar. No. 20426)                  1300 I Street, N.W., Suite 400E
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 Princeton, New Jersey 08540                         COLELLA ZEFUTIE, LLC
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                           Attorneys for Plaintiffs Ritu Bhambhani M.D.,
                            Sudhir Rao, M.D., and the Proposed Class




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  DEPARTMENT OF HEALTH & HUMAN SERVICES                                         Public Health Service


                                                                                Food and Drug Administration
                                                                                10903 New Hampshire Avenue
                                                                                Document Control Center WO66 G609
                                                                                Silver Spring, MD 20993 0002



                                           October 2, 2014


Navigant Consulting, Inc.
Colleen Hittle
Managing Director
30 S. Wacker Drive, Suite 3100
Chicago, Illinois 60606

Re: K140530
    Trade/Device Name: Electro Auricular Device
    Regulation Name: Electro Acupuncture Stimulator
    Regulatory Class: Unclassified
    Product Code: BWK
    Dated: August 29, 2014
    Received: September 2, 2014

Dear Ms. Colleen Hittle:

We have reviewed your Section 510(k) premarket notification of intent to market the device
referenced above and have determined the device is substantially equivalent (for the indications
for use stated in the enclosure) to legally marketed predicate devices marketed in interstate
commerce prior to May 28, 1976, the enactment date of the Medical Device Amendments, or to
devices that have been reclassified in accordance with the provisions of the Federal Food, Drug,
and Cosmetic Act (Act) that do not require approval of a premarket approval application (PMA).
 You may, therefore, market the device, subject to the general controls provisions of the Act.
The general controls provisions of the Act include requirements for annual registration, listing of
devices, good manufacturing practice, labeling, and prohibitions against misbranding and
adulteration. Please note: CDRH does not evaluate information related to contract liability
warranties. We remind you, however, that device labeling must be truthful and not misleading.

If your device is classified (see above) into either class II (Special Controls) or class III (PMA),
it may be subject to additional controls. Existing major regulations affecting your device can be
found in the Code of Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may
publish further announcements concerning your device in the Federal Register.

Please be advised that FDA’s issuance of a substantial equivalence determination does not mean
that FDA has made a determination that your device complies with other requirements of the Act
or any Federal statutes and regulations administered by other Federal agencies. You must
comply with all the Act’s requirements, including, but not limited to: registration and listing (21
CFR Part 807); labeling (21 CFR Part 801); medical device reporting (reporting of medical
device-related adverse events) (21 CFR 803); good manufacturing practice requirements as set
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forth in the quality systems (QS) regulation (21 CFR Part 820); and if applicable, the electronic
product radiation control provisions (Sections 531-542 of the Act); 21 CFR 1000-1050.

If you desire specific advice for your device on our labeling regulation (21 CFR Part 801), please
contact the Division of Industry and Consumer Education at its toll-free number (800) 638-2041
or (301) 796-7100 or at its Internet address
http://www.fda.gov/MedicalDevices/ResourcesforYou/Industry/default.htm. Also, please note
the regulation entitled, sMisbranding by reference to premarket notifications (21CFR Part
807.97). For questions regarding the reporting of adverse events under the MDR regulation (21
CFR Part 803), please go to
http://www.fda.gov/MedicalDevices/Safety/ReportaProblem/default.htm for the CDRH’s Office
of Surveillance and Biometrics/Division of Postmarket Surveillance.

You may obtain other general information on your responsibilities under the Act from the
Division of Industry and Consumer Education at its toll-free number (800) 638-2041 or (301)
796-7100 or at its Internet address
http://www.fda.gov/MedicalDevices/ResourcesforYou/Industry/default.htm.

                                               Sincerely yours,


                                               Felipe Aguel -S
                                               Carlos
                                                  l L. Peña, PhD,
                                                                h MS
                                         for
                                               Director
                                               Division of Neurological and
                                                 Physical Medicine Devices
                                               Office of Device Evaluation
                                               Center for Devices and Radiological Health

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510(k) Summary
EAD (Electro Auricular Device)

                                  Device Description
The EAD system is a battery-operated, single-use device that has a preprogrammed
frequency, pulse and duration for the stimulation of auricular point nerve stimulation for
pain. The device power supply connects via four (4) stainless steel wires, sheathed in a
plastic over-molding, to three (3) needle arrays comprised of four (4) needles each and
one (1) needle array comprised of only 1 needle.

The device is powered by one 3 Volt lithium ion battery.

The device modulates a duty cycle between 2 hours on and 2 hours at rest. The maximum
performance time frame is 5 days or 120 hours (5 days X 24 hours). Weight is 4 grams
including batteries. The power supply dimensions are 36 mm x 17 mm x 7 mm. The
needle dimensions are 0.5 mm width x 2 mm length.


                                   Intended Use(s)
The EAD is an electro acupuncture device for use in the practice of acupuncture by
qualified practitioners of acupuncture as determined by the states.

                             Technological Characteristics
Appliance: Electro-acupuncture Device
Type description: EAD
Power supply: 1 x 3V battery (Type CR1220 Lithium)
Output: (Load impedance range 1k-10kQ) max. 3.2V, Impulse interval 1000ms, impulse
width 1ms, 'ims I bipolar), max possible total duration of treatment 5x 24 hours
Protection level: IP20 Type: B
Duty type: approx. 2h duty I 2h at rest (periodic duty)
Weight incl. battery: 4g Dimensions: 36 x 16 x 7 mm
Needle Dimensions: 0.5 mm width x 2 mm length




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510(k) Summary
EAD (Electro Auricular Device)

                                       Conclusion
The non-clinical data support the safety of the device and the hardware and software
verification and validation demonstrate that the EAD device should perform as well as the
predicate device in the specified use conditions.




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                                    FAQ Sheet For Clinicians

                    When is it appropriate to use the Neuro-Stim System (NSS)?
The generator itself is FDA cleared for targeting acute and chronic pain. As a rule of thumb any
condition that is either sympathetically mediated or sympathetically maintained can be helped by
the use of the device. At first most clinicians use them as a last ditch effort on patients with whom
all other procedures have failed. As you gain experience in the clinical use of the devices you will get
more comfortable and use them as an integral therapy according to the patient’s needs.
                          Can I use the NSS along with other treatments ?

Yes. The device can be used by itself (primary), after other treatments have been tried (secondary),
or along with other co-treatments (tertiary). In fact many times because of the co-morbidities often
associated with complex pain entities the NSS is utilized as a part of a pain management program.
                                  How many devices are required ?

As a rule of thumb long term chronic conditions (with neuroplasticity and mal-adaptation) take longer
to treat. For instance a long term fibromyalgia patient will often require more devices than a patient
with a short term condition. It is recommended in cases other than acute injury or surgery that the
devices be used in a series of three. In other words treat initially with three devices and re-evaluate
the patient. If the symptoms are not reduced to a satisfactory level then consider another series of
three devices or treat with just one additional device with weekly re-evaluations. Again, a long term
pain patient with associated central sensitization, spinal cord wind-up, etc. should be advised that
this type of treatment is a process toward quiescence just like their progress to their present pain
state was often a process. However each patient should be evaluated on an individual basis and
treated according to their personal needs.
                          Can I place one device and see what happens?

It is normally not recommended to only treat with one device and “see what happens” unless
device placement is used to help differentiate sympathetic involvement post surgically or part of a
diagnostic process. It is common for patients to feel much better after one device placement and
not see an equal effect with the second. In fact, it is very common for patients to say, “I don’t think
the device is working” after the second placement. It is thought this is due to adaptive physiology
and endorphin production. However after the third placement a residual effect can often be seen. It
is important that both the clinician and the patient commit to treatment.
                                 How often do I place the devices ?
Each device runs for 120 hrs (5 days) and then turns itself off. It is recommended that there is a two
day non-treatment period between applications to avoid attenuation and/or tissue breakdown. So
each patient should be appointed no sooner than once every 7 days. The exceptions are outlined in
the clinical protocols.




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                                   FAQ Sheet For Clinicians

                                  Do I need to place all four leads?

Yes. It is recommended that all four leads are implanted according to the training videos, unless
otherwise noted in the clinical protocols.

                                       What about migraines?

Migraines are the exception to the rule. Use only one lead anterior to the tragus (trigeminal/
superficial temporal artery) and the ground wire on the lobe. Implanting all the arrays may increase
migraines. Also it is advised to not have any non-treatment times in between device application and
place at least two back to back. Patients do not “kind of” have a migraine. They either do or they
don’t. After two applications often the sympathetic cycle has been broken. Further device treatment
is advised on a case by case basis. Remember, patients still need to avoid their migraine triggers.
The longer they remain migraine free the more likely they are to remain quiescent.

                            How about use in conjunction with surgery?

Devices have been used successfully in hundreds of surgical situations. Placing a device several
days pre-surgically will help reduce any sympathetic overlays (muscle pain, guarding, edema,
ischemia, inflammation ) and help patients achieve higher pre-surgical endorphin levels. Placing a
device immediately post-surgically will assist in unwanted sympathetic reactions and help keep the
patient’s surgical pain manageable often with minimal central acting opioids.




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                                             Scheduling

Patient scheduling can often be a challenge when treating chronic pain patients with IHS device
therapy. Each patient is different and will require custom treatment by the treating physician. Other
than in acute surgical situations multiple visits are needed for device placement. When this therapy
is integrated into your routine you and your scheduling assistant will find scheduling a challenge.
At first it is recommended that the treating clinician perform the total procedure to sharpen clinical
skills. However many clinicians will delegate the intake, pain scales, device assembly and placement
to a licensed assistant and complete the final implantation themselves to be more time effective.
After a few placements the total time of the treating clinician may be five minutes or less.

                                      Here’s some helpful tips :

 1. Patients should commit to you and you to them. Make sure when initial therapy is initiated that
  your office can follow up with proper sequence. Skipping a week can cause relapse and should
 be avoided. It may be best to delay initial treatment until everyone can make their commitments.
                                    Convey this to your patients.

 2. Trying a device and “seeing how it goes” is not often recommended. You may get false success
    or false failure. As a rule of thumb chronic conditions should be treated in a series of three to
 achieve maximum sympathetic reduction and physiological adaptation. The exceptions are acute
conditions, surgical use, use to help with a differential diagnosis and the clinician’s clinical judgment.
All protocols should be considered guidelines not absolutes. All factors should be weighed and final
                                    device placement based accordingly.

 3. Make sure that all procedures performed or delegated are within your state’s scope of practice
                                   and the individual’s licensure.

  4. Financial arrangements should be made in advance. This includes any necessary third party
 arrangements, cash, etc. Many patients with chronic conditions have financial considerations that
should be honored. Be sure to not pre-judge patients on what they can or cannot afford. That is not
 your job. Your job is to diagnose, offer suggested treatment outlines and let them make their own
                                          financial decisions.

IHS works with several coding companies which can help advise and guide you in this process. IHS
has no financial ties to any recommended companies and does not make coding decisions. If further
                information is desired please contact IHS or your local representative.




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                                            Scheduling

 5. Enjoy the process. Treating chronic conditions is always a challenge. You will find that using IHS
device therapy will add a whole new dimension to your practice. Patients you were previously unable
   to help will often respond in a positive manner, be grateful and refer their friends. We at IHS are
 hopeful that using the device therapy will open many doors as an emerging science and encourage
 you to learn further to be a more effective diagnostician and treating clinician. We are dedicated to
 your support and education providing online learning modules and encourage communication. You
will find your local representative to be a valuable, well trained asset to your practice. Any questions
 you may have will be researched and discussed. Our team of advisors will attempt to answer them
                                           to your satisfaction.

                                        One last personal note…
  The most common response I have received from my patients through the years is not that their
 pain has not gone away but that we have changed their lives allowing them to once again have a
  life not focused on their pain but rather focused on the things that make life enjoyable. That may
be as simple as going to the mall, not missing a grandchild’s birthday party or not having their child
 comment “I hope we can go tomorrow if mommy doesn’t have a headache.” Many times patients
     with chronic conditions lose hope along the way knowing they are living a life of pain with an
occasional short–term respite. Integrating the IHS family of devices into your practice can help you
                        provide them with a life not centered around their pain.

  While not every case is successful and not everyone qualifies for device treatment, you will find
great success and satisfaction from those you help. The IHS family of devices designed for a target
                               population of acute and chronic pain.



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                           Head of Scientific Research and Development
                                    Innovative Health Solutions




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                                    Introduction to Protocols

The following are suggested guidelines for specific clinical entities. However it must be remembered
that chronic conditions are often multi-factorial in nature and require a muli-modal approach. The use
of an IHS device is therefore often a part of an ongoing process.
Along with mal-adaptive neuroplasticity often comes mal-adaptive behavior which may need to be
addressed as well. Since the target population of this type of treatment is acute and chronic pain the
clinician must be aware of the sustaining co-factors which contribute to the condition.
Entities such as Central Sensitization Syndrome, Fibromyalgia, and PTSD have a heavy sympathetic
overlay by nature and often predictably respond satisfactorily to the use of the IHS devices.
“Spinal wind-up”, neuroplasticity and micro-glial responses occur over an extended period of time
and the patient as well as the clinician must be aware that it will often take time to “un-wind” the
physiological adaptation processes.
Patients with long term pain conditions must set reasonable goals to assist in the process of
acceptable pain reduction, increase in physical activity, and the amount of device therapy it may take
to achieve these goals. Your treatment estimation is based upon a combination of their condition,
their desire to get better, adhering to treatment guidelines, your clinical experience and rate of
symptom reduction. These factors should be discussed before any treatment is initiated.
The treating clinician, the patient, and their significant support system all work together as a team
to help achieve a more pain-free life. The IHS family of devices are wonderful tools to assist in
achieving those goals.
If you have specific questions about technique or need educational support along the way IHS is
accessible through the web site, our 24 hr. hot-line and your local rep. If you have questions about
insurance coding please address them with the IHS certified representatives. Innovative Health
Solutions does not give any coding advice but rather refers you to unaffiliated professional coders
with whom you can directly work to assist you and your patient.
The IHS family of neuro-stimulation devices, the modern non-narcotic alternatives for pain
management.



                                 Christopher R. Brown DDS, MPS
                           Head of Scientific Research and Development
                                    Innovative Health Solutions

  All protocols and recommendations are based upon anecdotal clinical evidence. Final application
   of devices should be determined on an individual basis. University and Department of Defense
                        randomized double-blind clinical trials are on-going.




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                         Protocol for Post Arthroscopy/Arthrocentesis

Arthroscopic and joint arthrocentesis intervention of any joint in the body is designed to be minimally
invasive. The use of device therapy has proven successful in reducing unwanted sympathetic
rebound reducing localized edema/ischemia and sympathetically mediated pain. Placement of a
device pre-operatively or immediately post-operatively will help achieve maximum success. All four
electrodes should be implanted per protocol (three ventral, one dorsal) for maximum neurovascular
field effect.

The exception to this is for TMJ procedures. The device must be placed on the procedural side.
The single pin ground lead is implanted on the ventral of the lobe. The first 4 pin array is implanted
anterior/superior to the tragus, superior to the TMJ. This location is ascertained by palpation of the
lateral aspect of the mandibular condyle. Have the patient open and close their mouth for definitive
condylar palpation. This will allow implantation directly over the auriculo-temporal branch of
Cranial V (trigeminal) and the superficial temporal artery which branches into the posterior lamina of
the TMJ. The second 4 pin array will be implanted in the inner concha in the area of Cranial X (vagal).
The third 4 pin array will be implanted into the upper third of the ear affecting cranial nerves V, VII ,
and branches of the superficial temporal artery.

As in all surgical procedures post-op care should be carefully instructed including physical therapy,
exercises, etc.

                                              Summary:

                                        3 - 5 Days Pre-Op
                                              (Chronic)
       One device is placed implanting all four leads followed by a device placed immediately
                                           post-surgically.

                                     Day 1 Immediately Post-Op
                                                (Acute)
                            One device is placed immediately post-surgically.




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                         Protocol for Central Sensitization Syndrome

Clinicians treating chronic often encounter patients who seem to hurt “all over”, have emotional
co-factors, multiple chemical sensitivity, endocrine system hypo or hyper function, sleep disorders,
chronic fatigue, and a seemingly exhaustive list of medications and myriads of doctor visits. These
patients often have a component referred to as CSS. (For review please refer to the Robert’s paper
in the IHS certification program.) This condition is multi-factorial with multiple sustaining co-factors
commonly referred to as triggers all or most of which may need to be addressed. Chronic pain
syndromes such as fibromyalgia and functional pain may involve central sensitization, spinal wind
up, altered microl-glia and/or neuroplasticity. These conditions are often associated with a heavy
sympathetic overlay via mediation or maintenance and respond to the use of IHS devices. Reduction
of the sympathetic drive can often reduce the patient’s symptoms where individual “triggers” can be
successfully addressed. These conditions are long term and progressive. Successful treatment will
take time and multiple device applications. The patient needs to commit to three device placements
placed once per week after which an evaluation should be performed to evaluate success. If
symptoms have been reduced to an acceptable level than discontinue treatment until symptoms
reappear. Device therapy can then be utilized on a PRN basis. If symptoms are not at an acceptable
level and the patient desires to receive further treatment then another series of three are placed one/
week. All four electrodes should be implanted per protocol (three ventral, one dorsal) for maximum
neurovascular field effect. Please note with long term neuroplastic adaptation and spinal wind up
these patients may relapse after a long period of quiescence and may need further treatment. If so
treat one device at a time PRN.

                                              Summary:

                                      Week One-Three
          One device placed each week with two days non treatment in between devices.

                                             Week Four
Non-treatment for evaluation of residual effect. If patients symptoms begin to increase after several
                  days then an additional set of three devices should be placed.

                                        Week Five-Six
           One device placed eachweek with two days non-treatment in between devices.

                                            Week Seven
                Non-treatment for evaluation of residual effect. Proceed as described.

                                          Future Treatment
              If relapse occurs devices should be utilized one at a time on a PRN basis.




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                Protocol for CRPS (Complex Regional Pain Syndrome)
CRPS is by definition a sympathetic response often to a physical insult resulting in several stages
of painful progression. IHS device therapy can be a very vital supportive adjunct to treatment.
Reducing pain, reducing sympathetic stimulation, increasing range of motion and peripheral arterial
perfusion often allows the patient to do the things they have been advised to do and as a result
encourages physical therapy to be more effective. CRPS often has a traumatic onset but can also
result from disease with a progressive onset of symptoms. The most effective use of devices is in
sets of three allowing treatment for 21-28 days. If symptoms have been reduced give the patient
a week of non-treatment to be able to observe for residual effect. If after a few days the patient’s
symptoms ramp up then another set of three devices should be advised. As the patient improves
a mutual decision should be made to extend non-treatment times in between devices but usually
not before the initial three and often may continue beyond six. As soon as there are observable
changes in the tissue, reduction in pain, and a restoration of function then device therapy can be
discontinued.

Use of the IHS devices is often in conjunction with physical therapy and medications and should
be considered adjunctive in nature as part of an overall treatment plan. The devices are the most
effective when CRPS symptoms first occur and not waiting until the tertiary stage. Early use will
reduce symptoms, the amount of devices used and speed of recovery.

All four leads should be used as indicated by IHS training to achieve maximum cranial
neuro-vascular field effect.

                                             Summary:

                                      Weeks One-Three
          One device placed each week with two days non-treatment in between devices.

                                             Week Four
Non-treatment for evaluation of residual effect. If patients symptoms begin to increase after several
                  days then an additional set of three devices should be placed.

                                        Weeks Five-Six
             One device placed/week with two days non-treatment in between devices.

                                           Week Seven
               Non-treatment for evaluation of residual effect. Proceed as described.




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                                  Protocol for Chronic Pain

When reviewing chronic pain publications the term “chronic” is defined many different ways. There
is evidence to support there is physiological and neuro-plastic adaptation as soon as 21-28 days.
While this definition can be argued it is a reasonable working model for the use of the IHS devices
designed for a target population of acute and chronic pain. Chronic pain is often a
multi-factorial, multi-system entity with heavy sympathetic overlay. IHS device therapy can be a
very vital supportive adjunct to treatment. Reducing pain, increasing sleep and increasing range of
motion often allows the patient to do the things they have always been advised to do but couldn’t.

While chronic pain is by definition > 21-28 days the etiology can have an onset from trauma or
disease and is often progressive accruing collective symptoms. The most effective use of devices is
in sets of three allowing treatment for 21-28 days. If symptoms have been reduced give the patient
a week of non-treatment to be able to observe for residual effect. If after a few days the patient’s
symptoms elevate then another set of three devices should be advised. As the patient improves, a
mutual decision should be made to extend non-treatment times in between devices but usually not
before the initial three.

All four leads should be implanted as indicated by IHS training to achieve the maximum cranial
neuro-vascular field effect

                                             Summary:

                                      Weeks One-Three
       One device placement every week with two days of non treatment in between devices.

                                             Week Four
Non-treatment for evaluation of residual effect. If patients symptoms begin to increase after several
                  days then an additional set of three devices should be placed.

                                      Weeks Five-Six
      One device placement every week with two days of non-treatment in between devices.

                                           Week Seven
               Non-treatment for evaluation of residual effect. Proceed as described.




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                                   Protocol for Fibromyalgia

Fibromyalgia is a multi-factorial, multi-system entity with heavy sympathetic overlay. IHS device
therapy can be a very vital supportive adjunct to treatment. Reducing pain, increasing the quality of
sleep and increasing range of motion often allows the patient to do the things they have always been
advised to do but couldn’t. Fibromyalgia which can have a rapid onset from trauma or disease is
often however a chronic condition with progressive onset of collective symptoms. The most effective
use of devices is in sets of three allowing treatment for 21-28 days. If symptoms have been reduced
give the patient a week of non-treatment to be able to observe for residual effect. If after a few days
the patient’s symptoms ramp up then another set of three devices should be advised. As the patient
improves a mutual decision should be made to extend non-treatment times in between devices but
usually not before the initial three and often continuation beyond six. All four leads should be used
as indicated by your training to achieve maximum cranial neuro-vascular field effect.

                                              Summary:

                                      Weeks One-Three
          One device placed each week with two days non-treatment in between devices.

                                             Week Four
Non-treatment for evaluation of residual effect. If patient’s symptoms begin to increase after several
                  days then an additional set of three devices should be placed.

                                       Weeks Five-Six
          One device placed each week with two days non-treatment in between devices.

                                           Week Seven
               Non-treatment for evaluation of residual effect. Proceed as described.




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                                  Protocol for Low Back Pain

Low back pain is one of the most ubiquitous conditions in the world, elusive to treatment and is one
of the leading causes of disability in the United States. While LBP is a diagnostic entity it is often
multi-factorial in etiology with a heavy sympathetic overlay and often requires a multi-disciplinary
approach for resolution.

IHS device therapy can be a very vital supportive adjunct to treatment. Reducing pain, increasing
quality of sleep and increasing range of motion often allows the patient to do the things they have
always been advised to do but couldn’t. If symptoms have been reduced give the patient a week of
non-treatment to be able to observe for residual effect. If after a few days the patient’s symptoms
elevate then another series of three devices should be advised. As the patient improves a mutual
decision should be made to extend non-treatment times in between devices but usually not before
the initial three.

All four leads should be implanted as indicated by IHS training to achieve the maximum cranial
neuro-vascular field effect.

A word of caution. Advise the patient NOT to increase their activity beyond normal during the first
week of treatment. Patients often feel better and want to “get on with life” lifting too much, doing
neglected chores and can easily re-injure themselves.

                                              Summary:

                                      Weeks One-Three
          One device placed each week with two days non-treatment in between devices.

                                             Week Four
Non-treatment for evaluation of residual effect. If patient’s symptoms begin to increase after several
                days then an additional series of three devices should be placed.

                                       Weeks Five-Six
          One device placed each week with two days non-treatment in between devices.

                                           Week Seven
               Non-treatment for evaluation of residual effect. Proceed as described.




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                                      Protocol for Migraines

The patients with migraines require a specific protocol different from all other device protocols.
Only two leads are used which are placed in the following manner:
A. An array anterior/superior to the tragus (trigeminal and superficial temporal artery).
B. The single pin ground lead is implanted on the ventral aspect of the lobe.

This will reduce the risk of over-stimulation of the sympathetic system which may increase migraine
intensity.

The second device is placed on the 5th day with no non-treatment period as in other protocols again
using only two leads as per the first device.

If the headaches cycle is not broken than additional devices should be placed without interruption.
If there appears to be skin irritation at the implantation sites than consider switching ears for patient
comfort.

As soon as the headache cycle is broken then treatment can be discontinued. Place devices as
needed to help the patient reach quiescence.

                                               Summary:

                                             Days 1-5
First device placement. Implant only one array anterior/superior to the tragus and the single pin lead
                                            on the lobe.

                                          Days 5-10
  Second device placement. Continue stimulation as described without a non-treatment period to
                                  avoid rebound headache.

                                            Days 10-15
     Third device placement. As needed. If the headache cycle is broken then treatment can be
                                           discontinued.

  The number of devices required will vary from patient to patient. Continue with device placement
                                every 5 days PRN until quiescent.




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                                Protocol for Narcotic Reduction
The patient with a background of central acting opioids must be handled cautiously. Patients on
narcotics longer then 21-28 days may experience physical attenuation, addiction, or have developed an
emotional or psychological dependence. This should be discussed and documented by the prescribing
clinician, the clinician treating with the device and the patient.
It may take at least three weeks for the patient to regain the ability to produce endorphins. Therefore it
is advisable that the base-line narcotics as prescribed, remained unchanged for up to three weeks even
during device use. Reduction of breakthrough medications may begin immediately as determined by the
prescribing clinician and the patient.
The devices may be implanted every fifth day for the first three devices to avoid rebound pain. After that
time period once a week placement will normally suffice.
When the patient’s pain levels have reduced to a level acceptable by both patient and the clinician
base-line central acting opioids can be reduced at a rate determined by the prescriber to minimize the
physical symptoms of withdrawal.
The use of the device for the substitute for central acting opioids should be considered as adjunctive
treatment along with counseling, physical therapy, alternative medications and other modalities as
directed by the treating clinician.
                                                Summary:
                                             Days 1-5
  First device placement. Break-through pain medications can be reduced but should be taken as
  needed with the aim of reduction of total dosage. Background opioids should remain the same.
                                          Days 6-10
     Second device placement. Continue reduction of break-through medications as tolerated.
                                           Days 11-16
  Third device placement. Continue reduction of break-through pain medications and background
               opiods can be reduced according to clinical guidelines and judgment.
                                            Days 17-18
                      No device placement. Continue with medication reduction.
                                          Days 19-23
 Fourth device placement. Continue with reduction of break-through and background medications.
                                           Days 24-25
   No device placement. Evaluate patient opioid consumption and continue with device therapy if
                                             needed.




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                     Protocol for Occipital Neuralgia and Cervicalgia

Patients with these conditions have often previously received multiple treatments. These conditions
can be multi-factorial in nature and using the devices in conjunction with other modalities should
be considered. Proper device placement will provide direct access into the occipital nerves and the
upper cervical spine blocking both afferent and efferent stimulae.

The single pin ground lead should be implanted in the ventral aspect of the lobe. The first 4 pin array
should be implanted in the lower third of the outer rim of the ear. The second 4 pin array should be
implanted on the dorsal lower third of the ear near a branch of the posterior auricular artery. The
third 4 pin array should be implanted on the superior aspect of the dorsal of the ear near an arterial
branch. This placement will affect the peripheral branches of the lesser and greater occipital nerves
and the posterior auricular arterial branches.

                                              Summary:

                                            Week One
                     One device placed followed by two days of non-treatment.

                                            Week Two
                     One device placed followed by two days of non-treatment.

                                            Week Three
                     One device placed followed by two days of non-treatment.

                                            Week Four
                                        No device placement.

                                             Week Five
                                       Evaluate and treat PRN.




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                            Protocol for Peripheral Neuropathy

Peripheral neuropathy can be a primary diagnosis or a symptom as a result of other pathologies.
PN can cause pain, alteration of movement, alteration of sensation, or even organ dysfunction.
PN can be acute as a result of trauma, chemically induced (CIPN-see suggested protocol), or
commonly found as a result of chronic conditions such as diabetes.

IHS device therapy has proven effective in helping relieve PN’s and helps restore patients to pain
free or pain reduced function. Treatment is recommended at the first sign of symptoms and should
continue on a PRN basis being careful to monitor all precipitating and/or perpetuating co-factors.

All four leads should be used as indicated by your training to achieve a maximum cranial
neuro-vascular field effect.

                                            Summary:

                                    Weeks One-Three
         One device placed each week with two days non treatment in between devices.

                                             Week Four
Non-treatment for evaluation of residual effect. If patients symptoms begin to increase after several
                  days then an additional set of three devices should be placed.

                                        Weeks Five-Six
            One device placed/ week with two days non treatment in between devices.

                                          Week Seven
              Non-treatment for evaluation of residual effect. Proceed as described.




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                                      Protocol for Surgery

Device use to augment surgery is designed to reduce unwanted sympathetic reactions (post-op
edema/ischemia), sympathetically mediated/maintained pain and reduce the need for post-op
opioids.

If surgery is required for a chronic condition with associated muscle guarding, edema/ischemia,
localized inflammation and associated pain, device placement is recommended 3-5 days pre-op.
All four leads should be implanted for maximum desired affect. A new device should be placed
immediately post operatively which will result in a total of 8-10 days of stimulation.

If surgery is required for an acute situation with minimal pre-operative sympathetic involvement than
one device placed immediately post surgically will suffice.

All four leads should be implanted as indicated by IHS training to achieve maximum cranial
neuro-vascular field effect.

                                             Summary:

                                         3-5 Days Pre-Op
                                              (Chronic)
       One device is placed implanting all four leads followed by a device placed immediately
                                           post-surgically.

                                  Day 1 Immediately Post-Op
                                             (Acute)
                         One device is placed immediately post-surgically.




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                                      Protocol for Tinnitus

Tinnitus can have multiple etiologies and is often elusive to diagnose and treat. Use of the device
has been effective but unpredictable from patient to patient. As in all chronic conditions realistic
goals should be established before initiating treatment. Treatment may be completely successful or
completely unsuccessful. The decision for treatment lies in a combination of the willingness of the
clinician to treat and the patient to allow treatment knowing the variation of success.

All four leads should be implanted per protocol (three ventral, one dorsal) for maximum
neurovascular field effect. Patients need to commit to three placements as both a diagnostic
and potentially therapeutic treatment. It is advisable to not have any non-treatment time in
between devices for the first two placements to achieve maximum sympathetic suppression as
symptoms can spontaneously re-appear. After the second device a two day non-treatment period
can be utilized if desired. When the patient’s symptoms have reached MMI (maximum medical
improvement) treat with one more device. This is known as “quiescence plus one”.

                                             Summary:

                                              Days 1-5
    First device placement. Implantation in sites previously described on the symptomatic side.

                                           Days 5-10
                 Second device placement. Implantation in sites of the first device.

                                            Days 10-15
Third device placement. Evaluate and treat if the patient is still symptomatic. The number of devices
                         needed is determined by remaining symptoms.




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                          Protocol for Tonsillectomy Pain Control

The use of IHS device therapy has proven successful in post-tonsillectomy pain control.
The device can be placed pre-operatively to help encourage endorphin production and reduce
edema. A device can be placed immediately post-surgically as well to help reduce discomfort,
swelling, and reduce pain medication consumption.

The device may be placed on the either ear. The single pin ground lead is placed on the ventral of
the lobe. The first 4 pin array is implanted anterior/superior to the tragus superior to the TMJ. This
location is ascertained by palpation of the lateral aspect of the mandibular condyle. Have the patient
open and close their mouth for definitive condylar palpation. This will allow implantation directly
over the auriculo-temporal branch of cranial V (trigeminal) and the superficial temporal artery which
branches into the posterior lamina of the TMJ. The second 4 pin array will be implanted in the inner
concha in the area of Cranial X (vagal). The third 4 pin array will be implanted into the upper third of
the ear affecting Cranial nerves V, VII, and branches of the superficial temporal artery.

                                              Summary:

                                         3-5 Days Pre-Op
                                             (Optional)
       One device is placed implanting all four leads followed by a device placed immediately
                                           post-surgically.

                                   Day 1 Immediately Post-Op
                                              (Acute)
                          One device is placed immediately post-surgically.




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                              Protocol for Trigeminal Neuralgia

Patients with trigeminal neuralgia can often be assisted with device use. Dramatic results can be
obtained rapidly but follow up and elimination of triggers is imperative.

The device must be placed on the side of the TGN. The single pin ground lead is implanted on the
ventral of the lobe. The first 4 pin array is implanted anterior/superior to the tragus superior to the
TMJ. This location is ascertained by palpation of the lateral aspect of the mandibular condyle. Have
the patient open and close their mouth for definitive condylar palpation. This will allow implantation
directly over the auriculo-temporal branch of Cranial V (trigeminal) and the superficial temporal
artery. The second 4 pin array will be implanted in the inner concha in the area of Cranial X (vagal).
The third four pin array will be implanted near the outer rim of the lower third of the ear affecting
Cranial nerves VII, X and branches of the posterior auricular artery. The second device must be
implanted on the fifth day. All triggers should be avoided throughout this period.

A third device may need to be placed but the need is dictated by the patient’s symptoms and clinical
judgment. Multiple applications may be necessary and non-treatment time will be symptomatically
dictated.

                                              Summary:

                                               Days 1-5
    First device placement. Implantation in sites previously described on the symptomatic side .

                                            Days 5-10
                  Second device placement. Implantation at sites of the first device.

                                            Days 10-15
Third device placement. Evaluate and treat if the patient is still symptomatic. The number of devices
                         needed is determined by remaining symptoms.




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                                      Protocol for Vertigo

Vertigo can be one of the most debilitating conditions which can be effectively treated with the IHS
devices if there is a sympathetic component. The use of the devices are often secondary in nature
but if all pathological entities have been ruled out then it may be used as primary treatment. A
reduction in symptoms may be noticed within minutes. It is recommended that patients are treated
to “quiescence plus one” (usually two to three devices). All four leads should be implanted per
protocol (three ventral, one dorsal) for maximum neurovascular field effect. The first two devices
should be placed without a non-treatment period in between to break the sympathetic cycle. If
symptomatic reduction has been achieved then a two day non-treatment period is used before
placement of the third device.


                                             Summary:

                                             Days 1-5
                 First device placement. Implantation in sites previously described.

                                           Days 5-10
                 Second device placement. Implantation in sites of the first device.

                                            Days 10-15
Third device placement. Evaluate and treat if the patient is still symptomatic. The number of devices
                         needed is determined by remaining symptoms.




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Ginny Goldbach

From:                           joy.long@dragonslayerstrategies.com
Sent:                           Tuesday, September 22, 2015 4:41 PM
To:                             Ginny Goldbach
Cc:                             matthewmiller1025@gmail.com
Subject:                        Radiance Surgery Center - Neurostimulator Information - PA
Attachments:                    NeuroStim Dx Chart with DX Trial Info - 10-29-14.doc; Neurostimulator Pre Qual-Tx Plan
                                1-2015.docx; NeuroStim Narrative Letter of Medical Necessity 1-22-15.docx; NeuroStim
                                Sample Procedure Note 1-22-15.docx; NeuroStim Pre-Auth Sample Procedure
                                Description 1-22-15.docx; Radiance Surgery Ctr - ASC - Neurostimulator Information
                                9-21-15.docx


Hello! It was a pleasure to speak with you today. I am an independent coding/billing consultant that has
worked extensively with the NeuroStim procedure and I will be glad to assist your office!

Attached you will find:

   •   Coding/reimbursement memo
   •   Sample diagnoses chart
   •   Pre-authorization sample procedure description - should be included with pre-authorization request
       along with H/P, Office Notes, Treatment Plan, Letter of Medical Necessity and any other supporting
       documentation
   •   Sample Treatment Plan
   •   Narrative Letter of Medical Necessity Sample procedure note template - contains all of the information
       that should be included in your dictated procedure/operation report. Any format can be used, as long as
       the information on the sample is included.

 It is very important for a smooth start-up that your staff understand the best way to approach this procedure and
the most effective way to perform pre-authorization. Please review these materials and let me know what
questions you still have.

I lwill review the policies you asked about and get back with you. I look forward to working with your office!

Joy Long
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                        Anticipated Procedure Description for Pre-Authorization Purposes



Date:____________          Patient Name:____________________________________________________________

Performing Provider:__________________________________

Subjective: Discuss the patient reported symptoms here

Objective: Discuss the provider observation of patient condition and/or symptoms



Assessment: This is the area to discuss why provider believes this procedure is needed



Plan: This is the area where you should discuss if you plan to place more than one device. State that they
will be done as “X” # of staged procedures and include the timing of the additional procedures.

If you are using this as a Medicare diagnostic trial to assess patient suitability for permanent
implantation – discuss that here.



                                     Description of Neurostimulator Procedure

Procedure To Be Performed: : Mapping of patient’s unique trigeminal, Greater Occipital, Lesser Occipital, cranial
and peripheral nerve anatomy with subsequent placement of neurostimulator generator and percutaneous electrode
array implantation at verified nerve sites. Analysis of neurostimulator device operation

Anticipated Procedure Detail: The patient will be brought into the procedure room and placed on the procedure
table. The mastoid process and ear will cleaned and prepped in the usual fashion, using Prep & Stay electrode skin
preparation and Tac Gel electrically conductive gel. The neurostimultor battery and pulse generator will then
opened, activated and tested using the electric stylet. The neurostimulator is programmed to provide a stimulation
comprised of 0-10 HZ , impulse interval 1000 ms, monophasic impulse width 1 ms, ims/bipolar., changing polarity (
to avoid polarizing effects) , with an maximum amplitude of 3.2 V. A generator produces electrical stimulation
impulses which are transferred via an electrode/ needle array directly to branches of cranial and/or occipital nerves
and sympathetic fibers of the arterial branches.

Nerve mapping of both the ventral and dorsal aspects will be initiated. Optimal electrode array placement within the
neurovascular bundles will be ascertained by review of the patient’s trigeminal, greater occipital, lesser occipital,
arterial, peripheral and cranial nerve anatomy and verified by trans-illumination utilizing a specialized neurovascular
transilluminator conjoined with skin resistance measurements utilizing a nerve locating OHM stylus. Mapping will
ascertain maximal optimum implantation points facilitating electrode implantation into the neurovascular bundles
allowing for direct access and neural stimulation to cranial nerves V, VII, IX and X and the trigeminal nerves, as
well as branches of the lesser and greater occipital nerves originating from spinal nerves C2 and C3, thereby
facilitating access to the peripheral nerve bundle as well as the cranial nerve bundle. This is done in order to
effectively modulate pain signals. After careful mapping, a sterile pen will be used to mark the sites for electrode



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implantation. The targeted peripheral nerve distributions affecting the patient’s pain and related symptoms are
expected to be as follows: Ventral Aspect: Lesser Occipital nerve distribution, Trigeminal nerve (V3) distribution,
and Vagus nerve distribution. Dorsal Aspect: Spinal nerve distributions C2/C3 – Lesser Occipital nerve.

The neurostimulator generator will be placed in the appropriate position and secured with sterile dressings. A
single-pin electrical ground electrode will then be percutaneously inserted at the previously marked site. At the
other previously marked nerve sites, each four-pin electrode array will be percutaneously implanted. Placement will
be verified by reviewing modulation of the parasympathetic system throughout the body as evidenced by autonomic
monitors as well as other indices, e.g. heart rate, respiratory, SpO2, blood pressure and pain perception.
Implantation sites will be changed if indicated. All implantation sites will then be secured using sterile dressings.
No reprogramming will be conducted.




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                                              Sample NeuroStim Diagnosis List

   Following are sample diagnoses for which neurostimulator application may be ordered. It is typical with this
  procedure to code the symptom diagnosis as primary. The BOLDED Diagnoses have been the most commonly
   used symptom diagnoses. This is not an exhaustive list. There is a lack of payer diagnosis guidance for this
           procedure and payers regularly change their policies on payable procedures and diagnoses.

*There is not enough available information or history on use of the 6 4553 with mental disorders and how/whether payers will reimburse with
these diagnoses but from a clinical standpoint, treatment of these diagnoses using the cranial nerve may be reasonable.


 Category             Code        Description                                                 64555           64553          Medicare
                                                                                                                             Diagnostic
                                                                                                                              Trial Use
                      V14         Personal history of allergy to medicinal agents                 X               X                 X
                      V15         Other personal history presenting hazards to                    X               X                 X
                                  health (use for addiction history)
 Herpetic             053.12      Post Herpetic Trigeminal Neuralgia                              X               X                 X
 Disorders
                      053.13      Post Herpetic Polyneuropathy                                    X               X                 X
                      053.19      Herpes Zoster w/other nervous system                            X               X                 X
                                  complications
 Mental               300.00      Anxiety state, unspecified                                      X               *
 Disorders
                      300.01      Panic disorder without agoraphobia                              X               *
                      300.02      Generalized anxiety disorder                                    X               *
                      300.09      Other anxiety states                                            X               *
                      309.0       Adjustment disorder with depressed mood                         X               *
                      309.1       Prolonged depressive reaction                                   X               *
                      309.24      Adjustment disorder with anxiety                                X               *
                      309.28      Adjustment disorder with mixed anxiety &                        X               *
                                  depressed mood
                      309.4       Adjustment disorder with mixed disturbance of                   X               *
                                  emotions & conduct
                      309.81      Post- traumatic stress disorder                                 X               *
                      309.82      Adjustment reaction with physical symptoms                      X               *
                      311         Depressive disorder, not elsewhere classified                   X               *
 Disorder of          337.20      Reflex Sympathetic Dystrophy, Unspecified                       X               X                 X
 Autonomic
 Nervous
 System
                      337.21      Reflex Sympathetic Dystrophy of the upperlLimb                  X               X                 X
                      337.22      Reflex Sympathetic Dystrophy of the lower limb                  X               X                 X
                      337.29      Reflex Sympatheic Dystrophy of other specified                  X               X                 X
                                  limb
 Pain                 338.0       Central pain syndrome                                           X
                      338.11      Acute pain due to trauma                                        X
                      338.18      Other acute postoperative pain                                  X
                      338.19      Other acute pain                                                X
                      338.21      Chronic pain due to trauma                                      X
                      338.22      Chronic post-traumatic headache                                 X               X                 X
                      338.28      Other chronic postoperative pain                                X
                      338.29      Other chronic pain                                              X
                      338.3       Neoplasm related pain (acute) (chronic)                         X
                      338.4       Chronic pain syndrome                                           X
 Other headache       339.00      Cluster headache syndrome, unspecified                          X
 syndromes
                      339.02      Chronic cluster headache                                        X               X                 X
                      339.04      Chronic paroxysmal hemicrania                                   X
                      339.09      Other trigeminal autonomic cephalgias                           X
                      339.12      Chronic tension type headache                                   X


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                   339.21   Acute post-traumatic headache                        X
                   339.22   Chronic post-traumatic headache                      X   X   X
                   339.41   Hemicrania continua                                  X
                   339.42   New daily persistent headache                        X
                   339.44   Other complicated headache syndrome                  X   X   X
 Other disorders   346.00   Migraine with aura, without mention of               X   X
 of the central             intractable migraine without mention of status
 nervous system             migrainosus
                   346.01   Migraine with aura; with intractable migraine, so    X   X
                            stated, without mention of status migrainosus
                   346.02   Migraine with aura; without mention of               X   X
                            intractable migraine with status migrainosus
                   346.03   Migraine with aura; with intractable migraine, so    X   X   X
                            stated, with status migrainosus
                   346.10   Migraine without aura; without mention of            X   X
                            intractable migraine without mention of status
                            migrainosus
                   346.11   Migraine without aura; with intractable migraine,    X   X   X
                            so stated, without mention of status migrainosus
                   346.12   Migraine without aura; without mention of            X   X
                            intractable migraine with status migrainosus
                   346.13   Migraine without aura; with intractable migraine,    X   X   X
                            so stated, with status migrainosus
                   346.20   Variants of migraine, not elsewhere classified;      X   X
                            without mention of intractable migraine without
                            mention of status migrainosus
                   346.21   Variants of migraine, not elsewhere classified;      X   X   X
                            with intractable migraine, so stated, without
                            mention of status migrainosus
                   346.22   Variants of migraine, not elsewhere classified;      X   X
                            without mention of intractable migraine with
                            status migrainosus
                   346.23   Variants of migraine, not elsewhere classified;      X   X   X
                            with intractable migraine, so stated, with status
                            migrainosu
                   346.30   Hemiplegic migraine; without mention of              X   X
                            intractable migraine without mention of status
                            migrainosus
                   346.31   Hemiplegic migraine; with intractable migraine,      X   X
                            so stated, without mention of status migrainosus
                   346.32   Hemiplegic migraine; without mention of              X   X
                            intractable migraine with status migrainosus
                   346.33   Hemiplegic migraine; with intractable migraine,      X   X
                            so stated, with status migrainosus
                   346.50   Persistent migraine aura without cerebral            X   X
                            infarction; without mention of intractable
                            migraine without mention of status migrainosus
                   346.51   Persistent migraine aura without cerebral            X   X
                            infarction; with intractable migraine, so stated,
                            without mention of status migrainosus
                   346.52   Persistent migraine aura without cerebral            X   X
                            infarction; without mention of intractable
                            migraine with status migrainosus
                   346.53   Persistent migraine aura without cerebral            X   X
                            infarction; with intractable migraine, so stated,
                            with status migrainosus
                   346.60   Persistent migraine aura with cerebral infarction;   X   X
                            without mention of intractable migraine without
                            mention of status migrainosus
                   346.61   Persistent migraine aura with cerebral infarction;   X   X
                            with intractable migraine, so stated, without
                            mention of status migrainosus



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                    346.62   Persistent migraine aura with cerebral infarction;   X   X
                             without mention of intractable migraine with
                             status migrainosus
                    346.63   Persistent migraine aura with cerebral infarction;   X   X
                             with intractable migraine, so stated, with status
                             migrainosus
                    346.70   Chronic migraine without aura; without mention       X   X
                             of intractable migraine without mention of status
                             migrainosus
                    346.71   Chronic migraine without aura; with intractable      X   X
                             migraine, so stated, without mention of status
                             migrainosus
                    346.72   Chronic migraine without aura; without mention       X   X
                             of intractable migraine with status migrainosus
                    346.73   Chronic migraine without aura; with intractable      X   X
                             migraine, so stated, with status migrainosus
                    346.80   Other forms of migraine; without mention of          X   X
                             intractable migraine without mention of status
                             migrainosus
                    346.81   Other forms of migraine; with intractable            X   X
                             migraine, so stated, without mention of status
                             migrainosus
                    346.82   Other forms of migraine; without mention of          X   X
                             intractable migraine with status migrainosus
                    346.83   Other forms of migraine; with intractable            X   X
                             migraine, so stated, with status migrainosus
                    346.90   Migraine, unspecified, without mention of            X   X
                             intractable migraine without mention of status
                             migrainosus
                    346.91   Migraine, unspecified, with intractable migraine,    X   X
                             so stated, without mention of status migrainosus
                    346.92   Migraine, unspecified, without mention of            X   X
                             intractable migraine with status migrainosus
                    346.93   Migraine, unspecified, with intractable migraine,    X   X
                             so stated, with status migrainosus
 Disorders of the   350.1    Trigeminal neuralgia                                 X   X   X
 Peripheral
 Nervous
 System
                    350.2    Atypical face pain                                   X   X
                    350.8    Other specified trigeminal nerve disorders           X   X
                    350.9    Trigeminal nerve disorder, unspecified               X   X
                    353.0    Brachial plexus lesions                              X
                    353.1    Lumbosacral plexus lesions                           X   X   X
                    353.2    Cervical root lesions, not elsewhere classified      X   X   X
                    353.3    Thoracic root lesions, not elsewhere classified      X   X   X
                    353.4    Lumbosacral root lesions, not elsewhere              X   X   X
                             classified
                    353.5    Neuralgic amyotrophy                                 X
                    353.6    Phantom limb (syndrome)                              X
                    353.8    Other nerve root & plexus disorders                  X   X   X
                    353.9    Unspecified nerve root & plexus disorder             X   X   X
                    354.0    Carpal tunnel syndrome                               X
                    354.1    Other lesion of median nerve                         X
                    354.2    Lesion of ulnar nerve                                X
                    354.3    Lesion of radial nerve                               X
                    354.4    Causalgia of upper limb                              X   X   X
                    354.5    Mononeuritis multiplex                               X
                    354.8    Other mononeuritis of upper limb                     X
                    354.9    Mononeuritis of upper limb, unspecified              X
                    355.0    Lesion of sciatic nerve                              X
                    355.1    Meralgia paresthetica                                X



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                   355.2    Other lesion of femoral nerve                      X
                   355.3    Lesion of popliteal nerve                          X
                   355.4    Lesion of medial popliteal nerve                   X
                   355.5    Tarsal tunnel syndrome                             X
                   355.6    Lesion of plantar nerve                            X
                   355.71   Causalgia of lower limb                            X   X   X
                   355.79   Other mononeuritis of lower limb                   X
                   355.8    Mononeuritis of lower limb, unspecified            X
                   355.9    Mononeuritis of unspecified site                   X   X   X
                   356.0    Hereditary peripheral neuropathy                   X
                   356.1    Peroneal muscular atrophy                          X
                   356.2    Hereditary sensory neuropathy                      X
                   356.3    Refsum’s disase                                    X
                   356.4    Idiopathic progressive polyneuropathy              X
                   356.8    Other specified idiopathic peripheral neuropathy   X
                   356.9    Unspecified hereditary & idiopathic peripheral     X
                            neuropathy
                   357.0    Acute infective polyneuritis                       X
                   357.1    Polyneuropathy in collagen vascular disease        X
                   357.2    Polyneuropathy in diabetes                         X
                   357.3    Polyneuropathy in malignant disease                X
                   357.4    Polyneuropathy in other diseases classified        X
                            elsewhere
                   357.5    Alcoholic polyneuropathy                           X
                   357.6    Polyneuropathy due to drugs                        X
                   357.7    Polyneuropathy due to other toxic agents           X
                   357.81   Chronic inflammatory demvelinating polyneuritis    X
                   357.82   Critical illness polyneuropathy                    X
                   357.89   Other inflammatory and toxic neuropathy            X
                   357.9    Unspecified inflammatory & toxic neuropathy        X
 Dentofacial       524.60   Temporomandibular joint disorders; unspecified     X
 anomalies,
 including
 malocclusion
                   524.61   Temporomandibular joint disorders; adhesions &     X
                            ankytlosis (bony or fibrous)
                   524.62   Arthralgia of temporomandibular joint              X
                   524.63   Articular disc disorder (reducing or non-          X
                            reducing)
                   524.69   Other specified temporomandibular joint            X
                            disorders
 Diseases of the   625.70   Vulvodynia , unspecified                           X
 Genitourinary
 System
                   625.71   Vulvar vestibulitis                                X
                   625.79   Other vulvodynia                                   X
 Infections of     681.00   Cellulitis & abscess of finger; unspecified        X
 skin and
 subcutaneous
 tissue
                   681.01   Cellulitis & abscess of finger; felon              X
                   681.02   Onychia and paronychia of finger                   X
                   681.9    Cellulitis & abscess of unspecified digit          X
 Chronic ulcer     707.00   Pressure ulcer; unspecified site                   X
 of skin
                   707.01   Chronic ulcer of skin; elbow                       X
                   707.02   Chronic ulcer of skin; upper back                  X
                   707.03   Chronic ulcer of skin; lower back                  X
                   707.04   Chronic ulcer of skin; hip                         X
                   707.05   Chronic ulcer of skin; buttock                     X
                   707.06   Chronic ulcer of skin; ankle                       X



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                   707.07   Chronic ulcer of skin; heel                       X
                   707.09   Chronic ulcer of skin; other site                 X
                   707.10   Ulcer of lower limbs, except decubitus ulcer;     X
                            Ulcer of lower limb, unspecified
                   707.11   Ulcer of thigh                                    X
                   707.12   Ulcer of calf                                     X
                   707.13   Ulcer of ankle                                    X
                   707.14   Ulcer of heel and midfoot                         X
                   707.15   Ulcer of other part of foot                       X
                   707.19   Ulcer of other part of lower limb                 X
                   707.20   Pressure ulcer, unspecified stage                 X
                   707.21   Pressure ulcer, stage I                           X
                   707.22   Pressure ulcer, stage II                          X
                   707.23   Pressure ulcer, stage III                         X

                   707.24   Pressure ulcer, stage IV                          X
                   707.25   Pressure ulcer, unstageable                       X
                   707.8    Chronic ulcer of other specified sites            X
                   707.9    Chronic ulcer of unspecified site                 X

 Diffuse disease   710.0    Systemic lupus erythematosus                      X
 of connective
 tissue
                   710.1    Systemic sclerosis                                X
                   710.8    Other specified diffuse diseases of connective    X
                            tissue
                   710.9    Unspecified diffuse connective tissue disease     X
 Ankylosing        720.0    Ankylosing spondylitis                            X
 spondylitis and
 other
 inflammatory
 spondylopathies
                   720.1    Ankylosing spondylitis                            X
                   720.2    Sacroiliitis, not elsewhere classified            X
                   720.81   Inflammatory spondylopathies in diseases          X
                            classified elsewhere
                   720.89   Other inflammatory spondylopathies                X
                   720.9    Unspecified inflammatory spondylopathy            X
 Cervical          721.0    Cervical spondylosis without myelopathy           X
 spondylosis
 without
 myelopathy
                   721.1    Cervical spondylosis with myelopathy              X
                   721.2    Thoracic spondylosis without myelopathy           X
                   721.3    Lumbosacral spondylosis without myelopathy        X
                   721.41   Spondylosis with myelopathy, thoracic region      X
                   721.42   Spondylosis with myelopathy, lumbar region        X
                   721.5    Kissing spine                                     X
                   721.6    Ankylosing vertebral hyperostosis                 X
                   721.7    Traumatic spondylopathy                           X
                   721.8    Other allied disorders of spine                   X
                   721.90   Spondylosis of unspecified site without mention   X
                            of myelopathy
                   721.91   Spondylosis of unspecified site with mention of   X
                            myelopathy
 Intervertebral    722.0    Displacement of cervical intervertebral disc      X
 disc disorders             without myelopathy
                   722.10   Displacement of lumbar intervertebral disc        X
                            without myelopathy
                   722.11   Displacement of thoracic intervertebral disc      X
                            without myelopathy


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                   722.2    Displacement of intervertebral disc, site            X
                            unspecified, without myelopathy
                   722.30   Schmorl's nodes unspecified region                   X
                   722.31   Schmorl's nodes thoracic region                      X
                   722.32   Schmorl’s nodes lumbar region                        X
                   722.39   Schmorl’s nodes other region                         X
                   722.4    Degeneration of cervical intervertebral disc         X
                   722.51   Degeneration of thoracic or thoracolumbar            X
                            intervertebral disc
                   722.52   Degeneration of lumbar or lumbosacral                X
                            intervertebral disc
                   722.6    Degeneration of intervertebral disc, site            X
                            unspecified
                   722.70   Intervertebral disc disorder with myelopathy         X
                            unspecified region
                   722.71   Intervertebral disc disorder with myelopathy         X
                            cervical region
                   722.72   Intervertebral disc disorder with myelopathy         X
                            thoracic region
                   722.73   Intervertebral disc disorder with myelopathy         X
                            lumbar region
                   722.80   Postlaminectomy syndrome unspecified region          X
                   722.81   Postlaminectomy syndrome cervical region             X
                   722.82   Postlaminectomy syndrome thoracic region             X
                   722.83   Postlaminectomy syndrome lumbar region               X
                   722.90   Other and unspecified disc disorder unspecified      X
                            region
                   722.91   Other and unspecified disc disorder cervical         X
                            region
                   722.92   Other and unspecified disc disorder thoracic         X
                            region
                   722.93   Other and unspecified disc disorder lumbar           X
                            region
 Other disorders   723.0    Spinal stenosis in cervical region                   X
 of cervical
 region
                   723.1    Cervicalgia                                          X
                   723.2    Cervicocranial syndrome                              X
                   723.3    Cervicobrachial syndrome (diffuse)                   X
                   723.4    Brachial neuritis or radiculitis NOS                 X
                   723.5    Torticollis, unspecified                             X
                   723.6    Panniculitis specified as affecting neck             X
                   723.7    Ossification of posterior longitudinal ligament in   X
                            cervical region
                   723.8    Other syndromes affecting cervical region            X
                   723.9    Unspecified musculoskeletal disorders and            X
                            symptoms referable to neck
 Other &           724.00   Spinal stenosis, unspecified region                  X
 unspecified
 disorders of
 back
                   724.01   Spinal stenosis, thoracic region                     X
                   724.02   Spinal stenosis, lumbar region, without              X
                            neurogenic claudication
                   724.03   Spinal stenosis, lumbar region, with neurogenic      X
                            claudication
                   724.09   Spinal stenosis, other region                        X
                   724.1    Pain in thoracic spine                               X
                   724.2    Lumbago                                              X
                   724.3    Sciatic                                              X
                   724.4    Thoracic or lumbosacral neuritis or radiculitis,     X
                            unspecified


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                   724.5    Backache, unspecified                         X
                   724.6    Disorders of sacrum
                   724.70   Unspecified disorder of coccyx
                   724.71   Hypermobility of coccyx
                   724.79   Other disorders of coccyx
 Other disorders   729.5    Pain in limb                                  X
 of soft tissue
                   729.0    Rheumatism, unspecified and fibrositis        X
                   729.1    Myalgia and myositis, unspecified             X
                   729.7    Nontraumatic compartment syndrome             X


                   729.71   Nontraumatic compartment syndrome, of upper   X
                            extemity
                   729.72   Nontraumatic compartment syndrome, of lower   X
                            extemity
                   729.73   Nontraumatic compartment syndrome, of         X
                            abdomen
                   729.79   Nontraumatic compartment syndrome, of other   X
                            sites
 General           780.71   Chronic Fatigue Syndrome                      X
 symptoms
                   780.96   Generalized Pain                              X
 Symptoms          782.0    Disturbance of skin sensation                 X
 involving skin
 and other
 integumentary
 tissue
 Injury &          876.0    Open wound of back, without mention of        X
 Poisoning                  complication


                   876.1    Open wound of back, complicated               X
                   877.0    Open wound of buttock, without mention of     X
                            complication
                   877.1    Open wound of buttock, complicated            X
                   880-     Multiple open wounds & amputations of upper   X
                   887      limb
                   890-     Multiple open wounds & amputations of lower   X
                   897      limp




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Date:



Payer Info

RE:      Patient:
         DOB:
         Member ID:
         Diagnoses:

         Authorization – Neurostimulator Procedure

To Whom It May Concern;

The listed patient is being treated for the above listed diagnoses. The patient has experienced list symptoms here for
approximately list time frame here. The patient reports a pain level of list pain level here and you can also include
% of time (i.e. patient reports they are at an 8 on a 1-10 pain scale 75% of the time). The patient’s condition affects
their quality of life and ability to list here any way that the patient’s ability to function is affected (i.e.: can’t work,
cannot participate in their normal extra-curricular activities – list them, can’t perform their normal housekeeping
activities, etc.). The patient has previously been treated with list any previous treatments tried here. Make sure to
include any medication treatment, surgery, and/or describe any physical therapy or other course of treatment. Also
list any medication treatment and/or any history or substance abuse or allergies that affect use of medications for
symptom treatment. The patient has failed to obtain adequate improvement with previous treatments.

Based on the patient’s condition and history, I believe that a course of treatment utilizing neurostimulators with
percutaneously implanted electrodes is medically necessary and provides the best chance of affecting improvement
for the patient. I recommend beginning with ____ staged treatments, over the course of ____ days of continuous
stimulation of targeted nerves in an effort to reduce the patient’s pain levels, reduce inflammation, control other
symptoms, and improve functional levels. The neurostimulator treatment will be used as an adjunct modality with
the patient’s current pharmacological and medical restoration treatment program but we would anticipate the ability
to decrease that pharmacological and medical restoration treatment as the neurostimulator treatment affects the
patient.

The neurostimulator technique that we are using with this patient is clearly delineated from acupuncture and other
neurostimulator treatments. The neurostimulator is programmed to provide a stimulation comprised of 0-10 HZ ,
impulse interval 1000 ms, monophasic impulse width 1 ms, ims/bipolar., changing polarity ( to avoid polarizing
effects) , with an maximum amplitude of 3.2 V. A neurostimulator generator placed on the mastoid produces
electrical stimulation impulses which are transferred via a needle electrode array directly to branches of cranial,
trigeminal, greater occipital, and lesser occipital thereby accessing the peripheral nerves as well as the sympathetic
fibers of the arterial branches. The neurostimulator is programmed to run for two hours on and two hours off for
a 120 hr cycle to reduce the risk of adaptation or tolerance. This allows for direct continuous, intermittent neural
stimulation for up to five days while allowing the patient to remain ambulatory during the treatment of both acute
and chronic pain. Other percutaneous electrical neural stimulation methods indirectly stimulate in only 15, 30-45
minute applications applied twice per week over the course of several weeks. An increase in analgesia is noted by
the longer duration of various applications. Each electrode is implanted according to verifications of the patient’s
arterial, peripheral and cranial nerve anatomy. The precise implantation of the array is dependent upon each
patient’s medical condition, symptomology and unique neurovascular anatomy. The precise mapping of targeted
nerves and appropriate percutaneous implantation of electrodes are assessed utilizing the specific neurovascular
transillumination technique. Utilization of this technique is unique and is essential to help verify the most optimal
electrode implantation into the underlying targeted peripheral, cranial, trigeminal, greater occipital and lesser
occipital neurovascular bundles. The unique nerve mapping techniques and direct stimulation of the neurovascular
complexes acts at the mid-brain, trigeminal complex, and spinal cord affecting descending and ascending inhibition
of neuro-matrix alteration and thus clearly separates the use of NSS from acupuncture, electro-acupuncture, certain
other surgically implantable nerve stimulators(such as spinal cord stimulators) and TENS. And so, it is important to
re-iterate that with the implementation of the above mentioned techniques, the use of the NSS modality is NOT



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considered acupuncture or electro-acupuncture as meridian points, acu-points, reflexology points and/or dermatomes
are NOT targeted.

The neurostimulator electrodes will be placed with three four-pin electrode arrays directly accessing specific
neurovascular nerve bundles. The neurostimulators are safe, effective, and non-narcotic. The device administers
continuous Autonomic Nervous System and Vascular stimulation performed by electrical pulses emitted through
these selectively positioned percutaneously implanted electrodes. Each of the four pins comprising each array
produces a neuro-modulating, three dimensional signal in the pre-programmed manner. The signal must be
considered not only in a singular fashion but also in multiple patterns as energy impulses overlap three
dimensionally. From a geometric viewpoint there are over 50 unique stimulation patterns. In conjunction with
dissimilar tissues, tissue interfaces, and tissue densities, intra-cellular fluids and differing osmotic gradients, the
resulting neuro-modulating signals provide an almost infinite distribution pattern. The array and pin design allows
the neuro-modulating signals produced by the generator to be distributed in a fractal-like manner. This directly
addresses CSS (Central Sensitization) and “resets” the sympathetically mediated pain patterns. The neurostimulator
stimulates the patient’s pain modulation systems and leads to the release of neurotransmitters such as endogenous
endorphins (opioids), helps to normalize the protein expression profile of the hypothalamus caused by neuropathic
pain and to exert neuroprotective effects on the dopaminergic neurons. In addition, nerve stimulation has been an
approved treatment for many chronic pain conditions, which include widespread pain, by stimulating targeted
peripheral and cranial nerves which results in increased endorphin release and concomitant reduction in sympathetic
tone, which has an effect on gait mechanisms of chronic pain. The stimulated endorphins result in a reduction of a
variety of symptoms and in an increase in blood flow into affected tissues of the affected areas. This increased
vascular perfusion promotes wound healing when a wound is present, speeds healing time, helps to reduce localized
inflammation and swelling, and decreases pain. An added benefit is that this treatment typically helps to reduce
narcotic consumption and need for other medications or treatments used to address pain.

Accepted clinical protocol is to use three single-use/disposable neurostimulator devices in a row over a period of
twelve days, with no break, followed by another treatment after seven days of no treatment; four initial treatments
over the course of 30 days. When a residual reduction in symptoms is found there is an extension of non-treatment
time between each application. The symptom reduction is often cumulative and residual. The majority of patients
may require 6-9 separate devices/neurostimulator treatments to reach quiescence. When treating chronic pain
conditions, suggested protocol is to initially implement four treatments (each treatment requires a separate
disposable, single-use neurostimulator device). This five days on for each treatment with evaluation of whether a
rest time between treatments is needed. Then, continue with three sets of three subsequent treatments with a week
between each set to obtain optimal results. If maximum medical/clinical improvement of symptoms is not achieved,
continue with additional treatments extending the rest time between treatments until the patient achieves three weeks
with no additional symptom improvement. Maximum clinical improvement is considered three weeks without
neurostimulator treatment without change in symptoms. If symptoms return or increase within the three week rest
period then additional treatments may be required. In acute situations such as surgical procedures, a pre-treatment
and post-treatment use of the neurostimulator device (2 total treatments) to reduce sympathetic stimulation and
increase endorphin production is suggested to minimize post-operative pain, edema, swelling, and to reduce the need
for opioid and other pain medications.

I believe that this treatment is medically necessary to affect the fullest recovery from the above listed conditions
experienced by this patient, allowing them to participate in their normal work, home, and extra-curricular activities.
Therefore, I am requesting authorization for initial treatment of four staged procedures over a course of 30 days.
Questions may be directed to my attention at insert preferred contact info here.

Respectfully,




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Date:____________          Patient Name:____________________________________________________________

Procedure Time In:_______      Time Out:________ Performing Provider:__________________________________

Subjective: Include here the patients’ complaints, statement of level of pain and other symptoms, ADL restrictions,
etc.

Objective: Include here observations about the current patient status



Assessment: Include here diagnosis information and other reasoning for performance of the procedure(s). Make
sure to include any information about previous treatments tried, patient substance abuse history, or drug allergies
that make pain control through medication problematic.



Plan: This is the area where you should discuss if you plan to place more than one device. State that they
will be done as “X” # of staged procedures and include the timing of the additional procedures.

If you are using this as a Medicare diagnostic trial to assess patient suitability for permanent
implantation – discuss that here.



Procedure: Mapping of patient’s unique trigeminal, Greater Occipital, Lesser Occipital, cranial and peripheral
nerve anatomy with subsequent placement of neurostimulator generator and percutaneous electrode array
implantation at verified nerve sites. Analysis of neurostimulator device operation.

The patient was brought into the procedure room and placed on the procedure table. Appropriate monitors were
placed and vital signs were noted. The patient was placed in the supine position with the head turned to the side to
gain full exposure to the lateral aspect of the neck, mastoid process, and potential implantation sites. The (left/right)
mastoid process and potential implantation sites were cleaned and prepped in the usual fashion, using Prep & Stay
electrode skin preparation and Tac Gel electrically conductive gel. The neurostimultor battery and pulse generator
were then opened, activated and tested. The neurostimulator is programmed to provide a stimulation comprised
of 0-10 HZ , impulse interval 1000 ms, monophasic impulse width 1 ms, ims/bipolar., changing polarity ( to avoid
polarizing effects) , with an maximum amplitude of 3.2 V. A generator produces electrical stimulation impulses
which are transferred via an electrode/ needle array directly to branches of cranial and/or occipital nerves and
sympathetic fibers of the arterial branches.

Nerve mapping of both the ventral and dorsal aspects was initiated. Optimal electrode array placement within the
neurovascular bundles was then ascertained by review of the patient’s trigeminal, greater occipital, lesser occipital,
arterial, peripheral and cranial nerve anatomy and verified by trans-illumination utilizing a specialized neurovascular
transilluminator conjoined with skin resistance measurements utilizing a nerve locating OHM stylus. Mapping was
to ascertain maximal optimum implantation points facilitating electrode implantation into the neurovascular bundles
allowing for direct access and neural stimulation to cranial nerves V, VII, IX and X and the trigeminal nerves, as
well as branches of the lesser and greater occipital nerves originating from spinal nerves C2 and C3, thereby
facilitating access to the peripheral nerve bundle as well as the cranial nerve bundle. This is done in order to
effectively modulate pain signals. After careful mapping, a sterile pen was used to mark the sites for electrode
implantation. The targeted peripheral nerve distributions affecting the patient’s pain and related symptoms are as



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follows: Ventral Aspect: Lesser Occipital nerve distribution, Trigeminal nerve (V3) distribution, and Vagus nerve
distribution. Dorsal Aspect: Spinal nerve distributions C2/C3 – Lesser Occipital nerve.

The neurostimulator generator was placed in the appropriate position and secured with sterile dressings. A single-
pin electrical ground electrode was then percutaneously inserted at the previously marked site. At the other
previously marked nerve sites, each four-pin electrode array was percutaneously implanted. Placement was then
verified by reviewing modulation of the parasympathetic system throughout the body as evidenced by autonomic
monitors as well as other indices, e.g. heart rate, respiratory, SpO2, blood pressure and pain perception. No change
in implantation sites was indicated. All implantation sites were secured using sterile dressings. No reprogramming
was conducted. No intra-operative complications were experienced.

The patient confirmed pulsation and activation of the nerve stimulator prior to discharge. Post-operative care
instructions were given to and discussed with the patient and appropriate others. Furthermore, the protocol for
further staged procedures, as part of the recommended and authorized treatment for this patient was discussed and
the next implantation date was determined. The patient was released without any side effects or complications.



_______________________________________________________                                  __________________
Physician/NP/PA Signature                                                                Date




Printed Physician/NP/PA Name_____________________________________________




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                                    Neurostimulator Pre-Qualification and Treatment Plan

Patient Name:_______________________________ File #:__________ Date:________________ Initial  Revised

Diagnoses: 1___________ 2___________ 3___________ 4___________ 5___________ 6___________ 7___________

Onset Date of Primary DX: _______________________

Failure of Conservative Treatment: _____Yes         _____No     Notes:___________________________________________________

Modalities, Type & Duration, if any: ____________________________________________________________________________

Is further surgical intervention warranted: ____Yes        ____No     Notes:______________________________________________

Has Psychological Eval Been Recommended or Performed: ____Yes             ____No       Notes:_________________________________

Complicating Factors:
Diabetes                   Aneurisms            Anti-Coagulation Tx           Psoriasis/Auricular    Recent Heart Attack
Blood Pressure             Spinal Stenosis      Under15 yrs/age               Skin Allergies         Pregnant
Overweight                 Bell’s Palsy         Renal Insufficiencies         Implanted Electrical Devices
Severe Obesity             Other Heart_________________________                Other_________________________

ADL Deficits:
Standing_______            Walking_______            Dressing_______          Lifting________
Housework______            Bathing________           Sitting________          Other______________________________

Notes:__________________________________________________________________________________________________

Treatment Goals – Short Term (aeb=as evidenced by):
   Decrease Pain/Inflammation by ____% w/I ____ visits       Decrease % of time in pain by ____% w/i _____visits
   Increase ROM to _______________area by _____% w/i _____visits   _______________area by _____% w/i _____visits
   Increase Sleep by:______________________________________________________________________________________
   Reduce Narcotics by:____________________________________________________________________________________
   Improve ADLs aeb______________________________________________________________________________________
   Other_________________________________________________________________________________________________

Long Term Treatment Goals (aeb=as evidenced by):
  100% or _____% pain reduction of affected area(s) Restore 100% or _____% of normal ROM of the affected area(s)
  Restore 100% or _____% of following ADLs: sleep lift sit stand walk work household chores
  Other__________________________________________________________________________________________________

    Contraindications to Neurostimulator: No Known Contraindications                 Contraindications as follow:
    ___Epilepsy or Hx of Seizures   ___Pacemaker/Irregular Heart Rhythm     ___Recent Transplant         ___Orthostatic Hypotension


Type of Care: Acute Pain Management Chronic Pain Management                    Post-Operative Other____________________

Frequency of Care:

Every 6th day for ___ x’s          1x/week for ___weeks          1x in 2 weeks     1x in 3 weeks          PRN

  Initial estimate # staged neurostimulator procedures_________                      Re-evaluation Date:_____________



__________________________________________________________________                            _______________            ______________

Ordering Provider                                                                                   Date                   Revision Date

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                                                             joy.long@dragonslayerstrategeis.com
                                                             www.dragonslayerstrategies.com




Memo
            Date:     9//21/15

            To:      Radiance Surgery Center

            From:     Joy Long
            Re:       General Information on Neurostimulator Coding/Reimbursement



            Hello! Matt Miller asked that I work with you to provide information on the coding and reimbursement of the NeuroStim
            neurostimulator procedure. DragonSlayer Strategies is pleased to be an independent consultant recommended by your distributor!
            Below is the information that I send to every new account; it is lengthy but all of it is important! We will be glad to assist your
            office so let us know if you have any questions!

            The neurostimulator device is a non-programmable neurostimulator used for both therapeutic and diagnostic purposes (see
            Medicare Information below). The generator is transcutaneously placed on the mastoid process and the twelve (three lead – 4 pin)
            electrodes are percutaneous implanted in the appropriate nerve bundle within the cranial or peripheral nerve bundles that traverse
            through the auricular area. It has a five day battery life. On the sixth day, the device is removed either by the patient or the provider.
            There are a variety of protocols for when subsequent devices would be placed, dependent on the patients’ condition. Some patients
            may not receive multiple devices. In other cases, providers may place another stimulator on the fifth day; others may take a break of
            varying time before placing the next device. Most patients commonly receive 3-6 applications. Your representative will talk with
            you about the protocols for best patient efficacy.

            MDs, DOs, PAs, NPs, and CRNAs are typically reimbursed for performance of the procedure. DCs should check their state Scope
            of Practice as many states do not allow chiropractors to puncture the skin. Historically, podiatrists struggle to receive in-office
            reimbursement for electrodes implanted in the ear, even though treating a foot condition.

            As I am sure that you are aware, ICD, CPT, and HCPC coding guidance instructs to code to the highest level of specificity. In
            addition, providers are only to code and bill those services that their documentation supports. Therefore, documentation of the
            diagnoses and all decision making leading up to the implantation of the neurostimulator electrodes, and documentation of the
            procedure and follow-up are critical to supporting the coding a provider chooses to use. It is very important that the documentation
            clearly describes the nerves being targeted.

            Procedure Coding

            The coding suggestions include the device, implantation of the device, potential testing, and miscellaneous supplies. Potential
            coding is as follows:

            Either 64555 or 64553 – you would not typically bill these together

            64555 – Percutaneous implantation of neurostimulator electrode array(s); peripheral nerve – It is important to note that this code
            has a 10 day global period. The day of placement is not counted. This means that the global period goes through day 11 and the
            procedure cannot be billed again until the 12th day. Payers will typically pay this code only one time during the global period, unless
            it is part of a staged series of procedures.

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       Can this code ever be billed for a subsequent procedure during the global period? Yes. However, the providers’ documentation must
       clearly show that the provider plans “x” number of staged procedures and that additional procedures (staged) will be done during the
       global period. IF documentation clearly states this, Modifier -58 (staged procedure, can be used) when the procedure is done a second
       time within the global period. When using Modifier -58, a new global period begins.

                 If documentation does not address that subsequent procedures will be done within the global period, Modifier -58 should not be
                 used and the global period will apply. Your facility will need to make sure documentation shows intent to conduct staged
                 procedures within the global period OR you will have to determine how you will bill the payers or the patients if the ordering
                 provider is using a protocol that requires subsequent neurostimulators to be placed before the 12th day but documentation does
                 not reflect staged procedures. If the ordering provider is using a protocol of placing subsequent neurostimulators within this
                 global period but documentation does not support this, you would not bill the procedure (see example below).

OR

64553 – Percutaneous implantation of neurostimulator electrode array(s); cranial nerve – Note: This code has a much more
narrow set of appropriate diagnoses (see Diagnoses Chart) and is seldom done in an ASC setting. Most doctors tell me that they
are seldom targeting a cranial nerve. As with the above code, this code has a 10 day global period and all of the above information
applies.

  Note for CPT 64555 and CPT 64553: There are differing opinions about “implantation” in these definitions. The
  neurostimulator generator is not implantable; the electrodes are. Some people, including Medicare personnel I have
  discussed this with, consider the needle electrode arrays of the device to be percutaneously implanted when being
  placed directly into certain nerves in either the cranial or peripheral nerve bundles. The code definition says
  “percutaneous implantation of neurostimulator electrodes”, which is what I believe you are doing when placing the
  device. There are others that disagree and believe that there must be an incision made for the procedure to be
  “implantation”. The guidance addresses devices that are “implants” but not electrodes that can be implanted without
  an incision. Your office will have to decide which they agree with. If you do not believe the electrodes are implanted,
  use CPT 64999 – Unlisted procedure; nervous system.



OR

CPT 64999 – Unlisted procedure; nervous system. – this is one of the code choices for this neurostimulator procedure. When
using CPT 64999, you will be asked to submit medical records, and will likely also be asked to submit an invoice copy. When
using CPT 64999 you should still list the equipment used but it is not necessary to charge a separate price because equipment
reimbursement will be rolled into the procedure reimbursement.

       Note: If you decide to use this code, you might consider talking with the payers that you are contracted with to 1) determine
       that your contract doesn’t exclude any “xx999” codes; and 2) determine whether they will review the procedure and your
       documentation and approve it so that you do not have to submit records for each claim.


Device Coding

You will choose from one of the following codes for the device. For ASC procedures, payment for the device is bundled into the
procedure regardless of the procedure code you choose to use. Therefore, no separate charge is needed for the device. This is also
the case when using CPT 64999 for the procedure.

L8680 – implantable neurostimulator electrode (with any number of contact points) each.

OR

E1399 – durable medical equipment, misc – This is a miscellaneous code and will not show an allowable amount on most payer fee
schedules. The payer may ask for a copy of the invoice and/or medical records but don’t typically in the ASC setting.



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OR

L8699 – prosthetic implant, not otherwise specified – This code has been recommended by some Medicare carriers as a replacement
code for L8680. This is a miscellaneous code and will not show an allowable amount on most payer fee schedules. The payer may
ask for a copy of the invoice and/or medical records but don’t typically in the ASC setting.

        .

Additional Information for Procedures Performed in an ASC or other Outpatient Hospital Setting

If the doctor chooses to perform any procedure in an Ambulatory Surgical Center or outpatient hospital setting, the documentation
should clinically support why it is being performed in an ASC/outpatient hospital setting versus being done in the office. The doctor
must be able to support, clinically, where they decide to do these procedures. One of the services that I offer is a review of provider
documentation to determine if it is clearly supporting the procedures being performed and the coding the provider is choosing to
use. I am providing some sample codes below. However, you must code per your documentation and coding training.

For those procedures that are performed, in conjunction with other procedures, at the ASC or in an outpatient hospital setting, you
will need to consider the timing of when the neurostimulator is placed. Some ASCs/outpatient surgical centers have a clinic and will
choose to perform the neurostimulator procedure in the clinic rather than the surgery center. We would be glad to discuss the
pros/cons of these billing scenarios with you. In general, you must have medical necessity at the time the procedure is performed.
In addition, there are some reimbursement considerations.

        Pre-Op –Medicare and other payers have set a precedent for allowing pre-operative treatment with a post-operative pain
        diagnoses. If you use only your standard diagnoses, or a chronic pain diagnosis, the question becomes why you then
        immediately performed surgery rather than waiting to see the effect the neurostimulator had, potentially eliminating the
        need for surgery. Therefore, inclusion of the post-op pain diagnoses as the primary diagnoses for this procedure is
        important. As a preparation for surgery, it might be used pre-operatively for those with a low tolerance to anesthesia or
        medications, or with a history of drug abuse, or with drug allergies but the diagnoses should then definitely include the V14
        – Personal History of allergy to medicinal agents or V15 – Other personal history presenting hazard to health, and the
        documentation must clearly state what the history is and the clinical rationale - that early placement stimulates the bodies
        endorphins and pain fighters, resulting in the need for less anesthesia and/or pain medication. You might even consider
        doing this the day, or several days, before surgery in this scenario. I believe, if documented well, you may also be able to
        better support pre-operative placement for those patients having surgery that you know tends to be more difficult and/or
        painful.

        Pre-operative placement is often performed by an anesthesiologist or a nurse practitioner.

        If you choose to use a post-operative pain diagnoses but place the device in the 24-hours prior to the main procedure, your
        documentation must very clearly outline that it is being placed prior to the main procedure to allow for the highest efficacy
        of the device in addressing the post-operative pain.

        Intra-Op – This timing definitely presents more of an issue reimbursement wise and may not provide the best efficacy for
        the patient. Intra-op placement may be more likely to result in this procedure being rolled into your main procedure, or to
        result in a multiple procedure reduction, increasing the potential of not getting paid or getting paid at a reduced rate.

        Post-Op – Post-operative placement is the best for use of a post-operative pain diagnosis, whether it is in the recovery room,
        or at the next day’s follow-up. If performed by the surgeon or same provider that performs the main procedure, you are the
        least likely to see a multiple procedure reduction if the neurostimulator is placed in recovery or during the follow-up. And
        follow-up the patient can better express their pain level. However, part of the draw of the device is to keep pain from
        getting to higher levels so to wait until the follow-up after surgery lessens that effect. Recovery room placement is often
        performed by an anesthesiologist or nurse practitioner.

It may be that you will develop a different protocol for the different procedures and types of surgery. Perhaps those patients that are
having a surgery that you know is more difficult and results in higher pain levels, you do pre-operatively. Those with other



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diagnoses and “lesser” surgery, you do post-operatively. Within that post-op protocol, you may have those where you place it in the
recovery room and others where you place at the follow-up visit.

Note: Although there is no written guideline, payers generally take the stance that if a treatment is performed in more than 70% of your cases,
it is considered routine care. Routine care is not separately reimbursable.

Modifiers

Remember to use the appropriate modifiers:

         •   58 – Staged or Related Procedure or Service by the Same Physician or Other Qualified Health Care Professional
             During the Postoperative Period – use only if a subsequent procedure is performed during the global period and the
             documentation supports that it is a staged procedure.

         •   59 - Distinct Procedural Service – use this to designate that the procedure is not part of a separate, main procedure
             being performed on the same day;

                   o    Important Information Beginning 1/1/2015: Four new modifiers have been put in place to be used in some situations
                        where you previously would have used Modifier -59. They are:

                                 XE – “Separate encounter, A service that is distinct because it occurred during a separate encounter” This
                                  modifier should only be used to describe separate encounters on the same date of service. I would expect this to
                                  be used rarely in the ASC setting for this neurostimulator procedure.

                                 XS – “Separate Structure, A service that is distinct because it was performed on a separate organ/structure”.
                                  This is not likely to be appropriate for neurostimulator cases.

                                 XP – “Separate Practitioner, A service that is distinct because it was performed by a different practitioner”. This
                                  is the new modifier that I would anticipate seeing used the most in the ASC setting for this neurostimulator
                                  procedure. When the neurostimulator is placed pre-operatively or post-operatively, it is likely that the
                                  anesthesiologist, an NP, a PA, or a CRNA will perform placement. Therefore this modifier would apply.

                                 XU – “Unusual Non-Overlapping Service, The use of a service that is distinct because it does not overlap usual
                                  components of the main service”

         •   51 – Multiple Procedure - Use this if placed intra-operatively or in the “same session” by the same provider

Reimbursement

Following are 2015 Medicare reimbursement rates for in-office and ASC. I provide the Medicare allowable amounts because other
payers often use the Medicare fee schedule as the basis for determining their rates. Therefore, I believe the Medicare allowable
amounts provide a good view of average reimbursement.

State             Code                 In-Office Rate        ASC Rate              Physician Rate when done in ASC

Pennsylvania      64555            $ 231.49            $3,530.84                  $ 169.00
                  64553            $ 233.49            $3,530.84                  $ 175.28
                  64999            This is a miscellaneous code; reimbursement is determined after the claim is filed and
                                   the payer reviews documentation of the procedure
                  E1399, L8699     Determined by payer when claim is filed – may be Invoice Amount + Shipping Amount or
                  some other amount

Example ASC billing for patient on 6 day protocol for in-office peripheral nerve placement when using CPT 64555 or 64999 (this
will be used regardless of the number of day protocol because there is no global period assigned to CPT 64999):




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        Procedure 1 = 64555 or 64999 with a total charge listed; no equipment is listed on the claim form because equipment
                Reimbursement will be bundled into the 64555 or 64999 reimbursement.
        Procedure 2 on Day 6 = 64555 or 64999
        Procedure 3 on Day 12 = 64555 or 64999

        Note: Remember that physicians should have a supportable CLINICAL reason for performing this procedure in an ASC
        setting. Therefore, I believe that multiple procedures performed on the same patient in the ASC setting will be rare.

Example Physician billing when the procedure is performed in an ASC on a 6 day protocol when using CPT 64999:
                Procedure 1 = 64555-PC or 64999-PC with a total charge listed; no equipment is listed on the claim form because
                the ASC is reimbursed for the equipment; the physician bills only the professional charge for the procedure.
      Procedure 2 on Day 6 = 64555-PC or 64999-PC
      Procedure 3 on Day 12 = 64555-PC or 64999-PC

Diagnoses Coding

There are a wide range of provider types using neurostimulators. There is no specific list of diagnosis codes that the payers are
approving for this neurostimulator reimbursement although most payers are using pain and/or neuropathy codes of varying types.
Typically providers would not code a symptom as the primary diagnoses but in this case, the symptom may be coded first. In
general, if the patient has a diagnosis that pain management would be appropriate for and documentation supports the diagnosis and
the reasoning for choosing use of the neurostimulator, you can support the service. And there are diagnoses outside of the pain
management realm that are also appropriate. A sample list is attached. Please note the V codes that top the sample list. These can
help to support the decision to use the device application rather than prescribing pain medications for some patients.

As mentioned above, there are less acceptable diagnoses for use with the 64553, cranial nerve, procedure than the 64555, peripheral
nerve, procedure. Historically, there have been more diagnosis mismatch denied/pending claims when using the 64553 procedure.
Again, code to the highest level of specificity and per your documentation but be aware of this issue.

Pre-Certification/Pre-Authorization

Surgery centers typically have an agreement with ordering physicians as to whether the physician or the facility will conduct pre-
authorization activities. This agreement should work for this procedure as well. Providers would simply add this procedure to the
authorization for the other procedures being performed, or conduct pre-authorization for only this procedure if it is being done as a
stand-alone procedure.

There are many questions about pre-certifying this procedure. Most payers have no general coverage guidelines for implantation of
a neurostimulator and therefore no pre-certification requirements. Precertification does not seem to be equating with better
payment. However, it would help on appeal on the back side if a procedure is denied. I do recommend asking about pre-
certification requirements when verifying coverage.

I do recommend pre-certifying and using the coding description language. By this I mean referring to “neurostimulator” rather
than the trade name of the device. The device is just a type of neurostimulator and while the payer may ask for more information,
which should be provided when requested, starting with asking to get pre-authorization under a trade name may automatically bring
extra questions because they haven’t heard of the device or may cause them to reference policies that do not apply to how the device
is actually being used.

I am providing you with sample letters of medical necessity. Providers that are having good luck with pre-certification and
subsequent reimbursement for stand-alone procedures are using a History/Physical which outlines previous treatments tried for
the condition, a current treatment plan (including the anticipated number of staged device applications), the narrative letter of
medical necessity, the supplied sample procedure note, and the patient clinical information, providing a clear scenario of what is
being done. Getting approval using these items would make it easier to address/fight any refunds requests received at a later date.




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For Workers’s Compensation, we recommend educating the carriers you commonly work with about the procedure and discussing
with them the outcomes. Carriers are particularly interested in how a treatment you are requesting has the potential to avoid more
intensive/costly treatments, including medication use, and whether the treatment may help the patient return to work more quickly.

Payers typically will authorize more than one placement at a time, based on your treatment plan.

Summary

The Neurostimulator procedure can be a powerful treatment for your patients. I am typically very conservative/protective in my
advice. I continually research articles, payer policies, and guidance on issues that could involve the device and procedure. As any
changes in recommendations happen, I will make sure to provide them.

The above information is for your consideration in determining how you will document and bill for your neurostimulator
procedures. Final coding for procedures is at the discretion of the healthcare provider and the directive of the payers. You are
encouraged to code as you are comfortable, according to your documentation and research/training.

I will also be sending you some additional documents that should be helpful in your pre-authorization process and with any denials.

I would be glad to help further. Please contact me at joy.long@dragonslayerstrategies.com with additional questions. I can also be
reached at or (317) 496-8647 but am best reached by e-mail!




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Ginny Goldbach

From:                                   Kimberly Coleman <kdc@colemanmedicalcoding.com>
Sent:                                   Friday, August 05, 2016 7:18 AM
To:                                     Ginny Goldbach; Sudhir Rao
Cc:                                     Matthew Miller
Subject:                                NSS
Attachments:                            CMS RETIRED POLICY.docx


Good morning, hope all is well.

As per our discussion regarding NSS in an ASC setting the following is what i have found:

       1.     There is not a policy for NSS for Medicare (CMS nationally) . The only policy was for PENS and that policy has been retired
             (see attached),
       2.     When doing NSS for Medicare in an ASC setting this should only be done for diagnostic purposes and if the patient has 50% or
             greater pain relief then the patient should proceed to a permanent implant. Timeline for conversion is not set in stone.
       3.    Billing 64555 for Highmark, commercials. Recommended for office use as they paid for the LCode. I provide local policies.
             Aetna, Cigna, UHC HealthAmerica and UPMC will pay for the NSS with prior authorization. Note; For these insurance
             companies it is diagnosis based. ONLY USE 64553 is used for Migraine and Chronic Headache. 64555 for all pain neck
             and below. Again this is also diagnosis driven.
       4.    CPT guidelines state that use the most specific code available. As long as documentation can prove 100% medical
             necessity, it is justified.
       5.    NSS is a percutaneous implantation neurostimulator electrode array that are applied and leads are placed for specific
             nerves. You are providing the same type of services when you do a SCS Trial.
       6.    Unless a it specifies in a particular LCD not to use the 64555 or 64553 and L8600 you use these codes.

If you have any questions please do not hesitate to contact me.

Sincerely,

Kimberly Coleman, CPC, CPC-I




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                                   LCD Information




LCD ID
L5195




LCD Title
Percutaneous Electrical Nerve Stimulation (PENS)




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                                     LCD Information




Contractor's Determination Number
Z-54C


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Statements
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CMS National Coverage Policy
Title XVIII of the Social Security Act, Section 1862(a)(7). This section excludes routine
physical examinations.

Title XVIII of the Social Security Act, Section 1862(a)(1)(A) states that no Medicare
payment shall be made for items or services which are not reasonable and necessary for
the diagnosis or treatment of illness or injury.

Title XVIII of the Social Security Act, Section 1833(e) states that no payment shall be
made to any provider for any claim that lacks the necessary information to process the
claim.

CMS On-line Manual Pub. 100-3, Chapter 1, Sections 160.3, 160.7, 160.71. These
sections are specific to the coverage of Electrical Nerve Stimulators.




Oversight Region
Region III




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Original Determination Effective Date
For services performed on or after 07/24/2000




Original Determination Ending Date
12/20/2007




Revision Effective Date
For services performed on or after 01/01/2006


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Revision Ending Date
12/20/2007
Indications and Limitations of Coverage and/or Medical




Necessity
Compliance with the provisions in this policy may be monitored and addressed through
post payment data analysis and subsequent medical review audits.

Peripheral Percutaneous Electrical Nerve Stimulation (peripheral PENS) is a diagnostic
procedure, which is used to test effectiveness of nerve stimulation prior to implanting a
permanent nerve stimulator. The procedure involves insertion of neurostimulator
electrodes through the skin without making an incision as is performed when the
electrodes are being placed for long term use.

Indications
To evaluate a patient with chronic neuralgia secondary to injury to a peripheral nerve or a
disease affecting it or that caused by complex regional pain syndrome in whom permanent
electrode placement is being contemplated.

Limitations



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                                       LCD Information
Electrical nerve stimulators do not prevent pain but only alleviate pain as it occurs. A
patient can be taught how to employ the stimulator, and once this is done, can use it safely
and effectively without direct physician supervision. Consequently, it is inappropriate for a
patient to visit his/her physician, physical therapist, or an outpatient clinic on a continuing
basis for treatment of pain with electrical nerve stimulation. Once it is determined that
electrical nerve stimulation should be continued as therapy and the patient has been trained
to use the stimulator, it is expected that a stimulator will be implanted. Electrical nerve
stimulation treatments furnished by a physician in his/her office, by a physical therapist or
outpatient clinic are excluded from coverage.

Since this procedure is a diagnostic test and not a treatment modality, this will be covered
only once. If a patient for any reason needs to be re-tested, a special report describing the
circumstances and medical necessity of re-testing will need to be submitted with the claim.

The CPT codes listed in this policy may not be used to treat patients with acupuncture, nor
may they be used for any variation of the acupuncture techniques.

In addition, services will be denied, prospectively as well as retrospectively, when the
Carrier determines that the service is not medically reasonable and necessary and/or the
medical documentation does not verify that the service described by the CPT code was
provided.




                                     Coding Information




Bill Type Codes:



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                                   Coding Information
Contractors may specify Bill Types to help providers identify those Bill Types
typically used to report this service. Absence of a Bill Type does not guarantee that
the policy does not apply to that Bill Type. Complete absence of all Bill Types
indicates that coverage is not influenced by Bill Type and the policy should be
assumed to apply equally to all claims.

 999x                    Not Applicable




Revenue Codes:
Contractors may specify Revenue Codes to help providers identify those Revenue
Codes typically used to report this service. In most instances Revenue Codes are
purely advisory; unless specified in the policy services reported under other Revenue
Codes are equally subject to this coverage determination. Complete absence of all
Revenue Codes indicates that coverage is not influenced by Revenue Code and the
policy should be assumed to apply equally to all Revenue Codes.


 99999                      Not Applicable




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                               Coding Information




CPT/HCPCS Codes
 Group 1: Paragraph

 Group 1: Codes
 64555 PERCUTANEOUS IMPLANTATION OF NEUROSTIMULATOR
         ELECTRODES; PERIPHERAL NERVE (EXCLUDES SACRAL NERVE)
  L8680 IMPLANTABLE NEUROSTIMULATOR ELECTRODE, EACH




ICD-9 Codes that Support Medical Necessity
 Group 1: Paragraph

 Group 1: Codes
 354.1      OTHER LESION OF MEDIAN NERVE
  354.2     LESION OF ULNAR NERVE
  354.3     LESION OF RADIAL NERVE




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                                Coding Information

  354.4     CAUSALGIA OF UPPER LIMB
  354.9     MONONEURITIS OF UPPER LIMB UNSPECIFIED
  355.1     MERALGIA PARESTHETICA
  355.2     OTHER LESION OF FEMORAL NERVE
  355.3     LESION OF LATERAL POPLITEAL NERVE
  355.4     LESION OF MEDIAL POPLITEAL NERVE
  355.71    CAUSALGIA OF LOWER LIMB
  355.79    OTHER MONONEURITIS OF LOWER LIMB
  355.8     MONONEURITIS OF LOWER LIMB UNSPECIFIED
  723.2     CERVICOCRANIAL SYNDROME
  723.3     CERVICOBRACHIAL SYNDROME (DIFFUSE)
  723.4     BRACHIAL NEURITIS OR RADICULITIS NOS
  724.2     LUMBAGO




Diagnoses that Support Medical Necessity




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                                  Coding Information
ICD-9 Codes that DO NOT Support Medical




Necessity
Any ICD-9 diagnosis code not listed under the "ICD-9 Codes That Support Medical
Necessity" section of this policy.




ICD-9 Codes that DO NOT Support Medical Necessity Asterisk




Explanation




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                                    Coding Information
Diagnoses that DO NOT Support Medical




Necessity




                                   General Information




Documentation Requirements
Documentation in the medical record must contain a history and physical pertinent to the
indications of this policy. In addition, the documentation must support the medical
necessity for performing this procedure.




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Appendices




Utilization Guidelines
In accordance with CMS Ruling 95-1 (V), utilization of these services should be
consistent with locally acceptable standards of practice.




Sources of Information and Basis for Decision



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Carrier Medical Directors’ (CMD) Chronic Pain Management Clinical Workgroup

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Low Back Pain: A Randomized Crossover Study. JAMA, volume 281, issue 9, March 3,
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Cauthen JC, Renner EJ, Transcutaneous And Peripheral Nerve Stimulation For Chronic
Pain States; Surg Neurol 1975, Jul; 4(1): 102-4

Kirsch WM, Lewis JA, Simon RH, Experiences With Electrical Stimulation Devices For
The Control Of Chronic Pain; Med Instrum 1975, Sep-Oct; 9(5): 217-20

Long DM, Electrical Stimulation For The Control Of Pain; Arch Surg 1977, Jul: 112(7):
884-8

Long DM, Uses Of Percutaneous Electrical Stimulation Of The Nervous System; Med
Prog Technol 1977, Jul; 15;5(1): 47-50

Law JD, Swett J, Kirsch WM, Retrospective Analysis OF 22 Patients With Chronic Pain
Treated By Peripheral Nerve Stimulation; J Neurosurg 1980, Apr; 52(4): 482-5

Picaza JA, Hunter SE, Cannon BW, Pain Suppression By Peripheral Nerve Stimulation.
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Nashold BS Jr, Goldner JL, Mullen JB, Bright DS, Long-Term Pain Control By Direct
Peripheral-Nerve Stimulation; J Bone Joint Surg Am 1982, Jan: 64(1): 1-10

Hamza MA, Ghoname EA, et al; Effect Of The Duration Of Electrical Stimulation On The
Analgesic Response In Patients With Low Back Pain; Anesthesiology 1999, Dec; 91(6):
1622-7

Agnew WF, McCreery DB, Considerations For Safety With Chronically Implanted Nerve
Electrodes; Epilepsia 1990; 31 Suppl 2: S27-32

Other carrier’s policies

HGSAdministrators Medical Director




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Advisory Committee Meeting Notes
Z-54: CAC presentation: 04/13/2000

This policy does not reflect the sole opinion of the contractor or contractor medical
director. Although the final decision rests with the contractor, this policy was developed in
cooperation with advisory groups, which includes representatives from Physical Medicine
and Rehabilitation.




Start Date of Comment Period
03/14/2000




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End Date of Comment Period
04/28/2000




Start Date of Notice Period
06/14/2000




Revision History Number
Z-54C


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Revision History Explanation
12/29/2005 (Z-54C) Policy release date. 2006 CPT/HCPCS update to remove deleted code
E0752 and replace with new code L8680 effective for dates of service on or after
01/01/2006.

08/15/2005 (Z-54B) Policy converted from LMRP to LCD format per CMS CR 3010.

01/01/2002 (Z-54A) Revised with the 2002 HCPCS update to include E0752 and to revise
the terminology for 64555.


11/26/2005 - CPT/HCPCS code E0752 was deleted from group 1




Reason for Change




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Last Reviewed On Date




Related Documents
This LCD has no Related Documents.




LCD Attachments
There are no attachments for this LCD.


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                    All Versions




Updated on 12/20/2007 with effective dates 01/01/2006 - 12/20/2007
Updated on 08/17/2005 with effective dates 08/15/2005 - 12/31/2005
Updated on 08/16/2005 with effective dates 01/01/2002 - 08/14/2005
Updated on 01/24/2003 with effective dates 01/01/2002 - N/A
Updated on 01/20/2003 with effective dates 01/01/2002 - N/A




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Ginny Goldbach

From:                               Matt Miller <matthewmiller1025@gmail.com>
Sent:                               Thursday, July 14, 2016 3:27 PM
To:                                 Sudhir Rao; Ginny Goldbach; Kimberly Coleman; Kimberly Coleman
Cc:                                 Matt Miller
Subject:                            NSS Discussion - Radiance/Dr. Rao
Attachments:                        Adrain M interim analysis for world congress 5-14-25.doc; Adrian Miranda Amygdala
                                    Neurons and BRIDGE Stim.pdf; Adrian Miranda Spinal Cord Neurons and BRIDGE
                                    Stim.pdf; Adrian Miranda Visceral and Somatic Pain and BRIDGE 2.pdf;
                                    PastedGraphic-7.tiff


Greetings:
At the request of Dr. Rao, we would like to see when all parties may be able to field a call next week. We are looking at
Tuesday, July 19th around 9am. We will discuss NSS for use in ASC environment and applicable coding, patient
identification/candidacy, and anything else you want to cover.
Please reply with availability for that day.

Included below is an excerpt from a former AMA advisor as the the use of CPT code for NSS. I thought this may be helpful.
Recent studies also attached for your consideration. These are animal based studies, but prove effectiveness of the device.
(NSS=BRIDGE device for study purposes)


AMA Advisor Review:
"A thorough review of the coding literature and the LCDs generated by many Medicare
carriers show that the CPT code 64555 appears to be the most accurate when applying use of
the NSS system. The neuro-stimulator technique that is used with these patients is clearly
delineated from acupuncture and other neuro-stimulator treatments. The neuro-stimulator is
programmed to provide a stimulation comprised of 0-10 HZ , impulse interval 1000 ms, monophasic
impulse width 1 ms, ims/bipolar., changing polarity ( to avoid polarizing effects) , with an maximum
amplitude of 3.2 V.

Procedure: Mapping is done of patient’s unique trigeminal, Greater Occipital, Lesser Occipital,
cranial and peripheral nerve anatomy with subsequent placement of neuro-stimulator generator and
percutaneous electrode array implantation at verified nerve sites.

Medicare LCDs, Noridian in particular relate that “ Peripheral Nerve Stimulation may be covered for
relief of chronic intractable pain for patients with conditions known to be responsive to this form of
therapy.” “Severe neuropathic pain is typically well suited for successful responses to PNS”.

Such LCDs relate the treatment of occipital, trigeminal, peripheral, intercostal and ilio-inguinal nerves
as well as lower back and trunk syndromes.

64555 Percutaneous implantation of neurostimulator electrode array; peripheral nerve- is the
descriptor both in CPT and that recognized by Medicare and most private payers today.

I would opine that this is the most appropriate CPT code for such service."

Former advisor to AMA CPT editorial panel

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Matt Miller - Distributor/Principal

412-401-8565
matthewmiller1025@gmail.com




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 Auricular Neurostimulation with BRIDGE device Prevents Post-
    Inflammatory Visceral and Somatic Hyperalgesia in Rats
                               Adrian Miranda, M.D.
                  Associate Professor of Pediatrics-Gastroenterology
     Medical College of Wisconsin, Department of Pediatrics, Division of Pediatric
            Gastroenterology, Hepatology, and Nutrition. Milwaukee, WI

Introduction
Patients with irritable bowel syndrome (IBS) suffer from chronic abdominal pain despite
having no structural or anatomical lesions that can account for symptoms. Hyperalgesia is
the hallmark of IBS and refers to an exaggerated pain response to a normally noxious
stimulus. Visceral and somatic hyperalgesis can occur in humans and animals following
inflammation in the colon. In humans, up to 14% of patients can develop chronic IBS
following common gastrointestinal infections (1). The annual direct cost of IBS in adults
has been estimated at US $1.35 billion, since extensive testing is often performed and
only few treatment options exist (2). In animals, inflammation of the colon with
Trinitrobenzenesulfonic acid (TNBS) results in visceral and somatic hyperalgesia. This
has been extensively used as an animal model for IBS (3-4). Since most pharmacological
agents being used or promoted to treat IBS are often no better or have minimal gain over
placebo, most patients are seeking complementary or alternative treatments (5-7). Recent
clinical evidence from our group suggests that auricular electrical stimulation with the
BRIDGE device (Innovative Health Solutions, Versailles, IN, USA) can have
antinociceptive properties. BRIDGE is a non-invasive, drug free alternative that may
improve symptoms of acute or chronic pain by influencing pain pathways centrally
(RVM, Amygdala, hypothalamus) through stimulation of external auricular branches of
cranial nerves (V, VII, IX, and X). We aimed to examine the role of auricular stimulation
with the BRIDGE device on the development of visceral and somatic hyperalgesia
following colitis in rats.

Methods: In two groups of male Sprague-Dawley rats, a pair of electrodes was implanted
in the external abdominal musculature of each animal to record EMG. EMG measures
contraction of abdominal wall muscles in response to colon distension and is a well-
established method of assessing visceral sensitivity (8). Five days post implantation of the
electrodes, colonic inflammation was induced by a single application of
trinitrobenzenesulfonic acid (50%TNBS in EtOH, 0.5ml) in the colon. In one group
(n=8), the BRIDGE device was applied in the external ear on the first day of TNBS
administration and continued for 4 hours per day over 5 days. The control group (n=6)
had an inactive device that was also placed on the first day of TNBS and continued for 4
hours a day for 5 days. Seven days after the initial placement of the BRIDGE device or
control device, a visceromotor response (VMR) to graded colorectal distension (CRD;10-
80mmHg, 30s, 180s inter-stimulus intervals) was recorded in both groups to assess
changes in visceral sensitivity. The paw withdrawal response (PWR) was also assessed in
both groups by applying Von Frey filaments of various bending forces (100–400 mN) to
the plantar surface of the hind paws. Progressive, increasing forces were applied until the
hind paw was withdrawn. The lowest bending force required to stimulate a PWR was
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recorded as the mechanical withdrawal threshold. Experimenters were blinded to all
groups and conditions.

Results: Control animals with the inactive device showed a much higher VMR at CRD
pressures >30mmHg compared to those with BRIDGE (0.63±0.08 and 0.77±0.06 vs.
0.34±0.03 and 0.37±0.06, respectively). Thus, stimulation with the BRIDGE significantly
prevented the development of visceral hyperalgesia compared to inactive devices
(p<0.05) (Figure 1A). Similarly, rats with BRIDGE stimulation required much higher
forces to induce a paw withdrawal (749± 196mN) compared to the control group
(181±45mN) (p<0.05), suggesting that auricular stimulation prevented the development
of somatic hyperalgesia following TNBS, (Figure 1B).
                                                                                              B    Paw Withdrawal Response
                   A                 Colonic Senstivity
                                                                                            1000
                 1.0
                           Colitis + BRIDGE                                                                           Colitis + BRIDGE
                           Colitis                                                                                    Colitis
                                                                                            800
                 0.8
  VMR response




                                                                               Force (mN)
                                                                                            600
                 0.6


                                                                                            400
                 0.4


                                                                                            200
                 0.2


                                                                                              0
                 0.0
                       0     10         20       30       40         50   60

                                  Colon Distension Pressure (mmHg)


        Figure 1: (A) Summary data of mean VMR to graded CRD (10–60 mmHg) in rats one week
        after induction of colitis with TNBS. Animals that received auricular stimulation with the BRIDGE
        device did not show an increase in response to distension pressures ≥30 mm Hg, representing
        the prevention of visceral hyperalgesia compared to control. (B) Bar graphs represent the
        bending force of von Frey filaments required to induce PWR. Similarly, animals with auricular
        stimulation with the BRIDGE device had a significantly higher threshold for pain compared to
        control (∗p < 0.05).

Conclusion: Auricular neurostimulation with the BRIDE device significantly prevents
the development of post-inflammatory visceral and somatic hypersensitivity associated
with TNBS colitis. This effect is likely a centrally mediated process, but further studies
are underway to investigate potential pathways.
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Auricular Neurostimulation with Bridge Device Alters the
Response Characteristics of Amygdala Neurons in Rats
                               Adrian Miranda, M.D.
                  Associate Professor of Pediatrics-Gastroenterology
     Medical College of Wisconsin, Department of Pediatrics, Division of Pediatric
            Gastroenterology, Hepatology, and Nutrition. Milwaukee, WI

Introduction
Data from our laboratory suggests that in animals, auricular stimulation with the
BRIDGE device (Innovative Health Solutions, Versailles, IN, USA) prevents the
development of visceral and somatic hyperalgesia. Recent clinical evidence from our
group and others suggests that an alteration in the amygdala connectivity is common in
patients with chronic pain (1-5). Anecdotal evidence also suggests that this device can
attenuate clinical symptoms of opioid withdrawal. A common central link between a state
of chronic pain and opioid dependence appears to be the amygdala, since it has major
projections to the hypothalamus and brainstem. The amygdala is involved in the
emotional component of pain processing and activation of this area has also been
associated with the negative emotional state of withdrawal to opioids and drug craving (6).
Thus, we aimed to investigate whether external auricular stimulation with the BRIDGE
device could influence processing in the amygdala. Electrophysiological recordings from
single cells in the rat amygdala were performed to examine the response characteristics of
these neurons before and after stimulation with the BRIDGE device. We hypothesized
that acute auricular stimulation would alter the response characteristics of amygdala
neurons.

Methods:
Electrophysiological recordings
A group of 5 rats underwent extracellular single-unit recordings from neurons in the
central nucleus of the amygdala (CeA). Animals were anesthetized with Urethane
(induction, 1.5g/kg, i.p.; maintenance, 0.05mg/kg intravenously bolus to maintain plane
of anesthesia). Physiological parameters such respiratory rate, heart rate and core body
temperature (kept at 37°C) were continuously monitored. The animal was mounted in a
stereotaxic frame and a small unilateral craniotomy was made to allow for the insertion of
the recording electrode.
Single-unit recordings from neurons were made with glass-insulated carbon filament
electrodes (4-6MΩ). The following stereotaxic coordinates were used: 2.2 to 3.1 caudal
to bregma, 3.8 to 4.2 lateral to midline, depth 6.5 to 8.0 (Paxinos and Watson) (Figure 1).
The action potentials were ampliﬁed through a low-noise AC differential ampliﬁer
(model 3000; AM Systems) and continuously monitored and displayed on an
oscilloscope. A dual window discriminator (modelDDIS-1; BAK Electronics) was used
to discriminate the action potentials and to convert the signal to a rectangular TTL pulse.
The frequency of TTL pulses was counted on-line by using the Spike 2/CED 1401 data
acquisition system (Cambridge Electronic Design). Action potentials and blood pressure
were recorded on-line. After the experiments, data were analyzed using the Wave-Mark
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analysis method of the Spike 4 software (Cambridge Electronic Design) to distinguish
individual action potentials.

EP Experiment Protocol
In each animal, background and evoked activity of only one neuron was recorded form
the right amygdala. An individual neuron was identified by its background activity and
responses to brief search stimuli, which included compression of deep tissue (left paw)
with a consistent force using Von Frey filaments. In each experiment, one amygdala
neuron that responded to paw compression was selected and recorded. The background
activity in the absence of any intentional stimulation was recorded for 5 min. Following
the baseline recording, a brief (30 s) compression of the paw was applied twice with the
same Von Frey filament (190 mN) 5 min apart. After two compressions were recorded,
the BRIDGE device was connected to the ear on the ipsilateral side and left undisturbed
for 15 minutes. The baseline firing of the neuron and response to compression of the paw
was again recorded.




Data Analysis
Statistical analysis was performed using SigmaStat (V2.03, SPSS Inc, Chicago, IL).
Baseline firing and response of the neurons to paw pinch was measured as action
potential counts over 30 sec compression of the paw and were analyzed using one-way
repeated measures ANOVA.

Results:
Extracellular recordings from amygdala neurons were made in 5 rats. A total of 5
neurons that responded to noxious stimuli (compression) of the hind paw were recorded.
All neurons were classified as excitatory with cutaneous receptive fields mainly in the
trunk and plantar surface of the paw.
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Prior to auricular stimulation, the mean spontaneous firing of the neurons was 1.15±0.36
imp/sec with an excitatory response to 3.05± 0.46 after paw pinch (190mN). There was a
52% decrease in the spontaneous firing of the neurons after just 15 minutes of auricular
stimulation with BRIDGE (0.56 ±0.21 imp/sec). Similarly, the response to compression
of the paw was decreased by approximately 66% after auricular stimulation
(1.04±0.29imp/sec) (p<0.05). Figure 2 shows and example of one neuron recorded
before and after stimulation with the BRIDGE device. Figure 3 shows the cumulative
data for all 5 neurons.
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Conclusion
Neurostimulation with the BRIDGE device significantly decreases the baseline firing of
amygdala neurons and attenuates the response to somatic stimulation after just 15
minutes. This attenuation could theoretically account for the modulation of pain
responses in both humans and animals as well as improvement in the negative emotional
state associated with drug withdrawal. Further studies are underway to examine whether
the effect is limited to the supraspinal areas or if spinal neurons are also influenced.
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A Novel Approach for the Treatment of Refractory Functional Gastrointestinal Disorders in
Children: A Randomized, Controlled Trial of Neurostimulation
K Kovacic, G Chelimsky, M Sood, T Chelimsky, B Li, K Hainsworth, P Simpson, A Miranda
Medical College of Wisconsin, Milwaukee, Wisconsin, USA

Background: Pharmacological treatments are often inadequate for patients with functional gastrointestinal
disorders (FGIDs) and psychological therapies are not always readily available. Newer, alternative
therapies are needed in this population. IBstim (Innovative Heath Solutions, IN, USA), an FDA-approved
device, delivers percutaneous electrical stimulation (3.2V) with alternating frequencies to branches of
cranial nerves (V, VII, IX, and X) through the external ear. Preliminary studies in animals suggest that it
alters neuronal activity in central nociceptive structures. This study aimed to evaluate the efficacy of
IBStim in children with FGIDs who failed pharmacological therapy. We report an interim analysis of this
ongoing trial.
Methods: In this prospective, double-blind, randomized controlled trial, we enrolled 52 out of 100 intended
subjects ages 11-18 y/o with FGIDs from an outpatient GI clinic. The IBstim device, which delivers
stimulation on/off for 2 hour intervals, was applied to the external ear weekly for 5 days x 4 weeks. The
control group had an inactive “sham” device. Patients were randomized by a computer-generated scheme.
A Likert 0-10 scale assessed daily nausea and pain ratings. Baseline and weekly assessments included: 1)
Pain-Frequency-Severity-Duration (PFSD) scale, 2) Nausea Profile with 3 subscales (Somatic, GI and
Emotional distress) and 3) a 14-point validated Symptom Response Scale (SRS) (-7 = “A very great deal
worse”; 7 = “A very great deal better”). A 1-point change on the SRS is considered clinically significant.
Results: 42/52 subjects (90% female) completed the trial. 92% had failed drug therapy with ≥ 1 neurally
active agent. Median age was higher in the sham group: [Mdn (range) 16.6 (12.2-18.7) vs. 15.4 (10.8-18.4)
years] (p=0.025). After 4 weeks, the group with IBstim treatment had a significant reduction in the worst
pain intensity scores compared to sham (Mdn): 8.0 to 5.0 vs 7.0 to 7.0 (p<0.05). Similarly, those with the
active device had improvement in overall symptoms compared to sham based on the SRS: [Mdn (range):
3.0 (-3 to 6) vs 1.0 (-4 to 6)] (p=0.032). On this scale, 86% in the treatment vs. 57% in the sham group
showed a minimally important improvement with a change score ≥1 (p=0.08). Nausea Profile scores (total
and all subscales) decreased significantly over time in both groups with a trend toward greater

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improvement in treatment vs. sham group for the Somatic distress (p=0.064) and Emotional distress
(p=0.09) subscales.
Conclusion: Our interim analyses show that percutaneous neurostimulation with IBstim offers a novel
treatment approach for children and adolescents with refractory FGIDs. Further data on daily pain and
nausea scores, physical functioning and health-related quality of life will be examined at the end of the
trial.




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    Auricular Neurostimulation with Bridge Device Modifies the
            Activity of Lumbar Spinal Neurons in Rats

                               Adrian Miranda, M.D.
                  Associate Professor of Pediatrics-Gastroenterology
     Medical College of Wisconsin, Department of Pediatrics, Division of Pediatric
            Gastroenterology, Hepatology, and Nutrition. Milwaukee, WI

Introduction
Our previously studies suggest that auricular stimulation in animals with the BRIDGE
device (Innovative Health Solutions, Versailles, IN, USA) prevents the development of
visceral and somatic hyperalgesia and modulates amygdala neurons. It has been
proposed that a shift in the balance between pain inhibiting and facilitating outflows from
the brainstem to the spinal cord, known as the conditioned pain modulation (CPM)
system, plays an role in the pathophysiology of chronic pain disorders. This system
involves descending modulation of spinal neurons by the periaqueductal gray (PAG) and
the rostroventral medulla (RVM). Since the amygdala has major projections to these
brainstem areas, we hypothesized that acute auricular stimulation would also alter the
response characteristics of lumbar spinal cord neurons.

Methods:
Surgical Preparation
Rats were anesthetized with an initial dose of Urethane (induction, 1.5g/kg, i.p) and
maintained by bolus dosing through the right femoral vein (0.05mg/kg). To monitor
blood pressure, the left carotid artery was also cannulated. Following tracheal
intubations, the rats were paralyzed with an initial dose of gallamine triethiodide (10
mg•kg-1 i.v., Flaxedil) and mechanically ventilated with room air (~60 strokes•min-1).
Subsequent doses of gallamine triethiodide (5 mg•kg-1•h-1) were given as needed to
maintain paralysis. The body temperature was kept within physiological range (36–
37°C) with an overhead lamp. The rats were placed in a stereotaxic head holder and the
thoraco-lumbar (T13-L2) spinal cord was exposed by laminectomy. After removal of the
dura membrane, a 1-2cm saline-soaked gelatin sponge (Gelfoam, Pharmacia Upjohn
Company, MI USA) was used to cover the exposed spinal cord segment. The skin was
reflected laterally to make a pool for agar solution that was allowed to cool to 38ºC prior
to pouring. The agar was allowed to harden and the dorsal surface of the spinal cord was
exposed by removing a cubical slice of agar with a scalpel blade. The exposed surface of
the spinal cord was covered with warm mineral oil (37°C).

Spinal Neuron Recordings
Two rats underwent extracellular single-unit recordings from the lumbar (L1-L2) spinal
segments using a glass-insulated, carbon filament electrodes. The placement of the
electrode was 0.1-0.5mm lateral from the spinal midline and 0.6-1.8mm ventral from the
dorsal surface. The action potentials were amplified through a low-noise AC differential
amplifier (model 3000; A-M Systems) and continuously monitored and displayed on an
oscilloscope. A dual window discriminator (model DDIS-1; BAK Electronics) was used
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to discriminate the action potentials and to convert it to rectangular TTL pulse. The
frequency of TTL pulses was counted online by using the Spike2/CED 1401 data
acquisition system (Cambridge Electronic Design). Action potentials and blood pressure
were recorded online. Post experiments, data were analyzed using the Wave-Mark
analysis method of the Spike 4 software (Cambridge Electronic Design) to distinguish
individual action potentials.
The spontaneous neuronal activity was recorded for each neuron followed by recording
of responses to noxious pinch of the paw using Von Frey filament (190 N) for 10
seconds. Once the baseline response was obtained, the BRIDGE device was attached to
the contralateral ear. After 15 minutes of stimulation, the baseline firing and response to
paw pinch was again recorded.

Results:
One neuron from each animal (n=2) that responded to noxious stimuli (compression) of
the hind paw were recorded. All neurons were classified as excitatory and had cutaneous
receptive fields mainly in the ipsilateral rump area. Figure 1 shows and example of one
spinal neuron recorded before and after stimulation with the BRIDGE device.
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Following stimulation with the BRIDGE there appeared to be a decrease in the
spontaneous baseline firing of the neurons (4.6± 0.21 imp/sec) compared to pre-
stimulation (9.5±0.43 imp/sec). Similarly, firing of the neurons in response to pinching
of the paw was much lower after auricular stimulation (7.7 ± 0.24 imp/sec) compared to
the pre-stimulation response (15.8± 1.43imp/sec). Figure 2 shows the cumulative data for
both neurons.




Conclusion
Neurostimulation with the BRIDGE device decreases the spontaneous firing and response
to somatic stimulation of lumbar spinal neurons. This suggests that auricular stimulation
with the BRIDGE influences the descending modulatory effect on spinal neurons. This
inhibitory effect on spinal neurons could account for the anti-nociceptive effects seen in
previous pre-clinical and clinical studies.
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            Exhibit 7
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---------- Forwarded message ----------
From: Bobby Smith <bobby@ihcsnation.com>
Date: Mon, Aug 17, 2015 at 11:08 AM
Subject: Introduction to NSS/ Please confirm receipt
To: "rt.bhambhani@gmail.com" <rt.bhambhani@gmail.com>


Dr Bhambhani, My company has the exclusive rights to a recently FDA and VA approved
device for acute and chronic pain. I live in Maryland and am selecting key practices now. We
have launched with prominent Physicians and larger surgery groups throughout the U.S. I
have attached the Slideshow above along with a short Science Video https://vimeo.com/
user17291718/review/108118730/56e5ec2571. They feature the technology along with the
extraordinary reimbursement for this treatment. Select practices can participate in our Full
Service Program outlined on the attached PowerPoint
>
> Our expert billing team will provide:
>
>*       All pre certifications required (not required for Medicare patients)
>
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>*       All follow up requests from insurance providers
>
>*       Provide bi- weekly A&R reports
>
>*       90 Day billing terms
>
>
> This device is:
>
>*       FDA and VA approved
>
>*       Utilized by leading Physicians and Surgery Centers
>
>*       Featured in the Key Evolutions in the Device Arena at the Highly acclaimed Beckers
ASC Ortho, Spine& Pain Conference
>
>*       Featured at Pain Week in Las Vegas, the Nation's largest Pain Conference
> ASC's utilize this cutting edge technology for:
>
>*       Post surgical pain control
>
>*       Acute and Chronic pain
> Our expert training staff will provide:
> Easy to follow training videos for the placement of the devices
> A full day of training upon request for the initial scheduled patients
> Patient educational handouts
>
> Please review the attached slide show to fully understand the impact that this technology can
have on your patients and your practice.
>
> Robert A Smith
> Innovative Health Care Solutions Inc.
> VP of Sales and Marketing
> C 410-977-8777
> F 410-561-4772
>
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            Exhibit 8
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---------- Forwarded message ----------
From: Kristen Brannon <kristen@ihcsnation.com>
Date: Tue, Sep 8, 2015 at 9:53 AM
Subject: NSS Billing Information
To: "rt.bhambhani@gmail.com" <rt.bhambhani@gmail.com>
Cc: Bobby Smith <bobby@ihcsnation.com>



It was a pleasure speaking with you on Friday. See attached the NSS Billing information we
discussed on Friday. Please review and I will be glad to answer any questions during our
10am call this morning.




Kristen Brannon
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Innovative Healthcare Solutions

Director Of Operations

502-561-0963 Office

502-303-0919 Cell

1-800-884-9650 efax
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                    FSP Billing and Precertification Overview

Prior Authorization Protocols

1.     IHCS will initiate all prior authorizations (PA) for the NSS Device.

2.     For each patient referred by your office, we need documents in order to facilitate the
       authorization and billing of the device. Please fax this information to: 800-884-9650.

       A.     Please fill out the NSS Device Pre-Certification form.
       B.     Our office needs a copy of the patient’s insurance card(s), front and back, in order
              to verify coverage and eligibility.
       C.     Patient demographics: we need the demographics for billing.
       D.     Office Note: for each patient, we need the provider’s note ordering the NSS
              device.

3.     Work Comp: if a patient is covered by work comp, IHCS will contact the adjuster and
       verify the claim and coverage. The adjuster must authorize each device the physician
       orders for treatment. In order to increase the likelihood of coverage for work comp
       patients, we must have all required information and the Office Note in order to call the
       adjuster. If the adjuster requires additional information we will contact your office to
       obtain this documentation. The documentation requested is required within 72hr of
       request.

4.     Once the PA has been initiated, we will provide a status update within 72hrs. As soon as
       we determine eligibility and coverage we will contact your office with the PA
       information.

5.     Should IHCS receive either a denial or a request for additional information, IHCS will
       work with your office to provide the information needed for the insurance company to
       reach a decision or aid in an appeal of a denial of service. The request we most often
       have is for additional information, up to and including a letter from the physician’s office
       to answer their questions regarding patient treatment and medical necessity. We ask that
       you answer our requests for information within seventy two (72) hours.

6.     Should you have any questions or concerns about any prior authorization for your patient
       please send an email to priorauth@ihcsnation.com. We will respond within 24hrs.


Billing Protocols

IHCS provides personalized attention to all clients. As a client, you will receive constant
communication from our team. In order to build a successful partnership, we require that our
clients be compliant with all requests within Seventy two (72) hours. When a team member is
working to obtain authorization to treat your patient, we come to a halt when we are asked for

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information that we do not possess. It is imperative that we receive all requests for information
as these are needed by the insurance company in order to render a decision. Please review the
following billing protocols.

1.     New Client Information sheet: this form is submitted to IHCS by the sales team.

2.     NSS Encounter Forms: Please forward all NSS encounter forms at the end of each
       business day. We bill for services as soon as we have the information in order to
       expedite payment to your office.

3.     Procedure Note: your office note for the procedure is needed for our software and for
       billing. All documents we receive from your office are uploaded into our software
       system.

4.     We will submit claims for service within twenty-four hours of receiving your encounter
       form.

5.     Work Comp: in order to submit a claim to work comp, IHCS must have the encounter
       form and the office note. Work comp insurance companies will not consider a claim
       without documentation.

6.     Explanation of Benefits: IHCS requires clients to email EOBs within twenty-four hours
       for the billing of the NSS device. We update records daily and for our reports to be
       accurate we need EOBs to enter payment information.

7.     Client Billing: in order to track revenue and payments, some offices may bill for the NSS
       device in their billing software. It is IMPERATIVE that, as a client for whom we are
       billing, all such claims are placed in a HOLD status so the claims are not generated.
       While participating in the FSP our clients are precluded from billing for the NSS devices.
       This will result in duplicate billing.

Reporting

Accounts Receivable Report, Bi-Weekly: IHCS will send an accounts receivable report bi-
weekly. This report will help clients keep track of their progress.

Accounts Receivable Report, End of Month: IHCS will send a monthly A/R summary by the 3rd
of every month, after the month-end calculations have been completed.




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                                       Neurostimulator Precertification Form
                                               Office 502-561-0963
                                               Efax 1-800-884-9650


Patient Name:_______________________________ File #:__________ Date:________________ Initial  Revised

Diagnoses Codes: 1___________ 2___________ 3___________ 4___________ 5___________ 6___________ 7___________

Onset Date of Primary DX: _______________________

Failure of Conservative Treatment: _____Yes         _____No     Notes:___________________________________________________

Modalities, Type & Duration, if any: ____________________________________________________________________________

Is further surgical intervention warranted: ____Yes       ____No      Notes:______________________________________________

Complicating Factors:
Diabetes                   Aneurisms            Anti-Coagulation Tx          Psoriasis/Auricular    Recent Heart Attack
Blood Pressure             Spinal Stenosis      Under15 yrs/age              Skin Allergies         Pregnant
Overweight                 Bell’s Palsy         Renal Insufficiencies        Implanted Electrical Devices
Severe Obesity             Other Heart_________________________               Other_________________________

ADL Deficits:
Standing_______            Walking_______            Dressing_______         Lifting________
Housework______            Bathing________           Sitting________         Other______________________________

Notes:__________________________________________________________________________________________________

Treatment Goals – Short Term (aeb=as evidenced by):
   Decrease Pain/Inflammation by ____% w/I ____ visits       Decrease % of time in pain by ____% w/i _____visits
   Increase ROM to _______________area by _____% w/i _____visits   _______________area by _____% w/i _____visits
   Increase Sleep by:______________________________________________________________________________________
   Reduce Narcotics by:____________________________________________________________________________________
   Improve ADLs aeb______________________________________________________________________________________
   Other_________________________________________________________________________________________________

Long Term Treatment Goals (aeb=as evidenced by):
  100% or _____% pain reduction of affected area(s) Restore 100% or _____% of normal ROM of the affected area(s)
  Restore 100% or _____% of following ADLs: sleep lift sit stand walk work household chores
  Other__________________________________________________________________________________________________


    Contraindications to Neurostimulator: No Known Contraindications                Contraindications as follow:
    ___Epilepsy or Hx of Seizures   ___Pacemaker/Irregular Heart Rhythm    ___Recent Transplant          ___Orthostatic Hypotension


Type of Care: Acute Pain Management Chronic Pain Management                   Post-Operative Other____________________

Frequency of Care:

  Every 5th day for ___ x’s         1x/week for ___weeks         1x in 2 weeks     1x in 3 weeks          PRN

  Initial estimate # staged neurostimulator procedures_________                     Re-evaluation Date:_____________

__________________________________________________________________                          _______________            ______________

Ordering Provider                                                                                 Date                  Revision Date



Please include along with this form patient demographic and a copy of the health insurance card (front and back)
              Case
               Case1:19-cv-00355-RDB
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                                          Practice Info Here



Phone:                                                                           Fax:

PATIENT NAME:

DATE:

PREPROCEDURE DIAGNOSIS:
POSTPROCEURE DIAGNOSIS: Same

COMPLICATIONS: None

PROCEDURES:
    1. Percutaneous implantation of neurostimulator electrodes-peripheral nerves


INDICATIONS: Insert any chronic/acute pain

Procedure Performed: Analysis of neurostimulator device operation and neurostimulator device placement to
the peripheral nerves. Three electrodes and one ground were implanted in the following nerve sites: auricular
branches of the occipital, trigeminal, vagal and greater auricular nerves. (This is the second of six weekly staged
procedures. Each procedure will be performed during the global period.)


Procedure Detail:       After consent was obtained, the (left/right) mastoid process and ear was cleaned and
prepped in the usual fashion using alcohol swabs. The NSS procedure kit was opened. Neurostimulator
generator was then activated, and attached to the sterile needle electrode arrays. The specific auricular nerve
bundles were identified via transillumination and marked with a surgical pen. The neurostimulator generator
was then fixed to the mastoid process. Three electrodes were then percutaneously implanted at the previously
listed nerve sites. The NSS generator, electrodes, and wires were then properly taped and protected in the usual
fashion using Tagaderm sterile dressing. No complications were experienced and the patient was released.
     .

POSTPROCEDURE

I.       RECOVERY: Uneventful.
II.      RESPONSE: Indeterminate. Follow up appointment in 1 week
III.     DISPOSITION: The patient tolerated the procedure well without any complications or side effects.
         Heart rate and blood pressure were stable prior to, during and after the procedure. The patient was
         monitored for 30 minutes after the procedure. Pain diary provided. Patient to follow up in one week.



Insert Doctor’s Signature Here
Name:
Date:
Case
 Case1:19-cv-00355-RDB
      1:19-cv-00355-LKG Document
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            Exhibit 9
    Case
     Case1:19-cv-00355-RDB
          1:19-cv-00355-LKG Document
                             Document74-2
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                                                                       242




---------- Forwarded message ----------
From: Bobby Smith <bobby@ihcsnation.com>
Date: Wed, Sep 9, 2015 at 9:04 PM
Subject: Fwd: Research
To: Ritu Bhambhani <rt.bhambhani@gmail.com>
Cc: Brian Carrico <Brian@i-h-s.com>


Ritu, Attached are a few of the current and ongoing studies for the NSS device. I will send you under
separate cover an additional email with a few training videos. I have cc'd Brian Carrico one of the
owners and pioneers of this technology. I have informed him as to the tremendous opportunities
within your practice. He is going to forward you some additional studies as well.

Sincerely,
Case
 Case1:19-cv-00355-RDB
      1:19-cv-00355-LKG Document
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 Robert A Smith

 Innovative Health Care Solutions Inc.

 VP of Sales and Marketing

 C 410-977-8777

 F 410-561-4772
    Case
     Case1:19-cv-00355-RDB
          1:19-cv-00355-LKG Document
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---------- Forwarded message ----------
From: Bobby Smith <bobby@ihcsnation.com>
Date: Wed, Sep 9, 2015 at 9:07 PM
Subject: Training/ patient selection
To: Ritu Bhambhani <rt.bhambhani@gmail.com>


The following short videos will familiarize you with the placement and process of the NSS
device; our trainer will be on site to walk you through it:

EAD Training Video:  https://vimeo.com/user17291718/review/110270072/b986ff4479
Dorsal Video:  https://vimeo.com/user17291718/review/125929652/e29b5bd30e

The following are a partial list of applications for the device. I look forward to working with
you to integrate this exciting new technology into your practice.


•Chronic Pain
•Back Pain
•Cancer Pain
    Case
     Case1:19-cv-00355-RDB
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•Arthritis & Joint Pain
•Neuropathies
•Craniofacial Pain
•Patients with opioid contraindications, such as addictions or allergies
•Acute Pain
•Migraines
•Wound Care
•Vascular Insufficiency
•Fibromyalgia
•Post Surgical Pain Management



Robert Smith
Innovative Health Care Solutions, LLC.
VP of Sales and Marketing
P 410-977-8777
F 410-561-4772
Case
 Case1:19-cv-00355-RDB
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         Exhibit 10
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                Case1:19-cv-00355-RDB
                     1:19-cv-00355-LKG Document
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orders@acclivitymedical.com
www.acclivitymedical.com



INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1356
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 09/14/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 12/13/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Net 90 from invoice
#102                              Suite 300                                              date
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
09/14/2015     UPS 2 Day      1Z45W87Y024202
                              9020


 DESCRIPTION                                                          QTY             RATE             AMOUNT

 01-1010-NSS-EAD                                                          20        900.00           18,000.00
 NeuroStim System-EAD




                                                            BALANCE DUE
                                                                                             $18,000.00
               Case
                Case1:19-cv-00355-RDB
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1377
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 10/06/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 01/04/2016
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Net 90 from invoice
#102                              Suite 300                                              date
Havr DeGrace, MD 21078            Abingdon, MD 21009

                                             CUSTOMER
SHIP DATE      SHIP VIA       TRACKING NO.   P.O. #
10/06/2015     UPS Ground     1Z45W87Y034142 Fax
                              4932


 DESCRIPTION                                                          QTY             RATE             AMOUNT

 01-1010-NSS-EAD                                                          20        900.00           18,000.00
 NeuroStim System-EAD




                                                            BALANCE DUE
                                                                                             $18,000.00
               Case
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1387
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 10/19/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 10/19/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Already Paid
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

                                            CUSTOMER
SHIP DATE      SHIP VIA      TRACKING NO.   P.O. #
10/19/2015     UPS Overnight 1Z45W87Y014278 Kristina Vellines
                             1361


 DESCRIPTION                                                          QTY             RATE              AMOUNT

 01-1010-NSS-EAD                                                          20        600.00             12,000.00
 NeuroStim System-EAD




                                                            SUBTOTAL                               12,000.00
                                                            SHIPPING                                   86.43
                                                            TOTAL                                  12,086.43
                                                            PAYMENT                                12,086.43
                                                            BALANCE DUE
                                                                                                       $0.00
               Case
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1394
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 10/26/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 10/26/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Already Paid
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
10/28/2015     UPS Ground     1Z45W87Y034113
                              0526


 DESCRIPTION                                                          QTY             RATE              AMOUNT

 01-1010-NSS-EAD                                                          20        600.00             12,000.00
 NeuroStim System-EAD




                                                            PAYMENT                                12,000.00
                                                            BALANCE DUE
                                                                                                       $0.00
               Case
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1403
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 11/05/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 11/05/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Pay in advance
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
11/05/2015     UPS Ground     1Z45W87Y034040
                              3699


 DESCRIPTION                                                          QTY             RATE               AMOUNT

 01-1010-NSS-EAD                                                          20        600.00          12,000.00
 NeuroStim System-EAD




                                                            PAYMENT                                12,000.00
                                                            BALANCE DUE
                                                                                                    $0.00
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1410
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 11/18/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 11/18/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Pay in advance
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
11/17/2015     UPS Ground     1Z45W87Y034092
                              2584


 DESCRIPTION                                                          QTY             RATE               AMOUNT

 01-1010-NSS-EAD                                                          20        600.00          12,000.00
 NeuroStim System-EAD




                                                            PAYMENT                                12,000.00
                                                            BALANCE DUE
                                                                                                    $0.00
               Case
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1417
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 11/24/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 11/24/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Pay in advance
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
11/27/2015     UPS Ground     1Z440X740337796
                              429


 DESCRIPTION                                                          QTY             RATE               AMOUNT

 01-1010-NSS-EAD                                                          20        600.00          12,000.00
 NeuroStim System-EAD




                                                            PAYMENT                                12,000.00
                                                            BALANCE DUE
                                                                                                    $0.00
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1427
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 12/07/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 12/07/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Pay in advance
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
12/08/2015     UPS Ground     1Z45W87Y034166
                              7180


 DESCRIPTION                                                          QTY             RATE               AMOUNT

 01-1010-NSS-EAD                                                          20        600.00          12,000.00
 NeuroStim System-EAD




                                                            PAYMENT                                12,000.00
                                                            BALANCE DUE
                                                                                                    $0.00
               Case
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INVOICE
BILL TO                           SHIP TO                                      INVOICE # 1442
Dr. Ritu Bhambhani                Dr. Ritu Bhambhani                               DATE 12/29/2015
Box Hill Surgery Center           Box Hill Surgery Center                      DUE DATE 12/29/2015
603 Revolution St.                100 Walter Ward Blvd.                           TERMS Pay in advance
#102                              Suite 300
Havr DeGrace, MD 21078            Abingdon, MD 21009

SHIP DATE      SHIP VIA       TRACKING NO.
12/30/2015     UPS Ground     1Z45W87Y034143
                              9962


 DESCRIPTION                                                          QTY             RATE               AMOUNT

 01-1010-NSS-EAD                                                          20        600.00          12,000.00
 NeuroStim System-EAD




                                                            PAYMENT                                12,000.00
                                                            BALANCE DUE
                                                                                                    $0.00
        Case
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INVOICE
BILL TO                       SHIP TO                           INVOICE #   1465
Dr. Ritu Bhambhani            Dr. Ritu Bhambhani                    DATE    02/05/2016
Box Hill Surgery Center       Box Hill Surgery Center           DUE DATE    02/05/2016
603 Revolution St.            100 Walter Ward Blvd.                TERMS    Pay in advance
#102                          Suite 300
Havr DeGrace, MD 21078        Abingdon, MD 21009

SHIP DATE                      SHIP VIA                    TRACKING NO.
02/05/2016                     UPS Ground                  1Z45W87Y0341549183


 DESCRIPTION                                            QTY            RATE          AMOUNT

 01-1010-NSS-EAD                                         20           600.00        12,000.00
 NeuroStim System-EAD


                                                  SUBTOTAL                          12,000.00
                                                  SHIPPING                              24.95
                                                  TOTAL                             12,024.95
                                                  PAYMENT                           12,024.95
                                                  BALANCE DUE
                                                                                     $0.00
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INVOICE
BILL TO                       SHIP TO                           INVOICE #   1475
Dr. Ritu Bhambhani            Dr. Ritu Bhambhani                    DATE    02/18/2016
Box Hill Surgery Center       Box Hill Surgery Center           DUE DATE    02/18/2016
603 Revolution St.            100 Walter Ward Blvd.                TERMS    Pay in advance
#102                          Suite 300
Havr DeGrace, MD 21078        Abingdon, MD 21009

SHIP DATE                      SHIP VIA                    TRACKING NO.
02/18/2016                     Fedex Ground                775681565660


 DESCRIPTION                                            QTY               RATE       AMOUNT

 01-1010-NSS-EAD                                         20           600.00        12,000.00
 NeuroStim System-EAD


                                                  SUBTOTAL                          12,000.00
                                                  SHIPPING                              24.95
                                                  TOTAL                             12,024.95
                                                  PAYMENT                           12,024.95
                                                  BALANCE DUE
                                                                                     $0.00
         Case
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INVOICE
BILL TO                       SHIP TO                           INVOICE #   1489
Dr. Ritu Bhambhani            Dr. Ritu Bhambhani                    DATE    03/09/2016
Box Hill Surgery Center       Box Hill Surgery Center           DUE DATE    03/09/2016
603 Revolution St.            100 Walter Ward Blvd.                TERMS    Pay in advance
#102                          Suite 300
Havr DeGrace, MD 21078        Abingdon, MD 21009

SHIP DATE                      SHIP VIA                    TRACKING NO.
03/09/2016                     Fedex Ground                775835424506


 DESCRIPTION                                            QTY               RATE       AMOUNT

 01-1010-NSS-EAD                                         20           600.00        12,000.00
 NeuroStim System-EAD


                                                  SUBTOTAL                          12,000.00
                                                  SHIPPING                              24.95
                                                  TOTAL                             12,024.95
                                                  PAYMENT                           12,024.95
                                                  BALANCE DUE
                                                                                     $0.00
         Case
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INVOICE
BILL TO                       SHIP TO                           INVOICE #   1500
Dr. Ritu Bhambhani            Dr. Ritu Bhambhani                    DATE    03/28/2016
Box Hill Surgery Center       Box Hill Surgery Center           DUE DATE    03/28/2016
603 Revolution St.            100 Walter Ward Blvd.                TERMS    Pay in advance
#102                          Suite 300
Havr DeGrace, MD 21078        Abingdon, MD 21009

SHIP DATE                          SHIP VIA                TRACKING NO.
03/29/2016                         UPS Ground              1Z45W87Y0342916793


 DESCRIPTION                                            QTY            RATE          AMOUNT

 01-1014 - NSS/EAD 411 Array                             20           600.00        12,000.00
 NeuroStim System- EAD 411 Array


                                                  SUBTOTAL                          12,000.00
                                                  SHIPPING                              24.95
                                                  TOTAL                             12,024.95
                                                  PAYMENT                           12,024.95
                                                  BALANCE DUE
                                                                                     $0.00
         Case
          Case1:19-cv-00355-RDB
               1:19-cv-00355-LKG Document
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INVOICE
BILL TO                       SHIP TO                           INVOICE #   1513
Dr. Ritu Bhambhani            Dr. Ritu Bhambhani                    DATE    04/11/2016
Box Hill Surgery Center       Box Hill Surgery Center           DUE DATE    04/11/2016
603 Revolution St.            100 Walter Ward Blvd.                TERMS    Pay in advance
#102                          Suite 300
Havr DeGrace, MD 21078        Abingdon, MD 21009

SHIP DATE                          SHIP VIA                TRACKING NO.
04/11/2016                         UPS Ground              1Z45W87Y0340387832


 DESCRIPTION                                            QTY            RATE          AMOUNT

 01-1014 - NSS/EAD 411 Array                             60           600.00        36,000.00
 NeuroStim System- EAD 411 Array


                                                  SUBTOTAL                          36,000.00
                                                  SHIPPING                              35.00
                                                  TOTAL                             36,035.00
                                                  PAYMENT                           36,035.00
                                                  BALANCE DUE
                                                                                     $0.00
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Acclivity Medical
456 Glengarry Way.
Covington, KY 41011
(513)415-9977
orders@acclivitymedical.com
www.acclivitymedical.com

INVOICE
BILL TO                       SHIP TO                           INVOICE #   1546
Dr. Ritu Bhambhani            Dr. Ritu Bhambhani                    DATE    06/22/2016
Box Hill Surgery Center       Box Hill Surgery Center           DUE DATE    06/22/2016
603 Revolution St.            100 Walter Ward Blvd.                TERMS    Pay in advance
#102                          Suite 300
Havr DeGrace, MD 21078        Abingdon, MD 21009

SHIP DATE                          SHIP VIA                TRACKING NO.
06/22/2016                         UPS Ground              1Z45W87Y0342057668


 DESCRIPTION                                            QTY            RATE          AMOUNT

 01-1014 - NSS/EAD 411 Array                             80           600.00        48,000.00
 NeuroStim System- EAD 411 Array


                                                  SUBTOTAL                          48,000.00
                                                  SHIPPING                              35.00
                                                  TOTAL                             48,035.00
                                                  PAYMENT                           48,035.00
                                                  BALANCE DUE
                                                                                     $0.00
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---------- Forwarded message ----------
From: Kristen Brannon <kristen@ihcsnation.com>
Date: Mon, Sep 28, 2015 at 4:12 PM
Subject: I have clarification
To: Ritu Bhambhani <rt.bhambhani@gmail.com>



It’s no longer necessary to add modifier 58 to procedure code 64555 in an ASC. However
continue to document that its related to a staged procedure. Rebill both denials without
modifier.



Kristen Brannon

Innovative Healthcare Solutions

VP Of Operations
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502-561-0963 Office

502-303-0919 Cell

1-800-884-9650 efax
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---------- Forwarded message ----------
From: Kristen Brannon <kristen@ihcsnation.com>
Date: Tue, Sep 29, 2015 at 3:34 PM
Subject: Billing in an ASC
To: Ritu Bhambhani <rt.bhambhani@gmail.com>
Cc: Bobby Smith <bobby@ihcsnation.com>



Medicare is no longer requiring that you pin a modifier with the code 64555. Bill all claims
with no modifier except when you are billing your professional fee. You can rebill the claims
that were denied because when a claim is rejected it’s as if it has never been billed. Also, when
a claim is rejected with Medicare you cannot correct over the phone only denied claims can be
corrected over the phone this claim was rejected..



Kristen Brannon

Innovative Healthcare Solutions
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VP Of Operations

502-561-0963 Office

502-303-0919 Cell

1-800-884-9650 efax
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---------- Forwarded message ----------
From: Kristen Brannon <kristen@ihcsnation.com>
Date: Tue, Dec 8, 2015 at 3:55 PM
Subject: RE:
To: Ritu Bhambhani <rt.bhambhani@gmail.com>



64555 & L8680 X 3




From: Ritu Bhambhani [mailto:rt.bhambhani@gmail.com]
Sent: Tuesday, December 08, 2015 3:47 PM
To: Kristen Brannon
Subject:




Good Afternoon,
     Case
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I'm trying to follow up on Tammy Long's authorization for the PNS. What codes are used for
workers compensation.

Thank you,

Kristina

**

100 Walter Ward Boulevard
Suite 300
Abingdon, MD 21009


Office: (410) 569-3333
Fax: (877) 595-7180

Note: This email and its attachments may contain privileged and confidential information
and/or protected health information (PHI) intended solely for the use of ______________ and
the recipient(s) named above. If you are not the recipient, or the employee or agent
responsible for delivering this message to the intended recipient, you are hereby notified that
any review, dissemination, distribution, printing or copying of this email message and/or any
attachments is strictly prohibited. If you have received this transmission in error, please
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---------- Forwarded message ----------
From: Brian Carrico <Brian@i-h-s.com>
Date: Thu, Sep 1, 2016 at 1:50 PM
Subject: NSS Devices
To: rt.bhambhani@gmail.com
Cc: Bobby Smith <bobby@ihcsnation.com>


Hi Dr Bhambhani

I hope this finds you well. I have been told of the CMS request for documents. IHS has not
and does not get involved in billing and coding in any way but I do have an attorney I can
refer you to who specializes in dealing with these situations.

Bobby also let me know you have devices that you want to return. I have good and bad news.
The bad news is that we have a strict policy related to the FDA which does not allow us to
return devices. The good news is that you see a lot of commercial patients which require a pre
auth which protects you. I am guessing you, like countless other physicians, have not done
these because it requires significant time to do pre authorize, etc. IHS has been referring
physicians like yourself to Alliance Med in Scottsdale, AZ for a while and they do a
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tremendous job of pre authorizing and billing for the NSS which will allow you to have 0
headaches, help patients, be very profitable, and be protected.

I would strongly urge you to let me connect you with them so you can continue to help people
in a more controlled and protected environment.

I look forward to hearing back from you today.

Thank You




Brian Carrico
VP of Sales
Innovative Health Solutions
317-409-7617
Brian@I-H-S.com
www.I-H-S.com
Case
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Ginny Goldbach

From:                           Matt Miller <matthewmiller1025@gmail.com>
Sent:                           Tuesday, September 22, 2015 10:24 AM
To:                             Ginny Goldbach
Subject:                        Re: NSS Pre-Cert sample
Attachments:                    NSS - ASC Billing Overview.docx


Guidelines that also could be helpful to understand NSS for post-op pain:




On Sep 22, 2015, at 10:05 AM, Matt Miller <matthewmiller1025@gmail.com> wrote:


       Sample of pre-cert letter used in the past. Bottom paragraph would need to be changed to reflect
       diagnosis and treatment.


       <precert v.2therapeutic ASC.doc>


       Matt Miller - Distributor/Principal


       <PastedGraphic-7.tiff>

       412-401-8565
       matthewmiller1025@gmail.com




       On Sep 22, 2015, at 9:48 AM, Matt Miller <matthewmiller1025@gmail.com> wrote:


                Some EOB’S for NSS use. Some seem to have code modifiers or placement sites
                added as well. Hope this helps.

                <unknown.jpeg>
                <unknown.jpeg>
                <unknown.jpeg>
                <unknown.jpeg>
                <unknown.jpeg>

                Matt Miller - Distributor/Principal


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 <PastedGraphic-7.tiff>
 412-401-8565
 matthewmiller1025@gmail.com




 On Sep 22, 2015, at 9:02 AM, Matt Miller <matthewmiller1025@gmail.com>
 wrote:


         <EAD Brochure.pdf>
         <NSS Protocols Rev-001.pdf>
         <NSS - Science and Overview.docx>

         Brochure, Protocols and Science/Overview of how NSS works.

         Aligning PENS codes and accessing peripheral nerve pathways.

         Ginny, please contact me with any questions or to review.

         MM

         Matt Miller - Distributor/Principal


         <PastedGraphic-7.tiff>

         412-401-8565
         matthewmiller1025@gmail.com




         On Sep 22, 2015, at 8:56 AM, Sudhir Rao
         <srao@PAINANDSPINESPECIALISTS.COM> wrote:


                  Matt,

                  Please email Ginny the brochure Info for NSS so
                  she can review and look into Highmark policy. Thx

                  Sudhir

                  Sent from my iPhone




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                     ASC BILLING POST OP PAIN MANAGEMENT


    1) Cannot be used for every case. There are no guidelines, however, if used for
       70% or more cases, the patients insurance will consider it routine care, which is
       not separately reimbursable. The physician must determine which patients will
       benefit the most from NSS as pain management device and utilize accordingly.

    2) The question to ask is which patients/types of cases have the most post
       operative pain?

    3) Be aware of the patients’ financial responsibility. If “in-network’ the patients
       deductible will obviously be less. “Out-of-network” patients’ responsibility will be
       greater. Like other treatments, the provider (ASC or Physician) must show an
       effort to collect the deductible/co-pay regardless of whether provider is in or out
       of network.

    4) The device can be placed pre-operatively, outside of OR suite. A precedent has
       been set by Medicare that a device can be placed pre-op to address post-
       operative pain. If placed intra-operatively there will always be a multiple-
       procedure discount taken. If applied after surgery it is important to place in
       PACU or holding area, not in the surgical suite. (All Payors). Even when placed
       in PACU some payers will sometimes take a multiple procedure discount (usually
       25%).

        Additional Suggestions:

        Documentation may be requested by payors. It is important that physician have
        supporting info that shows why the device is being used. One good additional
        support for medical necessity is if the patient has a documented history of
        substance abuse or allergies to narcotics that require an alternate treatment for
        post-op pain management.

        The ASC will receive the bulk of the reimbursement (device reimbursement is
        rolled into the procedure reimbursement). However, physician can also bill for
        64555 with a modifier “PC” which pays just under $200 in most cases.


All jurisdictions will pay 80% of allowable under Medicare guidelines; patient or their
supplement responsible for the remaining 20%.




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          NSS - NeuroStim System / Military Field Stimulator

The NSS/MFS is a physician applied, ambulatory, neurological device
which consists of a battery powered externally affixed generator, 4 wire
leads attached to 3 electrode/ needle arrays and one single point needle.
The arrays are designed to produce a field effect similar to surgically
implanted peripheral neurostimulators. The modulation of the device
ranges from 1~10Hz during pulsations.
The electrode/needle arrays are implanted according to the individual’s
arterial and cranial nerve anatomy. The exact location of the implantation
is determined by both knowledge of auricular neuro- anatomy and
visualization of the neurovascular bundles by a patent pending
transillumination technique (Christopher R. Brown DDS, MPS). The
electrode / needle array must be percutaneously implanted to within .5-
1mm of the neurovascular bundles to allow for proper energy transfer
according to Coulomb’s and Ohm’s laws. The implantation locations are
therefore determined by a properly trained physician based strictly on
neurovascular anatomy and will vary from person to person.
Once the arrays are implanted the patient is observed for clinical signs,
which includes auricular vasodilation, warming of the tissue, lack of site
implantation pain, bleeding, and symptom reduction similar to observation
guidelines for surgically implanted peripheral neuro-stimulators. The
generator is designed to turn on and off every two hours and have a
total run time of 120 hrs. The NSS is a disposable, single use device.
(see Table A for comparisons)

Clinical Application of the NSS Neurostimulator for the treatment of
Acute and Chronic Pain
The NSS peripheral nerve field stimulator is the only ambulatory, physician
applied, minimally invasive application of electrical neural stimulation
implanted directly into the neurovascular bundles of the external ear
verified by transillumination. A generator located behind the affected ear,
produces electrical stimulation impulses, which are transferred via an
electrode/ needle array to branches of cranial and/or occipital nerves and
sympathetic fibers of the arterial branches. The NSS neurostimulator
allows for continuous, intermittent (2 hrs. on and 2 hrs. off) neurovascular
stimulation for 120 hours while allowing the patient to remain ambulatory
during the treatment of both acute and chronic pain.
Electrode implantation into the skin of the ear allows for direct access to
branches of Cranial Nerves V, VII, IX, X as well as branches of the
occipital nerves.(16) Direct access to the arterial branches of the head and
neck are accessible (17) and reduction of sympathetic stimulation results
in an increase of vascular flow rate, reduction of vascular resistance, and
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increase of perfusion (18,19 ) The arterial branches of the superficial
temporal artery ( STA ) and the posterior auricular artery ( PAA ) form a
rich interconnecting complex network the terminal branches of which
anastomose through out the ear.
(Table B)
Since the external auricle is rich with branches of cranial nerves V,VII, IX,
and X , branches of the lesser and greater occipital nerves, the upper
cervical plexus and arterial branches (STA, PAA ) that directly lead into the
head and neck, NSS neurostimulator provides direct stimulation to these
entities and may directly affect the anatomical areas through which they
traverse. (20, 21) Sensory innervation found in the external auditory
meatus can reflect or refer pain from the ear, upper and lower digestive
tracts, TMJ’s, teeth, salivary glands, and / or the thyroid gland. (22) The
trigeminal nerve also accompanies the superficial temporal artery and vein
which directly feeds into the TMJ’s. (23) There is not an anatomical area
which is solely one type of cranial nerve or arterial branches at any given
location in an area of the external ear. (24) Innervation of the external ear
is diverse and may vary from individual to individual. (25) Each “zone “of
the external ear is innervated by two different cranial branches of the
lesser and greater occipital nerves and upper cervical plexus, and arterial
branches which lead to the head and neck. There is no part of the ear
however which contains three different cranial nerve branches. (26)
Many of the pathways intersect and interact in the trigeminal complex.
Anti-nociceptive activity in the trigeminal complex involves inhibitory control
of afferent nociception, serotonin fluctuation and concurrent vagal
stimulation. The trigeminal complex is an essential component in the
development of central sensitization and peripheral sensitization probably
through sympatho-afferent coupling, a key to sympathetic pain
maintenance (27) The mandibular division of Cranial nerve V (trigeminal) is
also implicated with mediation of migraine headaches. Direct implantation
into branches of the trigeminal nerves can be found in the lobe, inner
concha and anterior to the tragus of the ear.
Branches of the vagal nerve are found in almost all aspects of the external
ear. There are some regions with a greater concentration than others but
all are easily accessed with the leads of the NSS neurostimulator.
The mechanism of induced analgesia is speculated to be as a result of
neuro-modulation (inhibition of small C fibers) (28) and an increase of
endogenous morphine - like substances within the central nervous system
(CNS) (29) The NSS neurostimulator achieves a rapid onset of analgesia
and is a safe, additive, non-addictive, non-pharmaceutical approach to
pain management in a clinical setting.
The NSS neurostimulator may also alleviate other symptoms commonly
associated with CSS (central sensitization syndrome) which involves
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“hyper-excitability” of the CNS resulting in headaches, body pain,
confusion, sleep disturbances, and chronic fatigue (30). Direct access by
the NSS neurostimulator into the spinal cord via the lesser and greater
occipital nerves, cranial nerves, and sympathetic reduction along with
endogenous endorphin production, may account for the reduction of these
symptoms. Electro-analgesia is thought also to be mediated by three types
of CNS opioid receptor sites: mu, sigma, and kappa (31) producing a more
regionalized analgesia effect indicated by the use of the NSS
neurostimulator.
The decrease in the use of oral analgesics including opioids has been
noted as well with the NSS neurostimulator. All symptom reduction and
behavioral changes noted in the APS Bulletin and University of
Birmingham review (32, 33) correlate well with those found with the NSS
peripheral neurostimulator.
Other percutaneous electrical neural stimulation methods stimulate in only
15, 30-45 minute applications applied twice per week over the course of
several weeks. An increase in analgesia was noted by the longer duration
of various applications (34) All noted percutaneous electrical neural
stimulation techniques are designed to follow dermatomes (35) while the
NSS neurostimulator directly implants into the cranial nerves, blood
vessels, and the soft tissue surrounding them. Auricular neurovascular
bundles/ arterial branches are initially visualized by transillumination
utilizing an Auricular Transilluminator (IHS, Versailles, IN) via a specific
technique.
Utilization of both techniques is essential to help verify the most optimal
electrode implantation into the underlying neurovascular bundles. The
positive results achieved by the stimulation is dependent on the precise
placement of the electrode into the neurovascular bundles. The precise
neurovascular application, electrode arrays, and clinical technique,
including transillumination clearly separates the use of the NSS. Placing
the patent pending electrode array directly into the neurovascular bundles
is a technical advancement of previously published methodology,
experimental approach, and rationale.
The NSS neurostimulation system allows for direct, physician applied,
ambulatory, continual treatment. The use of electrical stimulation has
reduced the need for analgesic drugs such as NSAIDS, and central acting
Opioids. (36)This may also help alleviate the dependencies, addictions,
and other common complications found with opioid use such as
immunosuppression, constipation, and hyperalgesia. (37, 38, 39, 40)
Electrical neural stimulation such as the NSS neurostimulator can be
considered as a useful, non-pharmaceutical adjunct or replacement for
opioid and non-opioid analgesics and should be considered as a viable
non narcotic treatment option for chronic pain with sleep disturbance co-
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morbidity. (41)
The APS bulletin (vol 9, Number 2, March/April 1999 White, MD PhD,
Phillips, et al) compared findings from a group of publications (42) as well
as did The University of Birmingham, Alabama. (43) and collectively noted
the following results consistently with peripheral neural stimulation
Summary:
The use of percutaneous electrical neural stimulation is a non-narcotic
alternative to acute and chronic pain. The NSS neurostimulator, is the only
physician applied ambulatory, continuous, home based therapy, which is
designed to be directly implanted into auricular neural vascular bundles
ascertained by neurovascular anatomy verified by auricular
transillumination. Preliminary data indicates the use of the NSS
neurostimulator also substantially reduces the need for analgesics
including NSAID’s and central acting opioids potentially reducing the co-
morbidities of unwanted significant side effects often associated with
analgesic pain control.
The use of percutaneous electrical neural stimulation has been shown as a
viable alternative to escalating opioid and non-opioid dosages even in the
management of cancer pain. (44, 45, 46, 47)
The NSS peripheral nerve field is an easily applied, cost effective, safe,
non pharmaceutical neurological based treatment alternative which is
anticipated to reduce ancillary health care costs associated with acute and
chronic pain, improve sleep, and reduce opioid use. Because of the length
of application of the NSS neurostimulator both actively (two hours) and
duration (five days), a longer residual effect is noted as a result of potential
neuroplastic changes and endogenous endorphin production indicated
beyond that of other peripheral electrical neural stimulation techniques.
The use of the NSS nerve field stimulator as an adjunct with other means
of treatment such as oral medications, injectables, surgical procedures,
physical and manipulative therapy, exercise, and nutrition, will integrate
well into the established medical model. Use in out- patient and hospital
post-operative situations holds great promise for reduced healing time,
pain control, and reduction of opioid consumption.
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                                                         Now Featuring:
                                                                                                                                                                  www.I-H-S.com
                                                                                                                                                                            info@i-h-s.com
                                                                                                                                                                                      (812) 609-4183




                                                                                                                                                                 Restrictions of NSS use include:
                                                                                                                                                                 •Implantable electrical devices including
                                                                                                                                       ™
                                                                                                                              Surgical Kit
                                                                                                                                                                  cardiac pace makers and brain shunts
                                                                                                                                                                 •History of seizures
                                                                                                                                   Featuring:




Proudly Assembled & Packaged
     In The United States
                                                                                                                                                                 •Bleeding disorders
                         Kit Contents:
                                   BFS vGenerator     Sterile Needle Pack        Array Fixation Plasters       Surgical Marker    Auricular Transilluminator ®
                                                                                                                                                                 •Chronic low blood pressure
                                   Device Fixation Plasters       Alcohol Swab          Tweezers           Instructions For Use   Steri-Strip™
                                                                                                                                                                 •Medications design to stimulate the
                                                                                                                                                                  sympathetic nervous system                 “The Non Narcotic Alternative For
                                                                                                                                                                 •Psoriasis Vulgaris                              Acute and Chronic Pain”
                                                                                                                                                                 •Localized skin infections
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The NSS™ (Neuro-Stim System™) is
a family of products, methods, training
and service conveniently packaged to provide
care to a target population of acute and chronic
pain patients.
                                                       Clinical
                                                       and anecdotal
                                                       evidence in the
                                                       application of this device,
                                                       and previously distributed IHS
                                                       devices, have been overwhelmingly
                                                       positive! IHS is dedicated to working with
                                                       the Henry Jackson Foundation and the
                                                       DVCIPM (Department of Veterans
                                                       Complementary and Integrative Pain Medicine)                                 EAD™ Device
                                                       sponsoring studies. One such present study, is                                (Actual Size)
                                                       entitled; Double-Blind, Randomized, Sham
                                                       Controlled Study on the Effects of Neuro-Stim
The EAD™ (Electro Auricular Device™) is an
                                                       System on Pain, Sleep and Opioid Use in Wounded
auricular peripheral nerve field stimulator
                                                       Soldiers.                                                   The NSS™ allows clinicians the option of considering
appliance contained in the NSS kit. This device is
designed to provide you, the clinician, with                                                                         a non-narcotic alternative for patients. Each IHS
another tool in your toolbox to address the many                                                                    representative is carefully trained and must pass a
problems you face in your day-to-day practice. The                                                                   certification exam including written, visual, and
EAD™ is an FDA cleared device. Specific                                                                            hands-on training. Each clinician providing the NSS™
instructions and information concerning this           IHS is also involved with several university-based          must also successfully complete an IHS certification
device can be found in the IFU (Indications for Use)   studies and is dedicated to providing solid scientific                            program.
contained inside the packaging of every EAD™           evidence to fully verify clinical and anecdotal data. IHS
device.                                                is a proud sponsor of the Wounded Warriors Project.
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         Exhibit 17
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Ginny Goldbach

From:                                       Matt Miller <matthewmiller1025@gmail.com>
Sent:                                       Tuesday, September 22, 2015 10:09 AM
To:                                         Ginny Goldbach
Subject:                                    Fwd: NSS EOB's
Attachments:                                2015 Medicare ASC.pdf; UHC 7-2014.pdf


Let me know if this is better.

Begin forwarded message:



        From: Ryan Kuhlman <ryankuhlman@acclivitymedical.com>
        Subject: EOB's
        Date: September 20, 2015 at 3:24:14 PM EDT
        To: Matthew Miller <matthewmiller1025@gmail.com>

        See attached.


        Ryan Kuhlman
        Acclivity Medical
        "Offering non-narcotic solutions for pain management"
        Phone: 513-415-9977
        Fax: 513-672-2422
        www.acclivitymedical.com
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         Exhibit 18
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 Type: All transactions &middot; Status: All statuses &middot; Name: Acclivity Medicaft &middot; Date: All
      Date            Type        No.         Payee          Category           Memo            Total




                                                                          IN *ACCLIVITY
                                                            Due From      MEDICAFT. WRIGHT
                                                            SimCare ASC   345IAIYXZ35
12/11/2015       Expense                 Acclivity Medicaft LLC           5134159977                5,000.00




                                                                          IN *ACCLIVITY
                                                            Due From      MEDICAFT. WRIGHT
                                                            SimCare ASC   014IA0DH375
01/14/2016       Expense                 Acclivity Medicaft LLC           5134159977                5,024.25




                                                                          IN *ACCLIVITY
                                                            Due From      MEDICAFT. WRIGHT
                                                            SimCare ASC   056IAIZ1XCE
02/25/2016       Expense                 Acclivity Medicaft LLC           5134159977                5,024.25




                                                                          IN *ACCLIVITY
                                                            Due From      MEDICAFT. WRIGHT
                                                            SimCare ASC   099IAIZ9JWF
04/08/2016       Expense                 Acclivity Medicaft LLC           5134159977                5,024.25
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                                                              Simcare ASC LLC
                                                             Transaction Report
                                                           January 2015 - December 2017

             Transaction                              Memo/Descript
     Date       Type        Adj         Name              ion                             Account                                   Split           Amount




05/27/2016   Expense       No     Acclivity Medical   equipment???    2010 Credit cards payable:American Express 91002   5790 Supplies - medical       5,024.25

07/14/2016   Expense       No     Acclivity Medical                   2010 Credit cards payable:American Express 91002   5790 Supplies - medical       5,024.25

08/05/2016   Expense       No     Acclivity Medical                   2010 Credit cards payable:American Express 91002   5790 Supplies - medical       5,024.25

09/21/2016   Expense       No     Acclivity Medical                   2010 Credit cards payable:American Express 91002   5790 Supplies - medical       5,024.25

10/20/2016   Expense       No     Acclivity Medical                   2010 Credit cards payable:American Express 91002   5790 Supplies - medical       5,024.25

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         Exhibit 19
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                                    Chronological List of Transactions Evidencing Mail Fraud
                                                             Dr. Bhambhani
   Date             From                   Billed to                Shipped To        Invoice      Item       Qty.       Rate      Amount
                                                                                        No.                  (Units)


                                    Dr. Ritu Bhambhani         Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center       Box Hill Surgery                 01-1010-
09/14/2015    456 Glengarry Way.     603 Revolution St.               Center          1356       NSS-EAD      20       $900.00 $18,000.00
             Covington, KY 41011            #102              100 Walter Ward Blvd.              NeuroStim
                                     Havr DeGrace, MD               Suite 300                   System-EAD
                                            21078              Abingdon, MD 21009


                                    Dr. Ritu Bhambhani         Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center       Box Hill Surgery     1377        01-1010-
10/06/2015    456 Glengarry Way.     603 Revolution St.               Center                     NSS-EAD      20       $900.00   $18,000.00
             Covington, KY 41011            #102              100 Walter Ward Blvd.              NeuroStim
                                     Havr DeGrace, MD               Suite 300                   System-EAD
                                            21078              Abingdon, MD 21009


                                    Dr. Ritu Bhambhani         Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center       Box Hill Surgery                 01-1010-                       $12,086.43
10/19/2015    456 Glengarry Way.     603 Revolution St.               Center          1387       NSS-EAD      20        $600      (includes
             Covington, KY 41011            #102              100 Walter Ward Blvd.              NeuroStim                        shipping)
                                     Havr DeGrace, MD               Suite 300                   System-EAD
                                            21078              Abingdon, MD 21009


                                    Dr. Ritu Bhambhani         Dr. Ritu Bhambhani                 01-1010-
               Acclivity Medical   Box Hill Surgery Center       Box Hill Surgery                NSS-EAD
10/26/2015    456 Glengarry Way.     603 Revolution St.               Center          1394       NeuroStim    20        $600     $12,000.00
             Covington, KY 41011            #102              100 Walter Ward Blvd.             System-EAD
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                                     Havr DeGrace, MD             Suite 300
                                           21078             Abingdon, MD 21009




                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery              01-1010-
11/05/2015    456 Glengarry Way.     603 Revolution St.              Center          1403    NSS-EAD     20   $600   $12,000.00
             Covington, KY 41011            #102             100 Walter Ward Blvd.           NeuroStim
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009


                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery              01-1010-
11/18/2015    456 Glengarry Way.     603 Revolution St.              Center          1410    NSS-EAD     20   $600   $12,000.00
             Covington, KY 41011            #102             100 Walter Ward Blvd.           NeuroStim
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009


               Acclivity Medical    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
11/24/2015    456 Glengarry Way.   Box Hill Surgery Center      Box Hill Surgery              01-1010-
             Covington, KY 41011     603 Revolution St.              Center          1417    NSS-EAD     20   $600   $12,000.00
                                            #102             100 Walter Ward Blvd.           NeuroStim
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009


               Acclivity Medical    Dr. Ritu Bhambhani       Dr. Ritu Bhambhani
12/07/2015    456 Glengarry Way.   Box Hill Surgery Center     Box Hill Surgery              01-1010-
             Covington, KY 41011     603 Revolution St.             Center           1427    NSS-EAD     20   $600   $12,000.00
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                                           #102              100 Walter Ward Blvd.           NeuroStim
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                           21078              Abingdon, MD 21009


               Acclivity Medical    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
12/29/2015    456 Glengarry Way.   Box Hill Surgery Center      Box Hill Surgery              01-1010-
             Covington, KY 41011     603 Revolution St.              Center          1442    NSS-EAD     20   $600   $12,000.00
                                            #102             100 Walter Ward Blvd.           NeuroStim
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009


                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery              01-1010-               $12,024.95
02/05/2016    456 Glengarry Way.     603 Revolution St.              Center          1465    NSS-EAD     20   $600    (includes
             Covington, KY 41011            #102             100 Walter Ward Blvd.           NeuroStim                Shipping)
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009


               Acclivity Medical    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
02/18/2016    456 Glengarry Way.   Box Hill Surgery Center      Box Hill Surgery              01-1010-               $12,024.95
             Covington, KY 41011     603 Revolution St.              Center          1475    NSS-EAD     20   $600    (includes
                                            #102             100 Walter Ward Blvd.           NeuroStim                Shipping)
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009


                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery             01-1010-
03/09/2016    456 Glengarry Way.     603 Revolution St.              Center          1489   NSS-EAD      20   $600   $12,024.95
             Covington, KY 41011            #102             100 Walter Ward Blvd.          NeuroStim                 (includes
                          Case
                           Case1:19-cv-00355-RDB
                                1:19-cv-00355-LKG Document
                                                   Document74-2
                                                            97 Filed
                                                                Filed05/21/21
                                                                      11/17/20 Page
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                                     Havr DeGrace, MD             Suite 300                 System-EAD               Shipping)
                                           21078             Abingdon, MD 21009



                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani              01-1014-
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery             NSS/EAD                 $12,024.95
03/28/2016    456 Glengarry Way.     603 Revolution St.              Center          1500    411 Array   20   $600    (includes
             Covington, KY 41011            #102             100 Walter Ward Blvd.           NeuroStim                Shipping)
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009             411 Array


                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani              01-1014-
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery             NSS/EAD                 $36,035.00
04/11/2016    456 Glengarry Way.     603 Revolution St.              Center          1513    411 Array   60   $600    (includes
             Covington, KY 41011            #102             100 Walter Ward Blvd.           NeuroStim                Shipping)
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009             411 Array


                                    Dr. Ritu Bhambhani        Dr. Ritu Bhambhani              01-1014-
               Acclivity Medical   Box Hill Surgery Center      Box Hill Surgery             NSS/EAD                 $48,035.00
06/22/2016    456 Glengarry Way.     603 Revolution St.              Center          1546    411 Array   80   $600    (includes
             Covington, KY 41011            #102             100 Walter Ward Blvd.           NeuroStim                Shipping)
                                     Havr DeGrace, MD              Suite 300                System-EAD
                                            21078             Abingdon, MD 21009             411 Array
Case
 Case1:19-cv-00355-RDB
      1:19-cv-00355-LKG Document
                         Document74-2
                                  97 Filed
                                      Filed05/21/21
                                            11/17/20 Page
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         Exhibit 20
                                  Case
                                   Case1:19-cv-00355-RDB
                                        1:19-cv-00355-LKG Document
                                                           Document74-2
                                                                    97 Filed
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                                          Chronological List of Communications Evidencing Wire Fraud
                                                               Dr. Bhambhani
                  Type of
  Date                                   From whom              To whom                                    Description
            Communication
                 Email w/            Smith, Vice President
                                                                                  Introduction to the NSS device; attachment IHCS Power Point
08/17/2015 attachment, Video,       of Sales and Marketing    Dr. Bhambhani
                                                                                               Slide Show; NSS Educational Video
                Exhibit 7.                 for IHCS
           Email, w/ multiple           Brannon, Vice                            Providing certain NSS “billing information.” referred to the NSS
09/08/2015     attachments,         President of Operations   Dr. Bhambhani         service by the CPT descriptor only, and again contained no
                Exhibit 8.                 for IHCS                                              reference to electro acupuncture.
                                     Smith, Vice President
             Multiple Emails,                                                     Solicitations included links to training videos and an extensive
09/09/2015                          of Sales and Marketing    Dr. Bhambhani
               Exhibit 9.                                                                         list of applications for the device.
                                           for IHCS
                                        Brannon, Vice
09/28/2015   Email, Exhibit 11.     President of Operations   Dr. Bhambhani                  Providing additional coding instruction
                                           for IHCS
                                        Brannon, Vice
09/29/2015   Email, Exhibit 11.     President of Operations   Dr. Bhambhani                  Providing additional coding instruction
                                           for IHCS
                                        Brannon, Vice
                                                                                  Confirmed the propriety of the same code sequence set forth on
12/08/2015   Email, Exhibit 12.     President of Operations   Dr. Bhambhani
                                                                                          the IHCS Physician Power Point Slide Show
                                           for IHCS
                                                                                  Lied to Dr. Bhambhani that IHS is not involved in billing and
                                                                                  coding Recommended a third-party billing services that would
09/01/2016   Email, Exhibit 13.     Carrico, HIS President    Dr. Bhambhani      “do a tremendous job of pre-authorizing and billing for the NSS
                                                                                 which will allow you to have 0 headaches, help patients, be very
                                                                                                  profitable, and be protected.”
                               Case
                                Case1:19-cv-00355-RDB
                                     1:19-cv-00355-LKG Document
                                                        Document74-2
                                                                 97 Filed
                                                                     Filed05/21/21
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                                        Chronological List of Communications Evidencing Wire Fraud
                                                                    Dr. Rao
                    Type of
  Date                                 From whom                            To whom                                     Description
               Communication
                   Email w/                Miller,                                                           Providing coding and reimbursement
09/15/2015   Attachment, Video,     Distributor/Principal                     Dr. Rao                        advice consistent with the slideshow
                   Exhibit 14           of Acclivity                                                        provided to Dr. Bhambhani by IHCS.
             Email, with several                                                                             Two of these three attachments were
              attachments, FAQ                                                                                   prepared by IHS and branded
             Sheet for Clinicians                                                                         accordingly. And more importantly, not
               prepared by IHS                                                                             even one of these documents identified
                                           Miller,
             (Exhibit 3), “NSS –                            Ginny Goldbach, Chief Financial Officer for      that the NSS was FDA-cleared as an
09/22/2015                          Distributor/Principal
                  Science and                                       Radiance Surgery Center                   electroacupuncture device. Indeed,
                                        of Acclivity
             Overview” (Exhibit                                                                             consistent with Mr. Carrico’s explicit
                15), and “EAD                                                                               instructions to all IHS’s Sales Agents,
             Brochure” (Exhibit                                                                            the word “acupuncture” did not appear
                      16)                                                                                         even once in these materials.
                                                                                                              Detailed payments to other medical
                                                                                                             providers from a variety of insurance
                                                                                                           companies and other third-party payers,
                                                                                                           including Medicare, for bills submitted
             Email, attached with
                                           Miller,                                                        under the codes promoted by Defendants
             several “exemplar”
                                    Distributor/Principal                                                     as part of the NSS coding Scheme,
               Explanation of                               Ginny Goldbach, Chief Financial Officer for
09/22/2015                           of Acclivity; email                                                   including CPT 64555. Miller explicitly
              Benefits (“EOB”)                                      Radiance Surgery Center
                                      originally sent to                                                  identified these in email correspondence
             statements, Exhibit
                                    Miller by Kuhlman                                                       to Goldbach as being EOBs “for NSS
                      17.
                                                                                                                use,” and pointed to not only the
                                                                                                               reporting of CPT 64555, but code
                                                                                                          modifiers and placement sites to be used
                                                                                                                          with the code.
                                Case
                                 Case1:19-cv-00355-RDB
                                      1:19-cv-00355-LKG Document
                                                         Document74-2
                                                                  97 Filed
                                                                      Filed05/21/21
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                                     Joy Long, Member
                                      of DragonSlayer
                                                            Ginny Goldbach, Chief Financial Officer for
09/22/2015     Telephone call            Strategies;                                                       Regarding coding for the NSS Device
                                                                    Radiance Surgery Center
                                    introduced to Ginny
                                    Goldbach by Miller
            Email, with several
               attachments,
                                                                                                                Characterizing the NSS as a
            including a coding
                                    Joy Long, Member                                                       neurostimulator, reportable under CPT
             memorandum and                                 Ginny Goldbach, Chief Financial Officer for
09/22/2015                           of DragonSlayer                                                        64555, and “clearly delineated from
           “template” procedure                                     Radiance Surgery Center
                                        Strategies                                                         acupuncture” or electro-acupuncture.”
            notes and letters of
                                                                                                                      See Exhibit 4.
             medical necessity,
                 Exhibit 4.
                                           Miller,
                                                                                                          Miller is responding to concerns related
                                    Distributor/Principal
                                                                                                           to various coding-related issues. Miller
                                        of Acclivity;       Dr. Rao and Ginny Goldbach, Chief Financial
07/14/2016   Email, Exhibit 17.                                                                           also arranges phone call to take place on
                                      copying on the             Officer for Radiance Surgery Center
                                                                                                          07/14/2016 to discuss NSS, coding, and
                                      email Kimberly
                                                                                                               patient identification/candidacy.
                                          Coleman
                                    Kimberly Coleman;                                                     Teleconference takes place regarding the
07/19/2016       Telephone                                         Dr. Rao and Ginny Goldbach
                                           Miller                                                            use of the NSS in an ASC setting
